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                     EXHIBIT 13
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                                                                                                               jflowers@motleyrice.com
“I will stand for my client’s rights.
         I am a trial lawyer.”
    –Ron Motley (1944–2013)

            September 26, 2018

            VIA ELECTRONIC MAIL
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                       RE:        In Re National Prescription Opioid Litigation; Case No. 17-md-2804
                                  The County of Summit, Ohio, et al. v. Purdue Pharma L.P., et al.; Case No. 18-op-45090
                                  Responses to Pharmacy Defendants’ Interrogatories

            Counsel:

            Enclosed please find Summit County and the City of Akron, Ohio Plaintiff’s First Amended Responses and
            Objections to Pharmacy Defendants’ First Set of Interrogatories.

            Sincerely,

            /s/ Jodi Westbrook Flowers

            Jodi Westbrook Flowers

            Enclosure
            cc:    Plaintiffs’ Liaison Counsel, Peter Weinberger



                             MT. PLEASANT, SC | PROVIDENCE, RI | HARTFORD, CT | NEW YORK, NY | WASHINGTON, DC
                                  MORGANTOWN, WV | CHARLESTON, WV | NEW ORLEANS, LA | KANSAS CITY, MO
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


    IN RE NATIONAL PRESCRIPTION                      MDL No. 2804
    OPIATE LITIGATION
                                                     Case No. 17-md-2804
    This document relates to:
    The County of Summit, Ohio, et al. v. Purdue     Judge Dan Aaron Polster
    Pharma L.P., et al.
    Case No. 18-op-45090

    SUMMIT COUNTY AND CITY OF AKRON, OHIO PLAINTIFFS’ FIRST AMENDED
      RESPONSES AND OBJECTIONS TO THE NATIONAL RETAIL PHARMACY
              DEFENDANTS’ FIRST SET OF INTERROGATORIES

          Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the Case

Management Order in In re National Prescription Opiate Litigation, No. 1:17-cv-2804 (Dkt. No.

232), the County of Summit, Ohio (“Summit County”), and the City of Akron, Ohio ( “City of

Akron,” and together, “Plaintiff”) hereby respond to The National Retail Pharmacy Defendants’1

First Set of Interrogatories (the “Interrogatories” and, each individually, an “Interrogatory”), as

follows:

                                          OBJECTIONS

          The following objections apply to each Interrogatory. To the extent that certain specific

objections are cited in response to an individual Interrogatory, those specific objections are

provided because they are applicable to that specific Interrogatory and are not a waiver of the other

objections applicable to information falling within the scope of such Interrogatory.

          1.     Plaintiff objects to each Interrogatory to the extent they are overly broad, vague,

unduly burdensome, seek information that is not relevant to any party’s claim or defense, or seek


1
 The National Retail Pharmacy Defendants include the following defendants: CVS Indiana, LLC,
CVS Rx Services, Inc., Rite Aid of Maryland, dba Mid-Atlantic Customer Service Center,
Walgreens Boots Alliance, Inc., and Walmart Inc. fka Wal-Mart Stores, Inc.
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to impose obligations or require actions beyond those required by the Federal Rules of Civil

Procedure, the ESI Protocol entered in this matter, or the Local Rules of the United States District

Court of the Northern District of Ohio.

        2.       Plaintiff objects to each Interrogatory to the extent it seeks information restricted

from dissemination pursuant to court order, statute, or regulation. Further, any response made by

Plaintiff to the Interrogatories is not intended to waive, and does not constitute any waiver of, any

objection to the admissibility, authenticity, competency, or relevance of the information produced

or identified.

        3.       These responses are made solely for the purpose of and in relation to this action.

Each answer is given subject to all appropriate objections, which would require the exclusion at

trial of any statement contained or document provided herein. All such objections and the grounds

therefore are hereby reserved.

        4.       No admission of any nature whatsoever is to be implied or inferred in these

responses. The fact that any of the Interrogatories herein may have been answered should not be

taken as an admission or a concession of the existence of any facts set forth or assumed by the

Interrogatories, or that such answer constitutes evidence of any fact thus set forth or assumed.

        5.       Plaintiff objects to each Interrogatory to the extent Plaintiff has not yet completed

its investigation of the facts relating to this action and has not yet completed its preparation for

trial. Accordingly, these responses are necessarily limited in nature, and reflect only that

information known to Plaintiff at this time.

        6.       Plaintiff objects to each Interrogatory to the extent they purport to require Plaintiff

to produce documents that are in the public domain or otherwise available to Defendants as easily

from other sources as from Plaintiff.



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       7.      Plaintiff objects to each Interrogatory to the extent they purport to state facts,

assumptions, or characterizations that are disputed.

       8.      Plaintiff objects to each Interrogatory to the extent they seek information more

appropriately obtained through other methods of discovery.

       9.      Plaintiff objects to each Interrogatory to the extent that they seek information that

is proprietary or confidential or that is protected from discovery as attorney work product and

attorney-client communication, information gathered or prepared in anticipation of litigation, the

public interest privilege, law enforcement privilege, public official privilege, and/or by any other

privilege or immunity from disclosure (collectively, “Privileged Information”).

       10.     Plaintiff objects to each Interrogatory to the extent they seek confidential

investigative, personal, or health information in Plaintiff’s possession, custody, or control

(collectively, “Confidential Information”).

       11.     Whenever in the responses Plaintiff employs the phrase “subject to and without

waiving all objections,” Plaintiff is responding to the Interrogatory as it may be narrowed by its

general and specific objections and without waiver of any objection.

       12.     Any response stating that Plaintiff will produce documents shall be deemed

followed by the phrase “as are within Plaintiff’s possession, custody, or control.”

       13.     Plaintiff objects to each Interrogatory to the extent that they imply the existence of

facts or circumstances that do not or did not exist, and to the extent that it states or assumes legal

conclusions. In providing these objections and responses, Plaintiff does not admit the factual or

legal premise of any Interrogatory.

       14.     Plaintiff’s lack of objection to any specific Interrogatory is not an admission that

Plaintiff has possession, custody, or control over any such information; and any statement by



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Plaintiff that it will search for or produce documents does not mean that Plaintiff has possession,

custody, or control of any responsive document, or that any such documents exist.

        15.      Plaintiff objects to each Interrogatory to the extent they seek information that is not

within Plaintiff’s possession, custody, or control, seek documents that do not already exist, or

which purport to require a response by Plaintiff on behalf of an entity or individual other than

Plaintiff.

        16.      Plaintiff reserves the right to supplement, revise, correct, or clarify its responses

and objections in the event that additional information becomes available.

        17.      Plaintiff intends to complete its responses by the time agreed upon by the parties

for the completion of discovery, or by the date ordered by the Court. Upon request by the

requesting party, Plaintiff is willing to meet and confer regarding its responses to the

Interrogatories. All final decisions regarding whether any information will be withheld pursuant

to any objection shall be made, and notice thereof provided, before the completion of written

discovery.

        18.      No Federal Rule of Civil Procedure prevents Plaintiff from submitting collective

answers to collective Interrogatories. Where the responses and objections to these Interrogatories

are the same for each of Summit County and the City of Akron, a collective response herein will

in no way prejudice Defendants. In each instance where the answers are not the same for each of

Summit County and the City of Akron, any differences have been set forth herein with

particularity.

                                           NON-WAIVER

        1.       Plaintiff’s responses are made without waiving its right to object (on the grounds

of relevancy, hearsay, materiality, competency, or any other ground) to the use of its responses in

any subsequent stage or proceeding in this action or any other action.

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       2.        If Plaintiff, in response to any Interrogatory, inadvertently discloses information

that is or could be the subject of the objections stated herein, such disclosure is not intended to be,

nor is it deemed to be, a waiver of the objections with respect to such information disclosed.

       3.        Plaintiff’s failure to object to a specific Interrogatory on a particular ground or

grounds shall not be construed as a waiver of its rights to object on any additional grounds.

       4.        Plaintiff responds herein based upon information it has been reasonably able to

gather at the time of making these responses. Plaintiff reserves its right to amend and/or to

supplement its objections and responses to the Interrogatories, consistent with further investigation

and discovery.

                         SPECIFIC RESPONSES AND OBJECTIONS

Interrogatory 1

       State the years during which You claim each National Retail Pharmacy Defendant engaged

in the conduct for which You seek damages.

Response 1

       Plaintiff objects that this Interrogatory contains a reference to an ambiguous phrase,

“conduct.” Subject to and without waiving all objections, Plaintiff incorporates the allegations in

its Corrected Second Amended Complaint and Jury Demand (“Second Amended Complaint”). In

addition, Plaintiff’s investigation of its damages caused by the Defendants is ongoing and will be

the subject of fully-supported and detailed expert witness opinion(s) that will be disclosed in

accordance with the scheduling orders in this case and the Federal Rules of Civil Procedure.

       Subject to and without waiving any objections, Plaintiff responds that every year a given

National Retail Pharmacy Defendant distributed opioids is relevant. Plaintiff recently received the

ARCOS data from the Department of Justice, to which the Distributor Defendants objected, which

reveals conduct dating back to January 2006. Plaintiff believes the Distributor Defendants

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engaged in actionable conduct dating back to at least this timeframe and have reason to believe

discovery and Plaintiff’s investigation will reveal additional conduct dating back to the

introduction of OxyContin into the national marketplace. Plaintiff further responds that the years

from 1995 to the present are the relevant time period for the conduct alleged, and all years from

2006 to the present are the relevant time period for the measure of damages (in addition to

abatement or other remedies). Plaintiff reserves the right to supplement, amend, or modify this

response as discovery proceeds.

Interrogatory 2

       Identify each prescription upon which You base, or which You contend supports, Your

claims in this case. For each prescription, identify the prescriber, dispensing pharmacy, dispensing

pharmacist, and dispensing date, and explain how it supports Your claims.

Response 2

       Plaintiff objects to this Interrogatory as overly broad in seeking to identify “each

prescription,” the “dispensing pharmacy,” “dispensing pharmacist,” and “dispensing date” and

how each individual prescription supports Plaintiff’s claims. Plaintiff objects to this Interrogatory

as overly broad and unduly burdensome as propounded, and in that it calls for Plaintiff to identify

the specific conduct of each Defendant. Plaintiff objects to this request in that it calls for

information in the National Retail Pharmacy Defendants’ possession or control, or just as available

to Defendants from their own business dealings or third-party sources as may be available to

Plaintiff. Plaintiff also objects to this Interrogatory as placing an undue burden not proportional

to the needs of the case. Plaintiff further responds that this Interrogatory is contention discovery

more appropriately answered once discovery is complete. See Fed. R. Civ. P. 33(a)(2). In addition,

discovery is ongoing and this information will be the subject of fully-supported and detailed expert



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witness opinion(s) that will be disclosed in accordance with the scheduling orders in this case and

the Federal Rules of Civil Procedure.

         Subject to and without waiving all objections, Plaintiff responds that Plaintiff is not

representing the interests of any individuals who were harmed by opioids or the interests of any

payor of opioid prescription costs; nor has Plaintiff alleged any False Claims Act counts or other

claims that justify the burden of an Interrogatory this broad in scope. Plaintiff further objects to

this Interrogatory because it is not proportional to the needs of the case considering (1) the lack of

relevance or importance of the materials to the claims and defenses in this litigation, as described

above, and (2) the substantial cost to identify and describe responsive materials, which would

cause substantial harm to the privacy interests held by the individuals whose private medical files

are the subject of this request. Plaintiff responds that to the extent it has documentation on “each

prescription” under its custody or control, it has been or will be produced.

         Subject to and without waiving all objections, Plaintiff identifies the following documents

containing information responsive to this Interrogatory pursuant to Federal Rule of Civil Procedure

33(d):

         SUMMIT_001146952
         SUMMIT_001474837 – SUMMIT_001474874
         SUMMIT_000290411
         SUMMIT_001233906
         AKRON_000909837 – AKRON_000909838
         AKRON_000004351 – AKRON_000004352

         Plaintiff reserves the right to amend, supplement or modify this response as discovery

proceeds and based upon further investigation. As discovery continues, Plaintiff will produce a

trial witness list and expert reports pursuant to the scheduling orders in this case.




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Interrogatory 3

       Identify each prescription the filling of which caused or led to harm for which You seek to

recovery in this case.    For each prescription, identify the prescriber, dispensing pharmacy,

dispensing pharmacist, and dispensing date, and explain how it supports Your claims.

Response 3

       Plaintiff objects to this Interrogatory as to the over breadth and burden of identifying “each

prescription,” the “dispensing pharmacy,” “dispensing pharmacist,” and “dispensing date” and

how each individual prescription supports Plaintiff’s claims. Individual proof is not relevant here.

Once again, Defendants misapprehend the nature of the case at hand. This is not an individual

case, nor a series of individual cases; it is brought by public entities. Individual proof is neither

relevant nor admissible. The burden imposed by identifying “each prescription,” each “dispensing

pharmacy,” each “dispensing pharmacist” and each “dispensing date” is totally disproportional to

the needs of the case.

       Plaintiff objects to this request in that it calls for information in the National Retail

Pharmacy Defendants’ possession or control. The requested information is more readily available

to Defendants from their own business dealings or third-party sources than available to Plaintiff.

Plaintiff further objects to this Interrogatory in that it places an undue burden on Plaintiff not

proportional to the needs of the case considering (1) the lack of relevance or importance of the

materials to the claims and defenses in this litigation, as described above, and (2) the substantial

cost to identify and describe responsive materials and the right to privacy of the individuals not at

issue in this case. Plaintiff also objects to the extent this Interrogatory calls for Confidential

Information not in Plaintiff’s possession and protected by privacy laws. In addition, discovery is

ongoing and this information will be the subject of fully-supported and detailed expert witness



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opinion(s) that will be disclosed in accordance with case management and pretrial orders and the

Federal Rules of Civil Procedure.

       Subject to and without waiving all objections, Plaintiff responds as follows: the ARCOS

database identifies the following pharmacies within Summit County, Ohio2:

         PHARMACY/BUYER NAME                   CITY/STATE
         Dr. A. J. GINGO                       AKRON, OH
         THE FRED W ALBRECHT
                                               STOW, OH
         GROCERY CO
         RITZMAN PHARMACY #107                 AKRON, OH
         SUMMIT PAIN SPECIALISTS
                                               STOW, OH
         PHARMACY
         RITZMAN PHARMACY #106                 NORTON, OH
         THE FRED W ALBRECHT
                                               AKRON, OH
         GROCERY
         SKILLED CARE PHARMACY-
                                               TWINSBURG, OH
         CLEV
         WALGREEN CO. #03572                   CUYAHOGA FALLS, OH
         RITZMAN PHARMACY #101                 AKRON, OH
         OHIO CVS STORES, L.L.C.               AKRON, OH
         ACME PHARMACY #11                     TALLMADGE, OH
         WALGREEN CO.                          AKRON, OH
         MARC GLASSMAN INC                     AKRON, OH
         RITE AID OF OHIO, INC.                BARBERTON, OH
         TARGET STORES A DIV. OF
                                               AKRON, OH
         TARGET CORP.
         KLEIN’S PHARMACY                      CUYAHOGA FALLS, OH
         GIANT EAGLE PHARMACY
                                               CUYAHOGA FALLS, OH
         #4036
         CHILDRENS HOSPITAL MED
                                               AKRON, OH
         CTR
         FRED W ALBRECHT GROCERY
                                               AKRON, OH
         CO
         CVS PHARMACY #04800                   AKRON, OH
         GLASSMAN INC                          SAGAMORE HILLS, OH
         RITE AID OF OHIO, INC.                AKRON, OH
         RITE AID OF OHIO, INC.                TALLMADGE, OH
         SUMMA HEALTH SYSTEM                   AKRON, OH

2
 This does not account for the flood of opioids from surrounding counties and states; Plaintiff
expressly reserves the right to amend, modify, or supplement on this point.

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           GIANT EAGLE PHARMACY
                                               CUYAHOGA FALLS, OH
           #5878
           THE FRED W ALBRECHT
                                               AKRON, OH
           GROCERY
           AKRON PHARMACY                      AKRON, OH
           GIANT EAGLE PHARMACY
                                               NORTHFIELD, OH
           #6299
           KLEIN’S COMMUNITY
                                               AKRON, OH
           HEALTH
           MARCS CHAPEL HILL INC               CUYAHOGA FALLS, OH
           ACME PHARMACY #30                   STOW, OH
           TARGET STORES A DIV.OF
                                               FAIRLAWN, OH
           TARGET CORP.
           KMART PHARMACY #7383                BARBERTON, OH
           THE FRED W ALBRECHT GROC
                                               NORTON, OH
           CO
           NEW CHOICE PHARMACY #2              CUYAHOGA FALLS, OH
           RITZMAN PHARMACY #105               AKRON, OH
           THE FRED W ALBRECHT
                                               HUDSON, OH
           GROCERY
           RITE AID OF OHIO, INC.              FAIRLAWN, OH
           THE FRED W ALBRECHT
                                               STOW, OH
           GROCERY
           RITE AID OF OHIO, INC.              AKRON, OH
           THE FRED W ALBRECHT
                                               CUYAHOGA FALLS, OH
           GROCERY
           GIANT EAGLE PHARMACY
                                               BARBERTON, OH
           #4031
           GIANT EAGLE PHARMACY
                                               TALLMADGE, OH
           #4030
           RITE AID OF OHIO, INC. #3151        AKRON, OH
           COLONIAL PHARMACY                   BATH, OH
           MARC                                AKRON, OH
           NEW CHOICE PHARMACY #1              CUYAHOGA FALLS, OH
           VA OUTPATIENT CLINIC                AKRON, OH
           RITE AID OF OHIO, INC.              AKRON, OH
           GIANT EAGLE PHARMACY
                                               AKRON, OH
           #4124
           GIANT EAGLE PHARMACY
                                               AKRON, OH
           #4029

       Further, Plaintiff identifies the following pharmacies as having the largest shipments of

opioids:


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          PHARMACY NAME                               ADDRESS
                                        KLEIN BARRY E
                                        2015 STATE RD
  KLEIN’S PHARMACY                      CUYAHOGA FALLS, OH 44223
  THE FRED W ALBRECHT GROCERY           4302 ALLEN RD SUITE #110
  CO                                    STOW, OH 44224
                                        1900 23RD STREET
  NEW CHOICE PHARMACY                   CUYAHOGA FALLS, OH 44223
                                        325 EAST WATERLOO ROAD
  RITE AID OF OHIO, INC.                AKRON, OH 44319
                                        1323 COPLEY RD
  RITZMAN PHARMACY #101                 AKRON, OH 44320
                                        590 EAST MARKET STREET
  OHIO CVS STORES, L.L.C.               AKRON, OH 44304
  SUMMIT PAIN SPECIALISTS               4302 ALLEN RD SUITE 300
  PHARMACY                              STOW, OH 44224
                                        41 5TH STREET SE
  GIANT EAGLE PHARMACY #4031            BARBERTON, OH 44203
                                        2645 STATE RD
  WALGREEN CO.                          CUYAHOGA FALLS, OH 44223
                                        302 CANTON ROAD
  WALGREEN CO.                          AKRON, OH 44312
                                        DBA ACME PHARMACY #18
                                        2147 EAST AVENUE
  THE FRED W ALBRECHT GROCERY           AKRON, OH 44314
                                        1130 S. ARLINGTON ST
  WALGREEN CO.                          AKRON, OH 44306
                                        3352 KENT ROAD
  OHIO CVS STORES, L.L.C.               STOW, OH 44224
                                        900 WOOSTER RD NORTH
  WALGREEN CO.                          BARBERTON, OH 44203
                                        1540 CANTON ROAD
  RITE AID OF OHIO, INC.                AKRON, OH 44312
                                        786 W MARKET ST
  HIGHLAND SQUARE PHCY                  AKRON, OH 44303
                                        1225 CANTON RD
  OHIO CVS STORES, L.L.C.               AKRON, OH 44312
                                        1303 COPLEY ROAD
  WALGREEN CO.                          AKRON, OH 44320
                                        157 WEST CEDAR STREET
  RITZMAN PHARMACY #107                 AKRON, OH 44307
                                        1900 23RD STREET
  NEW CHOICE PHARMACY                   CUYAHOGA FALLS, OH 44223


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                                        1047 KENMORE BOULEVARD
  RITE AID OF OHIO, INC.                AKRON, OH 44314
                                        484 EAST WATERLOO RD
  GIANT EAGLE PHARMACY #4124            AKRON, OH 44319
                                        830 BRITTAIN RD
  WALGREEN CO.                          AKRON, OH 44305
                                        235 EAST CUYAHOGA FALLS AVE
  OHIO CVS STORES, L.L.C.               AKRON, OH 44310
                                        4195 S. CLEVELAND-MASSILLON ROAD
  OHIO CVS STORES, L.L.C.               NORTON, OH 44203
                                        834 W. MARKET STREET
  WALGREEN CO.                          AKRON, OH 44303
                                        3009 W. MARKET ST.
  WALGREEN CO.                          FAIRLAWN, OH 44333
                                        390 ROBINSON AVENUE, SUITE A
  RITZMAN PHARMACY #102                 BARBERTON, OH 44203
                                        DBA ACME PHARMACY #14
                                        3235 MANCHESTER RD
  FRED W ALBRECHT GROCERY CO            AKRON, OH 44319
                                        2091 EASTWOOD AVENUE
  OHIO CVS STORES, L.L.C.               AKRON, OH 44305
                                        780 BRITTAIN ROAD
  OHIO CVS STORES, L.L.C.               AKRON, OH 44305
                                        1711 STATE RD
  OHIO CVS STORES, L.L.C.               CUYAHOGA FALLS, OH 44223
                                        426 ROBINSON AVE.
  OHIO CVS STORES, L.L.C.               BARBERTON, OH 44203
                                        2975 WEST MARKET STREET
  RITE AID OF OHIO, INC.                FAIRLAWN, OH 44333
                                        1949 WEST MARKET STREET
  OHIO CVS STORES, L.L.C.               AKRON, OH 44313
                                        1760 GOODYEAR BLVD
  RALEY DRUG STORE, INC                 AKRON, OH 44305
                                        1925 W. MARKET ST.
  WALGREEN CO.                          AKRON, OH 44313
                                        10380 NORTHFIELD ROAD
  OHIO CVS STORES, L.L.C.               NORTHFIELD, OH 44067
                                        655 PORTAGE TRAIL
  DISCOUNT DRUG MART #33                CUYAHOGA FALLS, OH 44221
                                        2801 EAST WATERLOO ROAD
  GIANT EAGLE PHARMACY #4029            AKRON, OH 44312
                                        205 WEST AVE
  GIANT EAGLE PHARMACY #4030            TALLMADGE, OH 44278

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                                                  9043 DARROW RD
  WALGREEN CO.                                    TWINSBURG, OH 44087
                                                  4053 SOUTH MAIN STREET
  RITE AID OF OHIO, INC.                          AKRON, OH 44319
                                                  1403 WOOSTER ROAD WEST
  RITE AID OF OHIO, INC.                          BARBERTON, OH 44203
                                                  941 WEST NIMISILA RD
  COPE PHARMACY INC                               AKRON, OH 44319
                                                  2086 GRAHAM RD.
  WALGREEN CO.                                    STOW, OH 44224
                                                  DBA ACME PHARMACY #2
                                                  2420 WEDGEWOOD DRIVE
  THE FRED W ALBRECHT GROCERY                     AKRON, OH 44312
                                                  45 EAST AVENUE
  RITE AID OF OHIO, INC.                          TALLMADGE, OH 44278
                                                  DBA: ACME PHARMACY 6
                                                  3200 GREENWICH ROAD
  THE FRED W ALBRECHT GROC CO                     NORTON, OH 44203
                                                  1260 INDEPENDENCE AVE
  HEALTHSPAN INTEGRATED CARE                      AKRON, OH 44310

       Plaintiff incorporates its answer and objections to Interrogatory No. 2 here. As noted,

discovery is ongoing and information responsive to this Interrogatory will be the subject of fully-

supported and detailed expert witness opinion(s) that will be disclosed in accordance with the

scheduling orders in this case and the Federal Rules of Civil Procedure. Plaintiff reserves the right

to supplement, amend, or modify this response as discovery proceeds.

Interrogatory 4

       Identify each person in Your geographic area who during the Relevant Time Period forged

or otherwise improperly altered any prescription for any Prescription Opioid or who sought to

obtain any Prescription Opioid through a forged or otherwise improper prescription.

Response 4

       Plaintiff objects to the vast over breadth asking for “each person” who “forged” or

“improperly altered” “any prescription for any Opioid.” Plaintiff objects that this is not relevant



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to the claims in this case. Plaintiff objects to this Interrogatory in that it calls for information in

the National Retail Pharmacy Defendants’ possession or control. The requested information is

more readily available to Defendants from their own business dealings or third-party sources than

available to Plaintiff. Plaintiff objects to this Interrogatory in that it places an undue burden on

Plaintiff wholly disproportional to the needs of the case.

       Subject to and without waiving all objections, Plaintiff responds that such local prescriber-

and patient-level data would be in the possession of the data mining companies frequently used by

Defendants to monitor such information. These companies include, but are not limited to, IMS

Health, QuintilesIMS, IQVIA, Pharmaceutical Data Services, Source Healthcare Analytics, NDS

Health Information Services, Verispan, Quintiles, SDI Health, ArcLight, Scriptline, Wolters

Kluwer, and PRA Health Science. Pursuant to comments from the U.S. Department of Justice

Drug Enforcement Administration (“DEA”), Defendants also compiled “know your customer”

questionnaires and files that would contain such data and information.

       Subject to and without waiving all objections, Plaintiff responds that the persons

prosecuted in Summit County for misconduct related to opioids include but are not limited to:

Dr. Charles Chiedo Njoku
Dr. Adolph Harper, Jr.
Adria Harper
Patricia Laughman
Tequilla Berry
Dr. Brian Heim

       Plaintiff also identifies the following documents containing information responsive to this

Interrogatory pursuant to Federal Rule of Civil Procedure 33(d):

 SUMMIT_001131876-879
 SUMMIT_000076823-847
 SUMMIT_000077148-178
 SUMMIT_000077175-335
 SUMMIT_000077336-369
 SUMMIT_001010174

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 SUMMIT_000076823-847
 SUMMIT_000077147
 SUMMIT_000077148-174
 SUMMIT_000077175-335
 SUMMIT_000077336-369
 SUMMIT_000341980
 AKRON_000237864-867
 AKRON_000368237
 AKRON_000368246
 AKRON_000368453-455
 AKRON_000368684-685
 AKRON_000368686-687
 AKRON_000368693-698
 AKRON_000368700
 AKRON_000368705-706
 AKRON_000368707
 AKRON_000368897
 AKRON_000369261
 AKRON_000369262-263
 AKRON_000369715
 AKRON_000004078
 AKRON_000907525

       Plaintiff further responds that this Interrogatory is contention discovery more appropriately

answered once discovery is complete. See Fed. R. Civ. P. 33(a)(2) In addition, discovery is

ongoing and this information will be the subject of fully-supported and detailed expert witness

opinion(s) that will be disclosed in accordance with the scheduling orders in this case and the

Federal Rules of Civil Procedure. Plaintiff reserves the right to supplement, amend, or modify this

response as discovery proceeds.

Interrogatory 5

       Identify every instance during the Relevant Time Period in which You requested

information relating to Prescription Opioids from the Ohio Automated Rx Reporting System

(OARRS), including the date of the request, the subject matter of the request, the information You

requested, the information You obtained in response to the request, and any action You took based

on that information.

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Response 5

         Plaintiff objects to this Interrogatory as overly broad, vague, ambiguous, and unduly

burdensome in seeking “every instance” in which Plaintiff “requested information” “relevant to”

OARRS, “including the date of the request,” “the subject matter,” “the information requested,”

“the information obtained in response,” and “any action You took based on that instruction.”

Plaintiff objects to this Interrogatory in that it places an undue burden on Plaintiff not proportional

to the needs of the case.

         Subject to and without waiving all objections, Plaintiff identifies the following documents

containing information responsive to this Interrogatory pursuant to Federal Rule of Civil Procedure

33(d):

AKRON_000003686                     AKRON_000243979                      AKRON_000249124
AKRON_000003748                     AKRON_000243983                      AKRON_000249154
AKRON_000003774                     AKRON_000243988                      AKRON_000249206
AKRON_000003776                     AKRON_000243992                      AKRON_000249443
AKRON_000003778                     AKRON_000243996                      AKRON_000249494
AKRON_000003870                     AKRON_000244000                      AKRON_000249618
AKRON_000231352                     AKRON_000244005                      AKRON_000249825
AKRON_000232311                     AKRON_000244041                      AKRON_000249830
AKRON_000236638                     AKRON_000244046                      AKRON_000253686
AKRON_000236647                     AKRON_000244050                      AKRON_000253711
AKRON_000236872                     AKRON_000244054                      AKRON_000253722
AKRON_000241196                     AKRON_000244364                      AKRON_000253764
AKRON_000241915                     AKRON_000246657                      AKRON_000253969
AKRON_000242944                     AKRON_000247368                      AKRON_000254002
AKRON_000242990                     AKRON_000247371                      AKRON_000254035
AKRON_000242992                     AKRON_000247744                      AKRON_000254068
AKRON_000242995                     AKRON_000247881                      AKRON_000254101
AKRON_000242997                     AKRON_000248069                      AKRON_000254134
AKRON_000243000                     AKRON_000248073                      AKRON_000254167
AKRON_000243158                     AKRON_000248078                      AKRON_000254200
AKRON_000243914                     AKRON_000248455                      AKRON_000254233
AKRON_000243915                     AKRON_000248673                      AKRON_000254266
AKRON_000243944                     AKRON_000248825                      AKRON_000254299
AKRON_000243968                     AKRON_000248828                      AKRON_000254332
AKRON_000243970                     AKRON_000248831                      AKRON_000254643
AKRON_000243973                     AKRON_000248852                      AKRON_000254944
AKRON_000243976                     AKRON_000249037                      AKRON_000254978

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AKRON_000255010              AKRON_000260743             AKRON_000356927
AKRON_000255042              AKRON_000260775             AKRON_000365049
AKRON_000255074              AKRON_000261355             AKRON_000365490
AKRON_000255106              AKRON_000261387             AKRON_000373793
AKRON_000256508              AKRON_000261419             AKRON_000374827
AKRON_000256814              AKRON_000261999             AKRON_000375070
AKRON_000257120              AKRON_000262579             AKRON_000375473
AKRON_000257426              AKRON_000262611             AKRON_000366709
AKRON_000257732              AKRON_000263191             AKRON_000366710
AKRON_000257764              AKRON_000263223             AKRON_000366946
AKRON_000258344              AKRON_000263529             AKRON_000366950
AKRON_000258650              AKRON_000263835             AKRON_000367137
AKRON_000258956              AKRON_000264141             AKRON_000367140
AKRON_000259262              AKRON_000264733             AKRON_000367176
AKRON_000259567              AKRON_000266908             AKRON_000367419
AKRON_000259568              AKRON_000271274             AKRON_000367632
AKRON_000259599              AKRON_000271327             AKRON_000368143
AKRON_000259600              AKRON_000320620             AKRON_000368192
AKRON_000259631              AKRON_000324634             AKRON_000368199
AKRON_000259632              AKRON_000332489             AKRON_000368263
AKRON_000259663              AKRON_000333204             AKRON_000368266
AKRON_000259664              AKRON_000333205             AKRON_000368267
AKRON_000259695              AKRON_000337167             AKRON_000368351
AKRON_000259696              AKRON_000345042             AKRON_000368453
AKRON_000259727              AKRON_000345051             AKRON_000368457
AKRON_000259728              AKRON_000349505             AKRON_000368530
AKRON_000259759              AKRON_000350688             AKRON_000368531
AKRON_000259760              AKRON_000350689             AKRON_000368669
AKRON_000259791              AKRON_000350696             AKRON_000368671
AKRON_000259792              AKRON_000351109             AKRON_000368692
AKRON_000259823              AKRON_000351110             AKRON_000368693
AKRON_000259824              AKRON_000351678             AKRON_000368699
AKRON_000259855              AKRON_000351689             AKRON_000368700
AKRON_000259856              AKRON_000351691             AKRON_000368705
AKRON_000259887              AKRON_000351745             AKRON_000368707
AKRON_000259888              AKRON_000351787             AKRON_000368767
AKRON_000259919              AKRON_000351894             AKRON_000368771
AKRON_000259920              AKRON_000351895             AKRON_000368778
AKRON_000259951              AKRON_000352572             AKRON_000368782
AKRON_000259952              AKRON_000353643             AKRON_000368785
AKRON_000259983              AKRON_000353702             AKRON_000368788
AKRON_000259984              AKRON_000358162             AKRON_000368791
AKRON_000260015              AKRON_000354649             AKRON_000368802
AKRON_000260016              AKRON_000354807             AKRON_000368803
AKRON_000260068              AKRON_000360866             AKRON_000368832
AKRON_000260405              AKRON_000361947             AKRON_000368845
AKRON_000260437              AKRON_000362173             AKRON_000368855

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AKRON_000368857              AKRON_000882531             SUMMIT_000030965
AKRON_000368861              AKRON_000686607             SUMMIT_000031062
AKRON_000368865              AKRON_000724174             SUMMIT_000031070
AKRON_000368876              PLTF_2804_000000883         SUMMIT_000031417
AKRON_000369047              PLTF_2804_000001044         SUMMIT_000031696
AKRON_000369078              PLTF_2804_000001574         SUMMIT_000031710
AKRON_000369104              PLTF_2804_000001586         SUMMIT_000031782
AKRON_000369106              PLTF_2804_000002411         SUMMIT_000032135
AKRON_000369110              PLTF_2804_000002477         SUMMIT_000032219
AKRON_000369174              PLTF_2804_000003606         SUMMIT_000033757
AKRON_000369180              SUMMIT_000017088            SUMMIT_000034579
AKRON_000369183              SUMMIT_000017089            SUMMIT_000034806
AKRON_000369192              SUMMIT_000017090            SUMMIT_000035131
AKRON_000369194              SUMMIT_000019490            SUMMIT_000035191
AKRON_000369195              SUMMIT_000019580            SUMMIT_000035491
AKRON_000369196              SUMMIT_000025474            SUMMIT_000035575
AKRON_000369198              SUMMIT_000025703            SUMMIT_000035863
AKRON_000369199              SUMMIT_000026154            SUMMIT_000035993
AKRON_000369206              SUMMIT_000026184            SUMMIT_000037561
AKRON_000369261              SUMMIT_000026950            SUMMIT_000038073
AKRON_000369270              SUMMIT_000026953            SUMMIT_000042985
AKRON_000369289              SUMMIT_000026994            SUMMIT_000043109
AKRON_000369351              SUMMIT_000027005            SUMMIT_000044538
AKRON_000369352              SUMMIT_000027012            SUMMIT_000044555
AKRON_000369358              SUMMIT_000027031            SUMMIT_000046103
AKRON_000369430              SUMMIT_000027033            SUMMIT_000046308
AKRON_000369432              SUMMIT_000027040            SUMMIT_000046309
AKRON_000369464              SUMMIT_000027115            SUMMIT_000046403
AKRON_000369468              SUMMIT_000027215            SUMMIT_000047316
AKRON_000369470              SUMMIT_000027343            SUMMIT_000047320
AKRON_000369478              SUMMIT_000028695            SUMMIT_000047337
AKRON_000369514              SUMMIT_000028993            SUMMIT_000047339
AKRON_000369565              SUMMIT_000029004            SUMMIT_000047540
AKRON_000369569              SUMMIT_000029046            SUMMIT_000047545
AKRON_000369589              SUMMIT_000029696            SUMMIT_000047549
AKRON_000369591              SUMMIT_000029730            SUMMIT_000047562
AKRON_000369645              SUMMIT_000029785            SUMMIT_000047604
AKRON_000369647              SUMMIT_000030045            SUMMIT_000047605
AKRON_000369715              SUMMIT_000030057            SUMMIT_000048031
AKRON_000369837              SUMMIT_000030061            SUMMIT_000048044
AKRON_000369853              SUMMIT_000030792            SUMMIT_000053191
AKRON_000369854              SUMMIT_000030796            SUMMIT_000053872
AKRON_000369888              SUMMIT_000030805            SUMMIT_000055548
AKRON_000369894              SUMMIT_000030817            SUMMIT_000057370
AKRON_000369901              SUMMIT_000030877            SUMMIT_000064899
AKRON_000369942              SUMMIT_000030909            SUMMIT_000065273
AKRON_000369994              SUMMIT_000030913            SUMMIT_000066147

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SUMMIT_000066366             SUMMIT_000074839            SUMMIT_000083401
SUMMIT_000066446             SUMMIT_000074852            SUMMIT_000083409
SUMMIT_000066699             SUMMIT_000075277            SUMMIT_000083410
SUMMIT_000066703             SUMMIT_000075299            SUMMIT_000083436
SUMMIT_000066734             SUMMIT_000075399            SUMMIT_000083492
SUMMIT_000066922             SUMMIT_000075657            SUMMIT_000083497
SUMMIT_000067458             SUMMIT_000075794            SUMMIT_000083498
SUMMIT_000067460             SUMMIT_000075800            SUMMIT_000083544
SUMMIT_000067753             SUMMIT_000075815            SUMMIT_000083546
SUMMIT_000067962             SUMMIT_000076725            SUMMIT_000083547
SUMMIT_000068657             SUMMIT_000076735            SUMMIT_000083551
SUMMIT_000068846             SUMMIT_000077787            SUMMIT_000083552
SUMMIT_000069057             SUMMIT_000077878            SUMMIT_000083553
SUMMIT_000069470             SUMMIT_000078061            SUMMIT_000083603
SUMMIT_000069522             SUMMIT_000078070            SUMMIT_000083620
SUMMIT_000069555             SUMMIT_000078074            SUMMIT_000083732
SUMMIT_000069992             SUMMIT_000078077            SUMMIT_000083733
SUMMIT_000070222             SUMMIT_000078241            SUMMIT_000083734
SUMMIT_000070242             SUMMIT_000082476            SUMMIT_000083772
SUMMIT_000070294             SUMMIT_000082485            SUMMIT_000083784
SUMMIT_000070931             SUMMIT_000082503            SUMMIT_000083795
SUMMIT_000071393             SUMMIT_000082522            SUMMIT_000083975
SUMMIT_000071902             SUMMIT_000082525            SUMMIT_000085051
SUMMIT_000071905             SUMMIT_000082612            SUMMIT_000085077
SUMMIT_000072119             SUMMIT_000082706            SUMMIT_000085139
SUMMIT_000072282             SUMMIT_000082755            SUMMIT_000085253
SUMMIT_000072286             SUMMIT_000082759            SUMMIT_000085408
SUMMIT_000072508             SUMMIT_000082766            SUMMIT_000086140
SUMMIT_000072517             SUMMIT_000082783            SUMMIT_000086707
SUMMIT_000072549             SUMMIT_000082784            SUMMIT_000086709
SUMMIT_000072556             SUMMIT_000082798            SUMMIT_000087383
SUMMIT_000072589             SUMMIT_000082801            SUMMIT_000087390
SUMMIT_000072657             SUMMIT_000082818            SUMMIT_000087394
SUMMIT_000072670             SUMMIT_000082832            SUMMIT_000087411
SUMMIT_000072997             SUMMIT_000082845            SUMMIT_000087416
SUMMIT_000073001             SUMMIT_000082890            SUMMIT_000089463
SUMMIT_000073032             SUMMIT_000082906            SUMMIT_000089930
SUMMIT_000073079             SUMMIT_000083170            SUMMIT_000090496
SUMMIT_000073520             SUMMIT_000083173            SUMMIT_000091155
SUMMIT_000073540             SUMMIT_000083174            SUMMIT_000092742
SUMMIT_000073630             SUMMIT_000083232            SUMMIT_000093060
SUMMIT_000073649             SUMMIT_000083237            SUMMIT_000093667
SUMMIT_000073905             SUMMIT_000083240            SUMMIT_000094609
SUMMIT_000074279             SUMMIT_000083242            SUMMIT_000094765
SUMMIT_000074566             SUMMIT_000083245            SUMMIT_000094775
SUMMIT_000074741             SUMMIT_000083357            SUMMIT_000094776
SUMMIT_000074819             SUMMIT_000083359            SUMMIT_000097752

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SUMMIT_000097830             SUMMIT_000115942            SUMMIT_000130378
SUMMIT_000098150             SUMMIT_000116765            SUMMIT_000131343
SUMMIT_000098164             SUMMIT_000116921            SUMMIT_000131349
SUMMIT_000098167             SUMMIT_000116942            SUMMIT_000131609
SUMMIT_000098204             SUMMIT_000116955            SUMMIT_000131619
SUMMIT_000098335             SUMMIT_000117407            SUMMIT_000131624
SUMMIT_000098340             SUMMIT_000117410            SUMMIT_000131642
SUMMIT_000098698             SUMMIT_000117671            SUMMIT_000131656
SUMMIT_000098759             SUMMIT_000117717            SUMMIT_000131670
SUMMIT_000098765             SUMMIT_000117758            SUMMIT_000131777
SUMMIT_000098785             SUMMIT_000117789            SUMMIT_000131857
SUMMIT_000098845             SUMMIT_000117796            SUMMIT_000131859
SUMMIT_000099360             SUMMIT_000118048            SUMMIT_000131867
SUMMIT_000099399             SUMMIT_000118722            SUMMIT_000131870
SUMMIT_000099401             SUMMIT_000118789            SUMMIT_000133005
SUMMIT_000101054             SUMMIT_000119066            SUMMIT_000133008
SUMMIT_000101070             SUMMIT_000119069            SUMMIT_000134047
SUMMIT_000101117             SUMMIT_000119070            SUMMIT_000134808
SUMMIT_000101205             SUMMIT_000119071            SUMMIT_000134870
SUMMIT_000101259             SUMMIT_000119247            SUMMIT_000134881
SUMMIT_000101267             SUMMIT_000119481            SUMMIT_000134907
SUMMIT_000101301             SUMMIT_000119586            SUMMIT_000134996
SUMMIT_000101303             SUMMIT_000119609            SUMMIT_000135006
SUMMIT_000102106             SUMMIT_000119612            SUMMIT_000137876
SUMMIT_000102208             SUMMIT_000122336            SUMMIT_000137897
SUMMIT_000102589             SUMMIT_000122830            SUMMIT_000137899
SUMMIT_000102590             SUMMIT_000123112            SUMMIT_000137920
SUMMIT_000102591             SUMMIT_000124511            SUMMIT_000137951
SUMMIT_000102600             SUMMIT_000124536            SUMMIT_000137954
SUMMIT_000102607             SUMMIT_000124609            SUMMIT_000137972
SUMMIT_000102614             SUMMIT_000124635            SUMMIT_000137991
SUMMIT_000105101             SUMMIT_000125613            SUMMIT_000137993
SUMMIT_000105102             SUMMIT_000125866            SUMMIT_000138014
SUMMIT_000105220             SUMMIT_000126285            SUMMIT_000138034
SUMMIT_000105232             SUMMIT_000127031            SUMMIT_000138037
SUMMIT_000105410             SUMMIT_000127035            SUMMIT_000138055
SUMMIT_000105430             SUMMIT_000127154            SUMMIT_000138147
SUMMIT_000105896             SUMMIT_000128131            SUMMIT_000138149
SUMMIT_000107522             SUMMIT_000128136            SUMMIT_000138167
SUMMIT_000110509             SUMMIT_000128156            SUMMIT_000138422
SUMMIT_000111829             SUMMIT_000128161            SUMMIT_000138504
SUMMIT_000115012             SUMMIT_000128181            SUMMIT_000138506
SUMMIT_000115031             SUMMIT_000128186            SUMMIT_000138524
SUMMIT_000115034             SUMMIT_000128746            SUMMIT_000139314
SUMMIT_000115093             SUMMIT_000128773            SUMMIT_000139445
SUMMIT_000115430             SUMMIT_000128818            SUMMIT_000139483
SUMMIT_000115435             SUMMIT_000128845            SUMMIT_000139624

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SUMMIT_000139648             SUMMIT_000147973            SUMMIT_000176022
SUMMIT_000139674             SUMMIT_000149077            SUMMIT_000176083
SUMMIT_000139720             SUMMIT_000149103            SUMMIT_000176108
SUMMIT_000139735             SUMMIT_000149548            SUMMIT_000176327
SUMMIT_000139823             SUMMIT_000149599            SUMMIT_000176437
SUMMIT_000139846             SUMMIT_000149634            SUMMIT_000176633
SUMMIT_000140021             SUMMIT_000149663            SUMMIT_000176898
SUMMIT_000140189             SUMMIT_000149841            SUMMIT_000176901
SUMMIT_000140193             SUMMIT_000149861            SUMMIT_000177087
SUMMIT_000140428             SUMMIT_000150707            SUMMIT_000177126
SUMMIT_000141093             SUMMIT_000150709            SUMMIT_000177472
SUMMIT_000141096             SUMMIT_000151084            SUMMIT_000177689
SUMMIT_000141149             SUMMIT_000151087            SUMMIT_000177833
SUMMIT_000141152             SUMMIT_000151126            SUMMIT_000177842
SUMMIT_000141177             SUMMIT_000151132            SUMMIT_000177860
SUMMIT_000141180             SUMMIT_000153153            SUMMIT_000177896
SUMMIT_000141182             SUMMIT_000153154            SUMMIT_000177980
SUMMIT_000141185             SUMMIT_000154418            SUMMIT_000178127
SUMMIT_000142017             SUMMIT_000154622            SUMMIT_000178181
SUMMIT_000142019             SUMMIT_000155063            SUMMIT_000178284
SUMMIT_000142040             SUMMIT_000155649            SUMMIT_000178401
SUMMIT_000142803             SUMMIT_000155712            SUMMIT_000178447
SUMMIT_000143455             SUMMIT_000155729            SUMMIT_000178830
SUMMIT_000143808             SUMMIT_000156068            SUMMIT_000178862
SUMMIT_000143932             SUMMIT_000156129            SUMMIT_000178867
SUMMIT_000144030             SUMMIT_000156229            SUMMIT_000179205
SUMMIT_000144169             SUMMIT_000160756            SUMMIT_000179212
SUMMIT_000144284             SUMMIT_000165649            SUMMIT_000179253
SUMMIT_000144566             SUMMIT_000165768            SUMMIT_000179924
SUMMIT_000144602             SUMMIT_000165801            SUMMIT_000181261
SUMMIT_000144654             SUMMIT_000165823            SUMMIT_000181262
SUMMIT_000145252             SUMMIT_000170465            SUMMIT_000181676
SUMMIT_000145303             SUMMIT_000170662            SUMMIT_000181680
SUMMIT_000145312             SUMMIT_000173012            SUMMIT_000181701
SUMMIT_000145316             SUMMIT_000173047            SUMMIT_000181712
SUMMIT_000145985             SUMMIT_000173108            SUMMIT_000182526
SUMMIT_000146122             SUMMIT_000173268            SUMMIT_000182528
SUMMIT_000146786             SUMMIT_000175318            SUMMIT_000182530
SUMMIT_000147080             SUMMIT_000175322            SUMMIT_000182532
SUMMIT_000147082             SUMMIT_000175334            SUMMIT_000182533
SUMMIT_000147103             SUMMIT_000175336            SUMMIT_000184317
SUMMIT_000147123             SUMMIT_000175343            SUMMIT_000184321
SUMMIT_000147165             SUMMIT_000175373            SUMMIT_000186920
SUMMIT_000147167             SUMMIT_000175376            SUMMIT_000187307
SUMMIT_000147188             SUMMIT_000175474            SUMMIT_000187743
SUMMIT_000147208             SUMMIT_000175476            SUMMIT_000188616
SUMMIT_000147932             SUMMIT_000175779            SUMMIT_000190029

                                       21
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SUMMIT_000190216             SUMMIT_000211611            SUMMIT_000218672
SUMMIT_000190864             SUMMIT_000211666            SUMMIT_000218809
SUMMIT_000190868             SUMMIT_000211670            SUMMIT_000218850
SUMMIT_000190876             SUMMIT_000211702            SUMMIT_000219325
SUMMIT_000190901             SUMMIT_000211717            SUMMIT_000219562
SUMMIT_000190906             SUMMIT_000212193            SUMMIT_000220167
SUMMIT_000192532             SUMMIT_000212230            SUMMIT_000220512
SUMMIT_000193232             SUMMIT_000212547            SUMMIT_000220831
SUMMIT_000195235             SUMMIT_000212622            SUMMIT_000220853
SUMMIT_000195357             SUMMIT_000212694            SUMMIT_000221133
SUMMIT_000198203             SUMMIT_000213378            SUMMIT_000221403
SUMMIT_000199478             SUMMIT_000213559            SUMMIT_000221614
SUMMIT_000199479             SUMMIT_000213932            SUMMIT_000221819
SUMMIT_000199635             SUMMIT_000214189            SUMMIT_000221831
SUMMIT_000203294             SUMMIT_000214223            SUMMIT_000221911
SUMMIT_000203585             SUMMIT_000214306            SUMMIT_000222008
SUMMIT_000204420             SUMMIT_000214380            SUMMIT_000222258
SUMMIT_000204860             SUMMIT_000214422            SUMMIT_000222276
SUMMIT_000204880             SUMMIT_000214543            SUMMIT_000222531
SUMMIT_000205261             SUMMIT_000214604            SUMMIT_000223141
SUMMIT_000206057             SUMMIT_000214839            SUMMIT_000223155
SUMMIT_000206105             SUMMIT_000214853            SUMMIT_000223776
SUMMIT_000206144             SUMMIT_000215170            SUMMIT_000223777
SUMMIT_000206582             SUMMIT_000215286            SUMMIT_000223907
SUMMIT_000206779             SUMMIT_000215300            SUMMIT_000224000
SUMMIT_000207128             SUMMIT_000215443            SUMMIT_000224075
SUMMIT_000207323             SUMMIT_000215682            SUMMIT_000227659
SUMMIT_000207602             SUMMIT_000215772            SUMMIT_000227744
SUMMIT_000207608             SUMMIT_000215871            SUMMIT_000231453
SUMMIT_000207804             SUMMIT_000216108            SUMMIT_000231649
SUMMIT_000207905             SUMMIT_000216244            SUMMIT_000231932
SUMMIT_000208254             SUMMIT_000216267            SUMMIT_000232128
SUMMIT_000208299             SUMMIT_000216399            SUMMIT_000232735
SUMMIT_000208767             SUMMIT_000216448            SUMMIT_000232771
SUMMIT_000208812             SUMMIT_000216542            SUMMIT_000232815
SUMMIT_000208819             SUMMIT_000216568            SUMMIT_000232820
SUMMIT_000208852             SUMMIT_000216578            SUMMIT_000245231
SUMMIT_000208863             SUMMIT_000216872            SUMMIT_000251211
SUMMIT_000208929             SUMMIT_000216911            SUMMIT_000251215
SUMMIT_000209260             SUMMIT_000217004            SUMMIT_000251217
SUMMIT_000209568             SUMMIT_000217041            SUMMIT_000251250
SUMMIT_000209984             SUMMIT_000217279            SUMMIT_000251302
SUMMIT_000210114             SUMMIT_000217528            SUMMIT_000251304
SUMMIT_000210438             SUMMIT_000217619            SUMMIT_000251397
SUMMIT_000211264             SUMMIT_000217941            SUMMIT_000251400
SUMMIT_000211388             SUMMIT_000218153            SUMMIT_000251401
SUMMIT_000211507             SUMMIT_000218448            SUMMIT_000251432

                                       22
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SUMMIT_000251452             SUMMIT_000262488            SUMMIT_000283070
SUMMIT_000251455             SUMMIT_000262610            SUMMIT_000283085
SUMMIT_000251456             SUMMIT_000263149            SUMMIT_000283430
SUMMIT_000251487             SUMMIT_000273077            SUMMIT_000283636
SUMMIT_000251504             SUMMIT_000273273            SUMMIT_000283688
SUMMIT_000251507             SUMMIT_000273509            SUMMIT_000283705
SUMMIT_000251508             SUMMIT_000273628            SUMMIT_000284489
SUMMIT_000251539             SUMMIT_000273631            SUMMIT_000285606
SUMMIT_000252980             SUMMIT_000273652            SUMMIT_000285905
SUMMIT_000254949             SUMMIT_000273672            SUMMIT_000285910
SUMMIT_000254970             SUMMIT_000273673            SUMMIT_000285942
SUMMIT_000254994             SUMMIT_000273676            SUMMIT_000285950
SUMMIT_000254998             SUMMIT_000273694            SUMMIT_000286064
SUMMIT_000255020             SUMMIT_000274350            SUMMIT_000286090
SUMMIT_000255047             SUMMIT_000274793            SUMMIT_000286136
SUMMIT_000255050             SUMMIT_000275704            SUMMIT_000286222
SUMMIT_000255070             SUMMIT_000275841            SUMMIT_000286300
SUMMIT_000255230             SUMMIT_000276238            SUMMIT_000286325
SUMMIT_000255557             SUMMIT_000276275            SUMMIT_000286326
SUMMIT_000255662             SUMMIT_000276293            SUMMIT_000286327
SUMMIT_000257344             SUMMIT_000276576            SUMMIT_000286328
SUMMIT_000257545             SUMMIT_000276630            SUMMIT_000286329
SUMMIT_000257549             SUMMIT_000276905            SUMMIT_000286330
SUMMIT_000257552             SUMMIT_000277660            SUMMIT_000286331
SUMMIT_000257627             SUMMIT_000278209            SUMMIT_000286332
SUMMIT_000257630             SUMMIT_000278810            SUMMIT_000286333
SUMMIT_000257713             SUMMIT_000278814            SUMMIT_000286334
SUMMIT_000257724             SUMMIT_000279898            SUMMIT_000286335
SUMMIT_000257727             SUMMIT_000279900            SUMMIT_000286336
SUMMIT_000258651             SUMMIT_000279925            SUMMIT_000286337
SUMMIT_000258653             SUMMIT_000280015            SUMMIT_000286338
SUMMIT_000258668             SUMMIT_000280074            SUMMIT_000286349
SUMMIT_000258772             SUMMIT_000280884            SUMMIT_000286350
SUMMIT_000258782             SUMMIT_000280902            SUMMIT_000286351
SUMMIT_000258786             SUMMIT_000280954            SUMMIT_000286352
SUMMIT_000258790             SUMMIT_000281493            SUMMIT_000286353
SUMMIT_000258794             SUMMIT_000281494            SUMMIT_000286354
SUMMIT_000259334             SUMMIT_000281495            SUMMIT_000286355
SUMMIT_000259576             SUMMIT_000281496            SUMMIT_000286356
SUMMIT_000259580             SUMMIT_000281497            SUMMIT_000286357
SUMMIT_000259594             SUMMIT_000281498            SUMMIT_000286358
SUMMIT_000259598             SUMMIT_000281529            SUMMIT_000286359
SUMMIT_000261609             SUMMIT_000281531            SUMMIT_000286360
SUMMIT_000261624             SUMMIT_000281551            SUMMIT_000286361
SUMMIT_000261639             SUMMIT_000282041            SUMMIT_000286362
SUMMIT_000262454             SUMMIT_000282824            SUMMIT_000286588
SUMMIT_000262485             SUMMIT_000282844            SUMMIT_000286590

                                       23
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SUMMIT_000286601             SUMMIT_000343978            SUMMIT_000401992
SUMMIT_000286603             SUMMIT_000344856            SUMMIT_000451610
SUMMIT_000286624             SUMMIT_000346862            SUMMIT_000455397
SUMMIT_000286676             SUMMIT_000346869            SUMMIT_000465683
SUMMIT_000286677             SUMMIT_000346956            SUMMIT_000465689
SUMMIT_000286695             SUMMIT_000346961            SUMMIT_000465700
SUMMIT_000286822             SUMMIT_000347801            SUMMIT_000478501
SUMMIT_000287069             SUMMIT_000347803            SUMMIT_000532774
SUMMIT_000287339             SUMMIT_000360390            SUMMIT_000828246
SUMMIT_000287363             SUMMIT_000360832            SUMMIT_000831434
SUMMIT_000287397             SUMMIT_000360835            SUMMIT_000831440
SUMMIT_000287416             SUMMIT_000360886            SUMMIT_000831775
SUMMIT_000287470             SUMMIT_000360957            SUMMIT_000831796
SUMMIT_000287480             SUMMIT_000361033            SUMMIT_000832107
SUMMIT_000287527             SUMMIT_000361036            SUMMIT_000832112
SUMMIT_000287595             SUMMIT_000362940            SUMMIT_000832186
SUMMIT_000287616             SUMMIT_000362947            SUMMIT_000832189
SUMMIT_000287623             SUMMIT_000362950            SUMMIT_000832579
SUMMIT_000287753             SUMMIT_000363266            SUMMIT_000832849
SUMMIT_000287764             SUMMIT_000363269            SUMMIT_000833057
SUMMIT_000287851             SUMMIT_000363273            SUMMIT_000833409
SUMMIT_000287857             SUMMIT_000363504            SUMMIT_000833411
SUMMIT_000288107             SUMMIT_000351419            SUMMIT_000833418
SUMMIT_000288109             SUMMIT_000351463            SUMMIT_000833865
SUMMIT_000288112             SUMMIT_000351474            SUMMIT_000833872
SUMMIT_000288612             SUMMIT_000351682            SUMMIT_000834616
SUMMIT_000288615             SUMMIT_000351688            SUMMIT_000834619
SUMMIT_000288616             SUMMIT_000353239            SUMMIT_000834624
SUMMIT_000288647             SUMMIT_000354578            SUMMIT_000834628
SUMMIT_000288823             SUMMIT_000355579            SUMMIT_000834668
SUMMIT_000289330             SUMMIT_000355580            SUMMIT_000834857
SUMMIT_000289460             SUMMIT_000355581            SUMMIT_000834858
SUMMIT_000289523             SUMMIT_000355612            SUMMIT_000834859
SUMMIT_000289577             SUMMIT_000355970            SUMMIT_000835290
SUMMIT_000289631             SUMMIT_000355978            SUMMIT_000835293
SUMMIT_000289744             SUMMIT_000356089            SUMMIT_000835336
SUMMIT_000289843             SUMMIT_000358580            SUMMIT_000835337
SUMMIT_000289845             SUMMIT_000358607            SUMMIT_000835338
SUMMIT_000290195             SUMMIT_000358613            SUMMIT_000836015
SUMMIT_000290199             SUMMIT_000358620            SUMMIT_000836018
SUMMIT_000290203             SUMMIT_000358785            SUMMIT_000836037
SUMMIT_000290209             SUMMIT_000359203            SUMMIT_000836300
SUMMIT_000349438             SUMMIT_000369197            SUMMIT_000836355
SUMMIT_000342641             SUMMIT_000369285            SUMMIT_000836356
SUMMIT_000342662             SUMMIT_000395787            SUMMIT_000836363
SUMMIT_000343278             SUMMIT_000401958            SUMMIT_000836366
SUMMIT_000343771             SUMMIT_000401972            SUMMIT_000836931

                                       24
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SUMMIT_000836933             SUMMIT_000841791            SUMMIT_000843886
SUMMIT_000836940             SUMMIT_000841939            SUMMIT_000843924
SUMMIT_000836943             SUMMIT_000842137            SUMMIT_000843943
SUMMIT_000836948             SUMMIT_000842143            SUMMIT_000843947
SUMMIT_000837504             SUMMIT_000842146            SUMMIT_000843953
SUMMIT_000837505             SUMMIT_000842150            SUMMIT_000843955
SUMMIT_000837636             SUMMIT_000842160            SUMMIT_000844046
SUMMIT_000837973             SUMMIT_000842164            SUMMIT_000844053
SUMMIT_000837977             SUMMIT_000842193            SUMMIT_000844121
SUMMIT_000838107             SUMMIT_000842205            SUMMIT_000844122
SUMMIT_000838292             SUMMIT_000842207            SUMMIT_000844168
SUMMIT_000838705             SUMMIT_000842209            SUMMIT_000844171
SUMMIT_000838788             SUMMIT_000842218            SUMMIT_000844304
SUMMIT_000838797             SUMMIT_000842224            SUMMIT_000844381
SUMMIT_000838842             SUMMIT_000842233            SUMMIT_000844387
SUMMIT_000838898             SUMMIT_000842246            SUMMIT_000844392
SUMMIT_000838945             SUMMIT_000842248            SUMMIT_000844397
SUMMIT_000839002             SUMMIT_000842250            SUMMIT_000844428
SUMMIT_000839003             SUMMIT_000842287            SUMMIT_000844643
SUMMIT_000839031             SUMMIT_000842303            SUMMIT_000844781
SUMMIT_000839202             SUMMIT_000842341            SUMMIT_000844854
SUMMIT_000839224             SUMMIT_000842343            SUMMIT_000844856
SUMMIT_000839229             SUMMIT_000842345            SUMMIT_000844941
SUMMIT_000839292             SUMMIT_000842349            SUMMIT_000844943
SUMMIT_000839296             SUMMIT_000842356            SUMMIT_000844946
SUMMIT_000839301             SUMMIT_000842359            SUMMIT_000844968
SUMMIT_000839535             SUMMIT_000842384            SUMMIT_000845021
SUMMIT_000839563             SUMMIT_000842390            SUMMIT_000845029
SUMMIT_000839745             SUMMIT_000842502            SUMMIT_000845048
SUMMIT_000839754             SUMMIT_000842505            SUMMIT_000845084
SUMMIT_000839795             SUMMIT_000842683            SUMMIT_000845090
SUMMIT_000839840             SUMMIT_000842765            SUMMIT_000845213
SUMMIT_000839866             SUMMIT_000843015            SUMMIT_000845217
SUMMIT_000840064             SUMMIT_000843022            SUMMIT_000845260
SUMMIT_000840286             SUMMIT_000843057            SUMMIT_000845718
SUMMIT_000840385             SUMMIT_000843060            SUMMIT_000845737
SUMMIT_000840468             SUMMIT_000843260            SUMMIT_000845769
SUMMIT_000840485             SUMMIT_000843278            SUMMIT_000845822
SUMMIT_000840498             SUMMIT_000843306            SUMMIT_000845825
SUMMIT_000840507             SUMMIT_000843351            SUMMIT_000845870
SUMMIT_000840515             SUMMIT_000843438            SUMMIT_000845918
SUMMIT_000840519             SUMMIT_000843481            SUMMIT_000847713
SUMMIT_000840521             SUMMIT_000843485            SUMMIT_000847717
SUMMIT_000840832             SUMMIT_000843616            SUMMIT_000847718
SUMMIT_000841166             SUMMIT_000843650            SUMMIT_000847750
SUMMIT_000841324             SUMMIT_000843679            SUMMIT_000847924
SUMMIT_000841462             SUMMIT_000843718            SUMMIT_000847926

                                       25
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SUMMIT_000847929             SUMMIT_000857085            SUMMIT_000874597
SUMMIT_000847988             SUMMIT_000857118            SUMMIT_000874650
SUMMIT_000848400             SUMMIT_000857132            SUMMIT_000874663
SUMMIT_000848511             SUMMIT_000857135            SUMMIT_000874748
SUMMIT_000848666             SUMMIT_000857141            SUMMIT_000874754
SUMMIT_000848669             SUMMIT_000857142            SUMMIT_000875264
SUMMIT_000848672             SUMMIT_000857146            SUMMIT_000875433
SUMMIT_000848688             SUMMIT_000857147            SUMMIT_000875473
SUMMIT_000848693             SUMMIT_000857234            SUMMIT_000875476
SUMMIT_000848700             SUMMIT_000857289            SUMMIT_000875481
SUMMIT_000848953             SUMMIT_000857293            SUMMIT_000875484
SUMMIT_000848981             SUMMIT_000857325            SUMMIT_000875496
SUMMIT_000849048             SUMMIT_000857422            SUMMIT_000875595
SUMMIT_000849107             SUMMIT_000857430            SUMMIT_000875619
SUMMIT_000849124             SUMMIT_000857530            SUMMIT_000875966
SUMMIT_000849231             SUMMIT_000857617            SUMMIT_000876154
SUMMIT_000849234             SUMMIT_000858696            SUMMIT_000876195
SUMMIT_000849243             SUMMIT_000858712            SUMMIT_000876210
SUMMIT_000849356             SUMMIT_000858951            SUMMIT_000876248
SUMMIT_000849822             SUMMIT_000859122            SUMMIT_000876252
SUMMIT_000849904             SUMMIT_000859124            SUMMIT_000876264
SUMMIT_000850144             SUMMIT_000859877            SUMMIT_000876266
SUMMIT_000850300             SUMMIT_000862692            SUMMIT_000876268
SUMMIT_000850960             SUMMIT_000865527            SUMMIT_000876270
SUMMIT_000851104             SUMMIT_000866033            SUMMIT_000876272
SUMMIT_000851455             SUMMIT_000869202            SUMMIT_000876280
SUMMIT_000851458             SUMMIT_000869288            SUMMIT_000876283
SUMMIT_000851467             SUMMIT_000870035            SUMMIT_000876305
SUMMIT_000851484             SUMMIT_000870042            SUMMIT_000876385
SUMMIT_000851736             SUMMIT_000870043            SUMMIT_000876734
SUMMIT_000851739             SUMMIT_000870045            SUMMIT_000876845
SUMMIT_000851748             SUMMIT_000870046            SUMMIT_000877145
SUMMIT_000851765             SUMMIT_000870049            SUMMIT_000878149
SUMMIT_000852643             SUMMIT_000870052            SUMMIT_000878153
SUMMIT_000852663             SUMMIT_000870067            SUMMIT_000878449
SUMMIT_000852676             SUMMIT_000870069            SUMMIT_000878516
SUMMIT_000852687             SUMMIT_000870071            SUMMIT_000878592
SUMMIT_000853775             SUMMIT_000870072            SUMMIT_000878825
SUMMIT_000853777             SUMMIT_000870152            SUMMIT_000878858
SUMMIT_000854915             SUMMIT_000870161            SUMMIT_000878947
SUMMIT_000854955             SUMMIT_000874150            SUMMIT_000879164
SUMMIT_000854993             SUMMIT_000874353            SUMMIT_000879169
SUMMIT_000855048             SUMMIT_000874355            SUMMIT_000879280
SUMMIT_000855049             SUMMIT_000874357            SUMMIT_000879543
SUMMIT_000855400             SUMMIT_000874490            SUMMIT_000880636
SUMMIT_000855943             SUMMIT_000874511            SUMMIT_000880637
SUMMIT_000856241             SUMMIT_000874568            SUMMIT_000880691

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SUMMIT_000880692             SUMMIT_000888189            SUMMIT_000901258
SUMMIT_000880693             SUMMIT_000888191            SUMMIT_000901415
SUMMIT_000880694             SUMMIT_000888243            SUMMIT_000902116
SUMMIT_000880842             SUMMIT_000888245            SUMMIT_000902467
SUMMIT_000880845             SUMMIT_000888248            SUMMIT_000902485
SUMMIT_000880857             SUMMIT_000888249            SUMMIT_000902667
SUMMIT_000880870             SUMMIT_000888250            SUMMIT_000903698
SUMMIT_000880873             SUMMIT_000888252            SUMMIT_000903702
SUMMIT_000880876             SUMMIT_000888254            SUMMIT_000903716
SUMMIT_000880899             SUMMIT_000888256            SUMMIT_000903720
SUMMIT_000880903             SUMMIT_000888258            SUMMIT_000903724
SUMMIT_000880905             SUMMIT_000888260            SUMMIT_000903788
SUMMIT_000880916             SUMMIT_000888261            SUMMIT_000904323
SUMMIT_000880924             SUMMIT_000888263            SUMMIT_000904337
SUMMIT_000882456             SUMMIT_000888268            SUMMIT_000904404
SUMMIT_000883151             SUMMIT_000888271            SUMMIT_000904532
SUMMIT_000883710             SUMMIT_000888281            SUMMIT_000904541
SUMMIT_000883756             SUMMIT_000888291            SUMMIT_000904989
SUMMIT_000883818             SUMMIT_000888309            SUMMIT_000905022
SUMMIT_000883832             SUMMIT_000888316            SUMMIT_000905358
SUMMIT_000883838             SUMMIT_000888397            SUMMIT_000905361
SUMMIT_000883865             SUMMIT_000888819            SUMMIT_000905362
SUMMIT_000883879             SUMMIT_000890056            SUMMIT_000905942
SUMMIT_000883887             SUMMIT_000890780            SUMMIT_000907326
SUMMIT_000883890             SUMMIT_000890980            SUMMIT_000907330
SUMMIT_000883920             SUMMIT_000890981            SUMMIT_000908953
SUMMIT_000884040             SUMMIT_000891873            SUMMIT_000908963
SUMMIT_000884044             SUMMIT_000893426            SUMMIT_000909271
SUMMIT_000884046             SUMMIT_000893527            SUMMIT_000909294
SUMMIT_000884079             SUMMIT_000894443            SUMMIT_000909443
SUMMIT_000884125             SUMMIT_000894484            SUMMIT_000909537
SUMMIT_000884129             SUMMIT_000894485            SUMMIT_000909559
SUMMIT_000884131             SUMMIT_000894681            SUMMIT_000909641
SUMMIT_000884164             SUMMIT_000894694            SUMMIT_000909790
SUMMIT_000884277             SUMMIT_000894881            SUMMIT_000909805
SUMMIT_000884695             SUMMIT_000895036            SUMMIT_000909879
SUMMIT_000884818             SUMMIT_000895701            SUMMIT_000910116
SUMMIT_000885388             SUMMIT_000895743            SUMMIT_000910161
SUMMIT_000885511             SUMMIT_000897317            SUMMIT_000910216
SUMMIT_000885541             SUMMIT_000898379            SUMMIT_000910229
SUMMIT_000885742             SUMMIT_000899025            SUMMIT_000910283
SUMMIT_000887772             SUMMIT_000899201            SUMMIT_000910317
SUMMIT_000887912             SUMMIT_000899203            SUMMIT_000910339
SUMMIT_000888128             SUMMIT_000899205            SUMMIT_000910381
SUMMIT_000888131             SUMMIT_000899902            SUMMIT_000910385
SUMMIT_000888135             SUMMIT_000899932            SUMMIT_000910499
SUMMIT_000888175             SUMMIT_000899989            SUMMIT_000910500

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SUMMIT_000910527             SUMMIT_000912024            SUMMIT_000919822
SUMMIT_000910539             SUMMIT_000912184            SUMMIT_000919826
SUMMIT_000910557             SUMMIT_000912188            SUMMIT_000920162
SUMMIT_000910565             SUMMIT_000912220            SUMMIT_000920488
SUMMIT_000910701             SUMMIT_000912795            SUMMIT_000921387
SUMMIT_000910754             SUMMIT_000912817            SUMMIT_000921416
SUMMIT_000910767             SUMMIT_000912825            SUMMIT_000921539
SUMMIT_000910769             SUMMIT_000912831            SUMMIT_000921559
SUMMIT_000910771             SUMMIT_000912839            SUMMIT_000921970
SUMMIT_000910779             SUMMIT_000912844            SUMMIT_000921986
SUMMIT_000910791             SUMMIT_000912853            SUMMIT_000922021
SUMMIT_000910816             SUMMIT_000912880            SUMMIT_000923253
SUMMIT_000910820             SUMMIT_000912910            SUMMIT_000923457
SUMMIT_000910823             SUMMIT_000913351            SUMMIT_000924158
SUMMIT_000910833             SUMMIT_000913445            SUMMIT_000924859
SUMMIT_000910842             SUMMIT_000913739            SUMMIT_000924862
SUMMIT_000910845             SUMMIT_000914389            SUMMIT_000925082
SUMMIT_000910848             SUMMIT_000914395            SUMMIT_000925314
SUMMIT_000910852             SUMMIT_000914400            SUMMIT_000925752
SUMMIT_000910856             SUMMIT_000914451            SUMMIT_000925946
SUMMIT_000910877             SUMMIT_000915837            SUMMIT_000925986
SUMMIT_000910881             SUMMIT_000915984            SUMMIT_000927092
SUMMIT_000911126             SUMMIT_000916024            SUMMIT_000927728
SUMMIT_000911133             SUMMIT_000916132            SUMMIT_000927965
SUMMIT_000911415             SUMMIT_000916160            SUMMIT_000928608
SUMMIT_000911537             SUMMIT_000916433            SUMMIT_000928666
SUMMIT_000911594             SUMMIT_000916453            SUMMIT_000928747
SUMMIT_000911623             SUMMIT_000916695            SUMMIT_000929205
SUMMIT_000911714             SUMMIT_000916814            SUMMIT_000929398
SUMMIT_000911717             SUMMIT_000916816            SUMMIT_000929525
SUMMIT_000911758             SUMMIT_000916818            SUMMIT_000929527
SUMMIT_000911765             SUMMIT_000916822            SUMMIT_000929602
SUMMIT_000911767             SUMMIT_000916823            SUMMIT_000929693
SUMMIT_000911786             SUMMIT_000916834            SUMMIT_000929743
SUMMIT_000911791             SUMMIT_000916837            SUMMIT_000929935
SUMMIT_000911795             SUMMIT_000916883            SUMMIT_000929950
SUMMIT_000911811             SUMMIT_000916917            SUMMIT_000929959
SUMMIT_000911866             SUMMIT_000917122            SUMMIT_000929960
SUMMIT_000911867             SUMMIT_000917238            SUMMIT_000930248
SUMMIT_000911871             SUMMIT_000917340            SUMMIT_000930261
SUMMIT_000911876             SUMMIT_000917890            SUMMIT_000930571
SUMMIT_000911885             SUMMIT_000918122            SUMMIT_000930594
SUMMIT_000911888             SUMMIT_000918125            SUMMIT_000930645
SUMMIT_000911899             SUMMIT_000918128            SUMMIT_000930970
SUMMIT_000911935             SUMMIT_000918774            SUMMIT_000931044
SUMMIT_000911950             SUMMIT_000919815            SUMMIT_000931046
SUMMIT_000912020             SUMMIT_000919818            SUMMIT_000931052

                                       28
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SUMMIT_000931065             SUMMIT_000936228            SUMMIT_000939208
SUMMIT_000931067             SUMMIT_000936279            SUMMIT_000939215
SUMMIT_000931071             SUMMIT_000936302            SUMMIT_000939248
SUMMIT_000931073             SUMMIT_000936305            SUMMIT_000939254
SUMMIT_000931109             SUMMIT_000936306            SUMMIT_000939266
SUMMIT_000931120             SUMMIT_000936411            SUMMIT_000939490
SUMMIT_000931138             SUMMIT_000936654            SUMMIT_000939669
SUMMIT_000931264             SUMMIT_000936794            SUMMIT_000939783
SUMMIT_000931282             SUMMIT_000936799            SUMMIT_000939802
SUMMIT_000931293             SUMMIT_000936860            SUMMIT_000940074
SUMMIT_000931321             SUMMIT_000937176            SUMMIT_000940163
SUMMIT_000931639             SUMMIT_000937200            SUMMIT_000940226
SUMMIT_000931640             SUMMIT_000937234            SUMMIT_000940269
SUMMIT_000931815             SUMMIT_000937617            SUMMIT_000940305
SUMMIT_000931824             SUMMIT_000937744            SUMMIT_000940863
SUMMIT_000931870             SUMMIT_000937746            SUMMIT_000941152
SUMMIT_000931912             SUMMIT_000937747            SUMMIT_000941214
SUMMIT_000931981             SUMMIT_000937748            SUMMIT_000941442
SUMMIT_000932025             SUMMIT_000937749            SUMMIT_000941444
SUMMIT_000932156             SUMMIT_000937751            SUMMIT_000941447
SUMMIT_000932284             SUMMIT_000937755            SUMMIT_000941449
SUMMIT_000932289             SUMMIT_000937756            SUMMIT_000941452
SUMMIT_000932328             SUMMIT_000937768            SUMMIT_000941456
SUMMIT_000932352             SUMMIT_000937848            SUMMIT_000941462
SUMMIT_000932413             SUMMIT_000937923            SUMMIT_000941465
SUMMIT_000932452             SUMMIT_000938139            SUMMIT_000941584
SUMMIT_000932492             SUMMIT_000938141            SUMMIT_000941586
SUMMIT_000932554             SUMMIT_000938147            SUMMIT_000941730
SUMMIT_000932606             SUMMIT_000938191            SUMMIT_000941737
SUMMIT_000933195             SUMMIT_000938247            SUMMIT_000941744
SUMMIT_000933198             SUMMIT_000938248            SUMMIT_000942268
SUMMIT_000933206             SUMMIT_000938250            SUMMIT_000942451
SUMMIT_000933222             SUMMIT_000938275            SUMMIT_000942505
SUMMIT_000933228             SUMMIT_000938384            SUMMIT_000942517
SUMMIT_000933412             SUMMIT_000938387            SUMMIT_000942552
SUMMIT_000933563             SUMMIT_000938403            SUMMIT_000943780
SUMMIT_000934325             SUMMIT_000938407            SUMMIT_000943915
SUMMIT_000934326             SUMMIT_000938414            SUMMIT_000943923
SUMMIT_000934427             SUMMIT_000938418            SUMMIT_000943983
SUMMIT_000934436             SUMMIT_000938419            SUMMIT_000944459
SUMMIT_000934557             SUMMIT_000938533            SUMMIT_000944686
SUMMIT_000935521             SUMMIT_000938708            SUMMIT_000944791
SUMMIT_000935523             SUMMIT_000938713            SUMMIT_000944815
SUMMIT_000935629             SUMMIT_000938716            SUMMIT_000944834
SUMMIT_000936076             SUMMIT_000938722            SUMMIT_000945008
SUMMIT_000936191             SUMMIT_000938803            SUMMIT_000945053
SUMMIT_000936227             SUMMIT_000939202            SUMMIT_000945113

                                       29
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SUMMIT_000945127             SUMMIT_000823815            SUMMIT_000824668
SUMMIT_000820693             SUMMIT_000823882            SUMMIT_000824669
SUMMIT_000820711             SUMMIT_000823884            SUMMIT_000824670
SUMMIT_000820736             SUMMIT_000823885            SUMMIT_000824671
SUMMIT_000821015             SUMMIT_000823951            SUMMIT_000824672
SUMMIT_000821285             SUMMIT_000823958            SUMMIT_000824673
SUMMIT_000821339             SUMMIT_000823972            SUMMIT_000824675
SUMMIT_000821396             SUMMIT_000823985            SUMMIT_000824676
SUMMIT_000821415             SUMMIT_000824050            SUMMIT_000824677
SUMMIT_000821497             SUMMIT_000824056            SUMMIT_000824748
SUMMIT_000821514             SUMMIT_000824107            SUMMIT_000824749
SUMMIT_000821521             SUMMIT_000824158            SUMMIT_000824752
SUMMIT_000821574             SUMMIT_000824168            SUMMIT_000824754
SUMMIT_000821620             SUMMIT_000824169            SUMMIT_000824758
SUMMIT_000821623             SUMMIT_000824170            SUMMIT_000825049
SUMMIT_000821626             SUMMIT_000824171            SUMMIT_000825052
SUMMIT_000821627             SUMMIT_000824177            SUMMIT_000825063
SUMMIT_000821636             SUMMIT_000824185            SUMMIT_000825066
SUMMIT_000821692             SUMMIT_000824189            SUMMIT_000825068
SUMMIT_000821693             SUMMIT_000824191            SUMMIT_000825141
SUMMIT_000821832             SUMMIT_000824277            SUMMIT_000825147
SUMMIT_000821953             SUMMIT_000824293            SUMMIT_000825158
SUMMIT_000821954             SUMMIT_000824306            SUMMIT_000825159
SUMMIT_000821986             SUMMIT_000824315            SUMMIT_000825163
SUMMIT_000821997             SUMMIT_000824323            SUMMIT_000825165
SUMMIT_000822010             SUMMIT_000824386            SUMMIT_000825250
SUMMIT_000822066             SUMMIT_000824450            SUMMIT_000825301
SUMMIT_000822073             SUMMIT_000824452            SUMMIT_000825324
SUMMIT_000822130             SUMMIT_000824523            SUMMIT_000825334
SUMMIT_000822287             SUMMIT_000824524            SUMMIT_000825335
SUMMIT_000822518             SUMMIT_000824525            SUMMIT_000825363
SUMMIT_000822520             SUMMIT_000824546            SUMMIT_000825365
SUMMIT_000822522             SUMMIT_000824547            SUMMIT_000825382
SUMMIT_000822524             SUMMIT_000824550            SUMMIT_000825405
SUMMIT_000822571             SUMMIT_000824551            SUMMIT_000825409
SUMMIT_000822720             SUMMIT_000824552            SUMMIT_000825424
SUMMIT_000822747             SUMMIT_000824553            SUMMIT_000825437
SUMMIT_000822818             SUMMIT_000824554            SUMMIT_000825438
SUMMIT_000822826             SUMMIT_000824555            SUMMIT_000825441
SUMMIT_000822854             SUMMIT_000824558            SUMMIT_000825443
SUMMIT_000822857             SUMMIT_000824559            SUMMIT_000825623
SUMMIT_000822864             SUMMIT_000824560            SUMMIT_000825625
SUMMIT_000823054             SUMMIT_000824561            SUMMIT_000825626
SUMMIT_000823122             SUMMIT_000824575            SUMMIT_000825628
SUMMIT_000823598             SUMMIT_000824587            SUMMIT_000825630
SUMMIT_000823599             SUMMIT_000824590            SUMMIT_000825632
SUMMIT_000823624             SUMMIT_000824667            SUMMIT_000825786

                                       30
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SUMMIT_000825788             SUMMIT_000827576            SUMMIT_001152121
SUMMIT_000826109             SUMMIT_000827655            SUMMIT_001160448
SUMMIT_000826285             SUMMIT_000827658            SUMMIT_001160929
SUMMIT_000826286             SUMMIT_000827662            SUMMIT_001160993
SUMMIT_000826287             SUMMIT_000827666            SUMMIT_001161034
SUMMIT_000826292             SUMMIT_000827670            SUMMIT_001161138
SUMMIT_000826378             SUMMIT_000827687            SUMMIT_001161168
SUMMIT_000826389             SUMMIT_000827734            SUMMIT_001161191
SUMMIT_000826390             SUMMIT_000827871            SUMMIT_001161193
SUMMIT_000826524             SUMMIT_000820167            SUMMIT_001163939
SUMMIT_000826626             SUMMIT_000820369            SUMMIT_001164102
SUMMIT_000826831             SUMMIT_000949872            SUMMIT_001164116
SUMMIT_000826832             SUMMIT_000949875            SUMMIT_001164117
SUMMIT_000826833             SUMMIT_000950601            SUMMIT_001164135
SUMMIT_000826842             SUMMIT_000951818            SUMMIT_001164140
SUMMIT_000826844             SUMMIT_000951840            SUMMIT_001164146
SUMMIT_000826845             SUMMIT_000951916            SUMMIT_001164153
SUMMIT_000826846             SUMMIT_000952496            SUMMIT_001164165
SUMMIT_000826847             SUMMIT_000954034            SUMMIT_001164177
SUMMIT_000826854             SUMMIT_000955785            SUMMIT_001164189
SUMMIT_000826863             SUMMIT_000956053            SUMMIT_001164197
SUMMIT_000826881             SUMMIT_000957343            SUMMIT_001164215
SUMMIT_000826883             SUMMIT_000959420            SUMMIT_001164219
SUMMIT_000826908             SUMMIT_000959463            SUMMIT_001164221
SUMMIT_000826912             SUMMIT_000959636            SUMMIT_001164304
SUMMIT_000826913             SUMMIT_000960128            SUMMIT_001164321
SUMMIT_000826914             SUMMIT_000963086            SUMMIT_001164323
SUMMIT_000826919             SUMMIT_000963828            SUMMIT_001206191
SUMMIT_000826923             SUMMIT_000964115            SUMMIT_001206192
SUMMIT_000826933             SUMMIT_000964121            SUMMIT_001209865
SUMMIT_000826951             SUMMIT_000964565            SUMMIT_001210853
SUMMIT_000826952             SUMMIT_000964567            SUMMIT_001210949
SUMMIT_000827330             SUMMIT_000965135            SUMMIT_001211017
SUMMIT_000827333             SUMMIT_000965154            SUMMIT_001211023
SUMMIT_000827336             SUMMIT_000965251            SUMMIT_001211120
SUMMIT_000827337             SUMMIT_000966663            SUMMIT_001211125
SUMMIT_000827339             SUMMIT_000966948            SUMMIT_001212421
SUMMIT_000827342             SUMMIT_000970365            SUMMIT_001212778
SUMMIT_000827377             SUMMIT_001146109            SUMMIT_001212797
SUMMIT_000827395             SUMMIT_001146613            SUMMIT_001212799
SUMMIT_000827398             SUMMIT_001151314            SUMMIT_001212800
SUMMIT_000827406             SUMMIT_001151331            SUMMIT_001213695
SUMMIT_000827476             SUMMIT_001151341            SUMMIT_001213928
SUMMIT_000827521             SUMMIT_001151342            SUMMIT_001214610
SUMMIT_000827531             SUMMIT_001151349            SUMMIT_001214614
SUMMIT_000827533             SUMMIT_001151867            SUMMIT_001214890
SUMMIT_000827550             SUMMIT_001151893            SUMMIT_001215029

                                       31
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SUMMIT_001215142             SUMMIT_001228965            SUMMIT_001190902
SUMMIT_001215152             SUMMIT_001228967            SUMMIT_001190906
SUMMIT_001215163             SUMMIT_001228968            SUMMIT_001190909
SUMMIT_001215182             SUMMIT_001228969            SUMMIT_001190914
SUMMIT_001215200             SUMMIT_001228970            SUMMIT_001190916
SUMMIT_001215295             SUMMIT_001170158            SUMMIT_001190947
SUMMIT_001215610             SUMMIT_001177574            SUMMIT_001190948
SUMMIT_001215750             SUMMIT_001177940            SUMMIT_001190955
SUMMIT_001215751             SUMMIT_001178076            SUMMIT_001190965
SUMMIT_001215770             SUMMIT_001178690            SUMMIT_001190967
SUMMIT_001216056             SUMMIT_001179274            SUMMIT_001190969
SUMMIT_001216070             SUMMIT_001179395            SUMMIT_001191174
SUMMIT_001216374             SUMMIT_001179846            SUMMIT_001191176
SUMMIT_001216447             SUMMIT_001180202            SUMMIT_001191178
SUMMIT_001216453             SUMMIT_001180231            SUMMIT_001191180
SUMMIT_001216458             SUMMIT_001180454            SUMMIT_001191182
SUMMIT_001216496             SUMMIT_001180458            SUMMIT_001191264
SUMMIT_001217207             SUMMIT_001182645            SUMMIT_001191299
SUMMIT_001217582             SUMMIT_001182646            SUMMIT_001191320
SUMMIT_001217840             SUMMIT_001189188            SUMMIT_001191352
SUMMIT_001217921             SUMMIT_001189190            SUMMIT_001191415
SUMMIT_001217922             SUMMIT_001189198            SUMMIT_001191436
SUMMIT_001217931             SUMMIT_001189512            SUMMIT_001191461
SUMMIT_001218222             SUMMIT_001189513            SUMMIT_001191471
SUMMIT_001218370             SUMMIT_001189514            SUMMIT_001191474
SUMMIT_001218838             SUMMIT_001189515            SUMMIT_001191481
SUMMIT_001218935             SUMMIT_001189535            SUMMIT_001191483
SUMMIT_001218936             SUMMIT_001189537            SUMMIT_001191485
SUMMIT_001218937             SUMMIT_001189540            SUMMIT_001191587
SUMMIT_001218978             SUMMIT_001189629            SUMMIT_001191590
SUMMIT_001219040             SUMMIT_001189633            SUMMIT_001191599
SUMMIT_001219105             SUMMIT_001189638            SUMMIT_001191672
SUMMIT_001219176             SUMMIT_001189653            SUMMIT_001191675
SUMMIT_001219257             SUMMIT_001189678            SUMMIT_001191677
SUMMIT_001219474             SUMMIT_001190739            SUMMIT_001191679
SUMMIT_001221809             SUMMIT_001190747            SUMMIT_001191684
SUMMIT_001222225             SUMMIT_001190762            SUMMIT_001191686
SUMMIT_001228851             SUMMIT_001190770            SUMMIT_001191688
SUMMIT_001228882             SUMMIT_001190789            SUMMIT_001191708
SUMMIT_001228893             SUMMIT_001190812            SUMMIT_001191748
SUMMIT_001228901             SUMMIT_001190823            SUMMIT_001191749
SUMMIT_001228903             SUMMIT_001190827            SUMMIT_001191750
SUMMIT_001228918             SUMMIT_001190835            SUMMIT_001191751
SUMMIT_001228942             SUMMIT_001190846            SUMMIT_001191752
SUMMIT_001228961             SUMMIT_001190869            SUMMIT_001191753
SUMMIT_001228962             SUMMIT_001190876            SUMMIT_001191754
SUMMIT_001228963             SUMMIT_001190901            SUMMIT_001191757

                                       32
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SUMMIT_001191758             SUMMIT_001194723            SUMMIT_001236262
SUMMIT_001191759             SUMMIT_001194820            SUMMIT_001236365
SUMMIT_001191762             SUMMIT_001194825            SUMMIT_001236550
SUMMIT_001191765             SUMMIT_001194844            SUMMIT_001236576
SUMMIT_001191773             SUMMIT_001195319            SUMMIT_001236590
SUMMIT_001191777             SUMMIT_001195371            SUMMIT_001236742
SUMMIT_001191781             SUMMIT_001197446            SUMMIT_001236748
SUMMIT_001191784             SUMMIT_001197543            SUMMIT_001236750
SUMMIT_001191787             SUMMIT_001198658            SUMMIT_001236753
SUMMIT_001191790             SUMMIT_001198659            SUMMIT_001236780
SUMMIT_001191794             SUMMIT_001198660            SUMMIT_001236990
SUMMIT_001191798             SUMMIT_001198669            SUMMIT_001237069
SUMMIT_001191801             SUMMIT_001198764            SUMMIT_001237078
SUMMIT_001191804             SUMMIT_001198765            SUMMIT_001237116
SUMMIT_001191808             SUMMIT_001198772            SUMMIT_001237248
SUMMIT_001191811             SUMMIT_001199535            SUMMIT_001237258
SUMMIT_001191814             SUMMIT_001199669            SUMMIT_001237373
SUMMIT_001191817             SUMMIT_001202115            SUMMIT_001237490
SUMMIT_001191820             SUMMIT_001202248            SUMMIT_001237493
SUMMIT_001191823             SUMMIT_001202325            SUMMIT_001237539
SUMMIT_001191826             SUMMIT_001202512            SUMMIT_001237584
SUMMIT_001191831             SUMMIT_001202559            SUMMIT_001237641
SUMMIT_001191836             SUMMIT_001203063            SUMMIT_001237643
SUMMIT_001191841             SUMMIT_001203095            SUMMIT_001237646
SUMMIT_001191852             SUMMIT_001203521            SUMMIT_001237650
SUMMIT_001191860             SUMMIT_001203574            SUMMIT_001237652
SUMMIT_001191861             SUMMIT_001203657            SUMMIT_001237663
SUMMIT_001191862             SUMMIT_001203659            SUMMIT_001237677
SUMMIT_001191865             SUMMIT_001203668            SUMMIT_001237727
SUMMIT_001192021             SUMMIT_001204021            SUMMIT_001237729
SUMMIT_001192024             SUMMIT_001204022            SUMMIT_001237731
SUMMIT_001192041             SUMMIT_001204037            SUMMIT_001237734
SUMMIT_001192043             SUMMIT_001204042            SUMMIT_001237739
SUMMIT_001192078             SUMMIT_001204043            SUMMIT_001237742
SUMMIT_001192331             SUMMIT_001204047            SUMMIT_001237757
SUMMIT_001192337             SUMMIT_001204048            SUMMIT_001237760
SUMMIT_001192338             SUMMIT_001204115            SUMMIT_001237772
SUMMIT_001192339             SUMMIT_001204116            SUMMIT_001237776
SUMMIT_001192340             SUMMIT_001204117            SUMMIT_001237812
SUMMIT_001192341             SUMMIT_001204146            SUMMIT_001237814
SUMMIT_001192418             SUMMIT_001204147            SUMMIT_001237819
SUMMIT_001192638             SUMMIT_001233722            SUMMIT_001237823
SUMMIT_001192655             SUMMIT_001234545            SUMMIT_001237826
SUMMIT_001192656             SUMMIT_001235478            SUMMIT_001237830
SUMMIT_001192662             SUMMIT_001236252            SUMMIT_001237834
SUMMIT_001192679             SUMMIT_001236257            SUMMIT_001237839
SUMMIT_001194717             SUMMIT_001236259            SUMMIT_001238005

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SUMMIT_001238103             SUMMIT_001242420            SUMMIT_001271126
SUMMIT_001238229             SUMMIT_001242675            SUMMIT_001273018
SUMMIT_001238241             SUMMIT_001243168            SUMMIT_001273070
SUMMIT_001238270             SUMMIT_001244003            SUMMIT_001273150
SUMMIT_001238866             SUMMIT_001244961            SUMMIT_001273151
SUMMIT_001238918             SUMMIT_001245432            SUMMIT_001273219
SUMMIT_001238950             SUMMIT_001245976            SUMMIT_001273253
SUMMIT_001239367             SUMMIT_001246107            SUMMIT_001273334
SUMMIT_001239386             SUMMIT_001246110            SUMMIT_001273880
SUMMIT_001239449             SUMMIT_001246113            SUMMIT_001274591
SUMMIT_001239453             SUMMIT_001246115            SUMMIT_001274595
SUMMIT_001239560             SUMMIT_001247078            SUMMIT_001274598
SUMMIT_001239562             SUMMIT_001247802            SUMMIT_001274679
SUMMIT_001239572             SUMMIT_001249103            SUMMIT_001274681
SUMMIT_001239613             SUMMIT_001251418            SUMMIT_001274684
SUMMIT_001239720             SUMMIT_001251439            SUMMIT_001274876
SUMMIT_001239722             SUMMIT_001252006            SUMMIT_001275011
SUMMIT_001239878             SUMMIT_001252165            SUMMIT_001275041
SUMMIT_001239881             SUMMIT_001253797            SUMMIT_001275180
SUMMIT_001239901             SUMMIT_001254148            SUMMIT_001276033
SUMMIT_001240147             SUMMIT_001254288            SUMMIT_001276943
SUMMIT_001240269             SUMMIT_001254963            SUMMIT_001277347
SUMMIT_001240271             SUMMIT_001256072            SUMMIT_001277356
SUMMIT_001240280             SUMMIT_001256073            SUMMIT_001277372
SUMMIT_001240316             SUMMIT_001257933            SUMMIT_001277378
SUMMIT_001240486             SUMMIT_001258024            SUMMIT_001278733
SUMMIT_001240488             SUMMIT_001258110            SUMMIT_001278745
SUMMIT_001240498             SUMMIT_001260146            SUMMIT_001278944
SUMMIT_001240530             SUMMIT_001260357            SUMMIT_001263877
SUMMIT_001240532             SUMMIT_001260476            SUMMIT_001263948
SUMMIT_001240534             SUMMIT_001260477            SUMMIT_001265632
SUMMIT_001240550             SUMMIT_001260563            SUMMIT_001265738
SUMMIT_001240567             SUMMIT_001260974            SUMMIT_001360263
SUMMIT_001240584             SUMMIT_001261026            SUMMIT_001360525
SUMMIT_001240587             SUMMIT_001261481            SUMMIT_001289038
SUMMIT_001240591             SUMMIT_001262157            SUMMIT_001361203
SUMMIT_001240817             SUMMIT_001263444            SUMMIT_001361261
SUMMIT_001240819             SUMMIT_001268241            SUMMIT_001290251
SUMMIT_001240991             SUMMIT_001270003            SUMMIT_001290265
SUMMIT_001241033             SUMMIT_001270006            SUMMIT_001290516
SUMMIT_001241435             SUMMIT_001270738            SUMMIT_001290736
SUMMIT_001241535             SUMMIT_001270743            SUMMIT_001290740
SUMMIT_001241551             SUMMIT_001270748            SUMMIT_001291357
SUMMIT_001242280             SUMMIT_001270755            SUMMIT_001291423
SUMMIT_001242351             SUMMIT_001270975            SUMMIT_001291427
SUMMIT_001242406             SUMMIT_001271011            SUMMIT_001291431
SUMMIT_001242409             SUMMIT_001271042            SUMMIT_001291445

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SUMMIT_001291450             SUMMIT_001296636            SUMMIT_001299129
SUMMIT_001291455             SUMMIT_001296693            SUMMIT_001299139
SUMMIT_001361788             SUMMIT_001366037            SUMMIT_001367569
SUMMIT_001291714             SUMMIT_001366039            SUMMIT_001368183
SUMMIT_001291716             SUMMIT_001296845            SUMMIT_001368200
SUMMIT_001291856             SUMMIT_001296847            SUMMIT_001299456
SUMMIT_001291867             SUMMIT_001296876            SUMMIT_001368209
SUMMIT_001291900             SUMMIT_001297236            SUMMIT_001368221
SUMMIT_001291991             SUMMIT_001297238            SUMMIT_001299487
SUMMIT_001362206             SUMMIT_001297398            SUMMIT_001368224
SUMMIT_001362301             SUMMIT_001297525            SUMMIT_001299492
SUMMIT_001362313             SUMMIT_001297903            SUMMIT_001368372
SUMMIT_001362536             SUMMIT_001298219            SUMMIT_001299810
SUMMIT_001362606             SUMMIT_001298232            SUMMIT_001368648
SUMMIT_001362614             SUMMIT_001367177            SUMMIT_001299812
SUMMIT_001292542             SUMMIT_001367182            SUMMIT_001299845
SUMMIT_001292878             SUMMIT_001298349            SUMMIT_001299991
SUMMIT_001292879             SUMMIT_001298560            SUMMIT_001299995
SUMMIT_001292893             SUMMIT_001298582            SUMMIT_001368747
SUMMIT_001363763             SUMMIT_001298596            SUMMIT_001368756
SUMMIT_001293776             SUMMIT_001298601            SUMMIT_001368759
SUMMIT_001293817             SUMMIT_001298609            SUMMIT_001300028
SUMMIT_001293838             SUMMIT_001298620            SUMMIT_001300030
SUMMIT_001294025             SUMMIT_001298669            SUMMIT_001300403
SUMMIT_001295240             SUMMIT_001298749            SUMMIT_001300864
SUMMIT_001295465             SUMMIT_001298757            SUMMIT_001301008
SUMMIT_001364395             SUMMIT_001298776            SUMMIT_001370578
SUMMIT_001364398             SUMMIT_001298787            SUMMIT_001370581
SUMMIT_001295615             SUMMIT_001298796            SUMMIT_001370677
SUMMIT_001295622             SUMMIT_001298815            SUMMIT_001302023
SUMMIT_001295643             SUMMIT_001298824            SUMMIT_001370778
SUMMIT_001364827             SUMMIT_001298843            SUMMIT_001370788
SUMMIT_001364831             SUMMIT_001298854            SUMMIT_001371114
SUMMIT_001295647             SUMMIT_001298865            SUMMIT_001302332
SUMMIT_001364852             SUMMIT_001298881            SUMMIT_001371127
SUMMIT_001364891             SUMMIT_001298924            SUMMIT_001371138
SUMMIT_001364899             SUMMIT_001298932            SUMMIT_001371143
SUMMIT_001364908             SUMMIT_001298943            SUMMIT_001371800
SUMMIT_001364910             SUMMIT_001298955            SUMMIT_001371802
SUMMIT_001295773             SUMMIT_001298965            SUMMIT_001371924
SUMMIT_001364995             SUMMIT_001298974            SUMMIT_001371980
SUMMIT_001364998             SUMMIT_001298991            SUMMIT_001372418
SUMMIT_001295778             SUMMIT_001299009            SUMMIT_001303522
SUMMIT_001296566             SUMMIT_001299019            SUMMIT_001303665
SUMMIT_001296568             SUMMIT_001299033            SUMMIT_001372827
SUMMIT_001365957             SUMMIT_001299111            SUMMIT_001372836
SUMMIT_001365960             SUMMIT_001299119            SUMMIT_001372854

                                       35
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SUMMIT_001304137             SUMMIT_001378337            SUMMIT_001327379
SUMMIT_001304154             SUMMIT_001378339            SUMMIT_001393087
SUMMIT_001304290             SUMMIT_001310382            SUMMIT_001393097
SUMMIT_001373393             SUMMIT_001310731            SUMMIT_001393137
SUMMIT_001304719             SUMMIT_001311646            SUMMIT_001393293
SUMMIT_001304730             SUMMIT_001311658            SUMMIT_001394591
SUMMIT_001373572             SUMMIT_001311737            SUMMIT_001394594
SUMMIT_001373573             SUMMIT_001312213            SUMMIT_001395272
SUMMIT_001373575             SUMMIT_001312306            SUMMIT_001395277
SUMMIT_001305213             SUMMIT_001312360            SUMMIT_001395282
SUMMIT_001305740             SUMMIT_001312850            SUMMIT_001330898
SUMMIT_001306045             SUMMIT_001382188            SUMMIT_001395685
SUMMIT_001306124             SUMMIT_001382513            SUMMIT_001395839
SUMMIT_001374492             SUMMIT_001382792            SUMMIT_001396209
SUMMIT_001306889             SUMMIT_001314422            SUMMIT_001396222
SUMMIT_001374637             SUMMIT_001314688            SUMMIT_001396226
SUMMIT_001374698             SUMMIT_001383033            SUMMIT_001332203
SUMMIT_001374772             SUMMIT_001384021            SUMMIT_001332211
SUMMIT_001374843             SUMMIT_001384024            SUMMIT_001332430
SUMMIT_001307556             SUMMIT_001384074            SUMMIT_001396650
SUMMIT_001307561             SUMMIT_001316040            SUMMIT_001396708
SUMMIT_001375194             SUMMIT_001384118            SUMMIT_001332953
SUMMIT_001375208             SUMMIT_001385217            SUMMIT_001396984
SUMMIT_001307593             SUMMIT_001385226            SUMMIT_001397210
SUMMIT_001307696             SUMMIT_001317274            SUMMIT_001334491
SUMMIT_001375276             SUMMIT_001386609            SUMMIT_001398975
SUMMIT_001375281             SUMMIT_001319343            SUMMIT_001398977
SUMMIT_001308074             SUMMIT_001388318            SUMMIT_001399754
SUMMIT_001308081             SUMMIT_001321489            SUMMIT_001335048
SUMMIT_001375924             SUMMIT_001388321            SUMMIT_001335050
SUMMIT_001309191             SUMMIT_001321538            SUMMIT_001335054
SUMMIT_001377594             SUMMIT_001388514            SUMMIT_001335265
SUMMIT_001309852             SUMMIT_001388984            SUMMIT_001335269
SUMMIT_001377597             SUMMIT_001389253            SUMMIT_001335511
SUMMIT_001378069             SUMMIT_001323314            SUMMIT_001400176
SUMMIT_001310026             SUMMIT_001324211            SUMMIT_001400191
SUMMIT_001378107             SUMMIT_001390663            SUMMIT_001400259
SUMMIT_001310125             SUMMIT_001390734            SUMMIT_001400263
SUMMIT_001310168             SUMMIT_001390793            SUMMIT_001335877
SUMMIT_001310171             SUMMIT_001390796            SUMMIT_001335919
SUMMIT_001378118             SUMMIT_001324235            SUMMIT_001335925
SUMMIT_001378121             SUMMIT_001324374            SUMMIT_001335949
SUMMIT_001378124             SUMMIT_001324428            SUMMIT_001335953
SUMMIT_001378127             SUMMIT_001391046            SUMMIT_001336212
SUMMIT_001378130             SUMMIT_001326799            SUMMIT_001336334
SUMMIT_001310174             SUMMIT_001392233            SUMMIT_001336340
SUMMIT_001378336             SUMMIT_001327358            SUMMIT_001400887

                                       36
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SUMMIT_001400890             SUMMIT_001408974            SUMMIT_001343843
SUMMIT_001400907             SUMMIT_001409021            SUMMIT_001343917
SUMMIT_001400967             SUMMIT_001409732            SUMMIT_001344400
SUMMIT_001336398             SUMMIT_001409736            SUMMIT_001344463
SUMMIT_001336439             SUMMIT_001338644            SUMMIT_001344553
SUMMIT_001401983             SUMMIT_001411268            SUMMIT_001344616
SUMMIT_001401986             SUMMIT_001413773            SUMMIT_001344849
SUMMIT_001336884             SUMMIT_001414550            SUMMIT_001344851
SUMMIT_001337306             SUMMIT_001414973            SUMMIT_001344852
SUMMIT_001402994             SUMMIT_001415194            SUMMIT_001344891
SUMMIT_001403582             SUMMIT_001415196            SUMMIT_001344893
SUMMIT_001403873             SUMMIT_001339546            SUMMIT_001345178
SUMMIT_001403896             SUMMIT_001415386            SUMMIT_001345376
SUMMIT_001403923             SUMMIT_001415635            SUMMIT_001345480
SUMMIT_001403944             SUMMIT_001415780            SUMMIT_001345481
SUMMIT_001405445             SUMMIT_001340564            SUMMIT_001345711
SUMMIT_001405490             SUMMIT_001415800            SUMMIT_001345723
SUMMIT_001405900             SUMMIT_001415803            SUMMIT_001345785
SUMMIT_001405958             SUMMIT_001340875            SUMMIT_001345981
SUMMIT_001406112             SUMMIT_001341175            SUMMIT_001345982
SUMMIT_001406116             SUMMIT_001416013            SUMMIT_001346104
SUMMIT_001406130             SUMMIT_001416019            SUMMIT_001346116
SUMMIT_001406193             SUMMIT_001416022            SUMMIT_001346168
SUMMIT_001406209             SUMMIT_001416028            SUMMIT_001346175
SUMMIT_001406301             SUMMIT_001341193            SUMMIT_001346322
SUMMIT_001406310             SUMMIT_001341247            SUMMIT_001347431
SUMMIT_001406355             SUMMIT_001341606            SUMMIT_001347450
SUMMIT_001406687             SUMMIT_001341663            SUMMIT_001347454
SUMMIT_001406922             SUMMIT_001341738            SUMMIT_001347471
SUMMIT_001407089             SUMMIT_001341815            SUMMIT_001347942
SUMMIT_001407175             SUMMIT_001341879            SUMMIT_001347962
SUMMIT_001407230             SUMMIT_001342137            SUMMIT_001282500
SUMMIT_001407383             SUMMIT_001342169            SUMMIT_001282502
SUMMIT_001407389             SUMMIT_001342544            SUMMIT_001283039
SUMMIT_001407395             SUMMIT_001342770            SUMMIT_001283098
SUMMIT_001408032             SUMMIT_001342880            SUMMIT_001283166
SUMMIT_001408188             SUMMIT_001342883            SUMMIT_001283170
SUMMIT_001408302             SUMMIT_001342930            SUMMIT_001283290
SUMMIT_001408610             SUMMIT_001343284            SUMMIT_001284658
SUMMIT_001338426             SUMMIT_001343340            SUMMIT_001284830
SUMMIT_001408613             SUMMIT_001343437            SUMMIT_001285336
SUMMIT_001408733             SUMMIT_001343534            SUMMIT_001285339
SUMMIT_001408748             SUMMIT_001343537            SUMMIT_001285650
SUMMIT_001408788             SUMMIT_001343578            SUMMIT_001285968
SUMMIT_001408795             SUMMIT_001343659            SUMMIT_001286903
SUMMIT_001408802             SUMMIT_001343837            SUMMIT_001351581
SUMMIT_001408952             SUMMIT_001343842            SUMMIT_001351980

                                       37
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SUMMIT_001353051             SUMMIT_001355511            SUMMIT_001445129
SUMMIT_001354046             SUMMIT_001355593            SUMMIT_001445176
SUMMIT_001354047             SUMMIT_001355645            SUMMIT_001448527
SUMMIT_001354066             SUMMIT_001355658            SUMMIT_001448624
SUMMIT_001354081             SUMMIT_001355677            SUMMIT_001448629
SUMMIT_001354094             SUMMIT_001356531            SUMMIT_001448631
SUMMIT_001354095             SUMMIT_001356532            SUMMIT_001447369
SUMMIT_001354109             SUMMIT_001356603            SUMMIT_001447406
SUMMIT_001354110             SUMMIT_001356621            SUMMIT_001447426
SUMMIT_001354166             SUMMIT_001358389            SUMMIT_001447483
SUMMIT_001354423             SUMMIT_001358481            SUMMIT_001447519
SUMMIT_001354496             SUMMIT_001358924            SUMMIT_001447556
SUMMIT_001354525             SUMMIT_001441448            SUMMIT_001448247
SUMMIT_001354560             SUMMIT_001441531            SUMMIT_001451306
SUMMIT_001354581             SUMMIT_001442471            SUMMIT_001451323
SUMMIT_001354583             SUMMIT_001433204            SUMMIT_001505007
SUMMIT_001354602             SUMMIT_001433206            SUMMIT_001131320
SUMMIT_001354610             SUMMIT_001433393            SUMMIT_001131775
SUMMIT_001354612             SUMMIT_001434635            SUMMIT_000999890
SUMMIT_001354613             SUMMIT_001434636            SUMMIT_000999926
SUMMIT_001354694             SUMMIT_001422909            SUMMIT_000999929
SUMMIT_001354722             SUMMIT_001422924            SUMMIT_001000088
SUMMIT_001354723             SUMMIT_001424276            SUMMIT_001000094
SUMMIT_001354725             SUMMIT_001424319            SUMMIT_001000265
SUMMIT_001354727             SUMMIT_001424655            SUMMIT_001000268
SUMMIT_001354729             SUMMIT_001424678            SUMMIT_001000276
SUMMIT_001354731             SUMMIT_001431467            SUMMIT_001000279
SUMMIT_001354736             SUMMIT_001434943            SUMMIT_001000280
SUMMIT_001354737             SUMMIT_001435302            SUMMIT_001000468
SUMMIT_001354738             SUMMIT_001435307            SUMMIT_001000472
SUMMIT_001354739             SUMMIT_001435312            SUMMIT_001000473
SUMMIT_001354849             SUMMIT_001435317            SUMMIT_001000905
SUMMIT_001354855             SUMMIT_001435322            SUMMIT_001000906
SUMMIT_001354856             SUMMIT_001435329            SUMMIT_001001046
SUMMIT_001354857             SUMMIT_001436226            SUMMIT_001001179
SUMMIT_001354858             SUMMIT_001436227            SUMMIT_001001194
SUMMIT_001354859             SUMMIT_001436230            SUMMIT_001001218
SUMMIT_001354860             SUMMIT_001436231            SUMMIT_001001248
SUMMIT_001354861             SUMMIT_001436234            SUMMIT_001001428
SUMMIT_001354863             SUMMIT_001436238            SUMMIT_001001838
SUMMIT_001354864             SUMMIT_001436239            SUMMIT_001001874
SUMMIT_001354865             SUMMIT_001436242            SUMMIT_001002627
SUMMIT_001354866             SUMMIT_001436243            SUMMIT_001002631
SUMMIT_001354867             SUMMIT_001434780            SUMMIT_001002632
SUMMIT_001355017             SUMMIT_001434782            SUMMIT_001002641
SUMMIT_001355448             SUMMIT_001444094            SUMMIT_001003067
SUMMIT_001355507             SUMMIT_001444428            SUMMIT_001003070

                                       38
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SUMMIT_001004550             SUMMIT_000295685            SUMMIT_000300910
SUMMIT_001004746             SUMMIT_000295813            SUMMIT_000301218
SUMMIT_001005142             SUMMIT_000295833            SUMMIT_000301231
SUMMIT_001005249             SUMMIT_000295987            SUMMIT_000301367
SUMMIT_001006365             SUMMIT_000296022            SUMMIT_000301377
SUMMIT_001006655             SUMMIT_000296047            SUMMIT_000301383
SUMMIT_001006722             SUMMIT_000296324            SUMMIT_000301414
SUMMIT_001007593             SUMMIT_000296450            SUMMIT_000301473
SUMMIT_001007704             SUMMIT_000296478            SUMMIT_000301566
SUMMIT_001008052             SUMMIT_000296481            SUMMIT_000301740
SUMMIT_001129765             SUMMIT_000296485            SUMMIT_000301828
SUMMIT_001129776             SUMMIT_000296498            SUMMIT_000301970
AKRON_000004079              SUMMIT_000296518            SUMMIT_000302013
AKRON_000320163              SUMMIT_000296520            SUMMIT_000302015
SUMMIT_001012319             SUMMIT_000296545            SUMMIT_000302016
SUMMIT_000291927             SUMMIT_000296546            SUMMIT_000302606
SUMMIT_000291962             SUMMIT_000296547            SUMMIT_000303729
SUMMIT_000292057             SUMMIT_000296548            SUMMIT_000303733
SUMMIT_000292074             SUMMIT_000296549            SUMMIT_000303743
SUMMIT_000292116             SUMMIT_000296550            SUMMIT_000303882
SUMMIT_000292133             SUMMIT_000296551            SUMMIT_000303886
SUMMIT_000292331             SUMMIT_000296552            SUMMIT_000304498
SUMMIT_000292348             SUMMIT_000296553            SUMMIT_000304504
SUMMIT_000292361             SUMMIT_000296554            SUMMIT_000304509
SUMMIT_000292365             SUMMIT_000296555            SUMMIT_000304514
SUMMIT_000292392             SUMMIT_000296556            SUMMIT_000304523
SUMMIT_000292399             SUMMIT_000296557            SUMMIT_000304528
SUMMIT_000292410             SUMMIT_000296558            SUMMIT_000304533
SUMMIT_000294541             SUMMIT_000296560            SUMMIT_000304537
SUMMIT_000294603             SUMMIT_000296581            SUMMIT_000304541
SUMMIT_000294703             SUMMIT_000296590            SUMMIT_000308370
SUMMIT_000294790             SUMMIT_000296598            SUMMIT_000308378
SUMMIT_000294829             SUMMIT_000296751            SUMMIT_000308379
SUMMIT_000294870             SUMMIT_000296775            SUMMIT_000309399
SUMMIT_000294872             SUMMIT_000296784            SUMMIT_000309575
SUMMIT_000294905             SUMMIT_000296793            SUMMIT_000309595
SUMMIT_000294907             SUMMIT_000298595            SUMMIT_000309622
SUMMIT_000294931             SUMMIT_000298855            SUMMIT_000309828
SUMMIT_000294951             SUMMIT_000299506            SUMMIT_000310051
SUMMIT_000295633             SUMMIT_000299509            SUMMIT_000310078
SUMMIT_000295648             SUMMIT_000300267            SUMMIT_000310519
SUMMIT_000295652             SUMMIT_000300284            SUMMIT_000310613
SUMMIT_000295668             SUMMIT_000300673            SUMMIT_000310618
SUMMIT_000295669             SUMMIT_000300750            SUMMIT_000310968
SUMMIT_000295678             SUMMIT_000300755            SUMMIT_000311347
SUMMIT_000295681             SUMMIT_000300762            SUMMIT_000311363
SUMMIT_000295683             SUMMIT_000300878            SUMMIT_000311366

                                       39
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SUMMIT_000311451             SUMMIT_000322174            SUMMIT_000330545
SUMMIT_000311464             SUMMIT_000322486            SUMMIT_000330553
SUMMIT_000311466             SUMMIT_000322514            SUMMIT_000330958
SUMMIT_000311468             SUMMIT_000322556            SUMMIT_000330961
SUMMIT_000311534             SUMMIT_000322558            SUMMIT_000331309
SUMMIT_000311543             SUMMIT_000323211            SUMMIT_000331310
SUMMIT_000312155             SUMMIT_000323990            SUMMIT_000331908
SUMMIT_000312942             SUMMIT_000324097            SUMMIT_000331916
SUMMIT_000314981             SUMMIT_000324456            SUMMIT_000333124
SUMMIT_000315000             SUMMIT_000325425            SUMMIT_000333409
SUMMIT_000315275             SUMMIT_000325427            SUMMIT_000333655
SUMMIT_000315278             SUMMIT_000325429            SUMMIT_000333682
SUMMIT_000315318             SUMMIT_000325430            SUMMIT_000334163
SUMMIT_000315320             SUMMIT_000326966            SUMMIT_000334251
SUMMIT_000315966             SUMMIT_000326968            SUMMIT_000334304
SUMMIT_000316069             SUMMIT_000326970            SUMMIT_000334392
SUMMIT_000316229             SUMMIT_000326973            SUMMIT_000334435
SUMMIT_000316371             SUMMIT_000326976            SUMMIT_000334462
SUMMIT_000316624             SUMMIT_000326984            SUMMIT_000334487
SUMMIT_000316627             SUMMIT_000326986            SUMMIT_000334517
SUMMIT_000316652             SUMMIT_000326989            SUMMIT_000334527
SUMMIT_000316972             SUMMIT_000326991            SUMMIT_000337186
SUMMIT_000316981             SUMMIT_000326993            SUMMIT_000337387
SUMMIT_000316988             SUMMIT_000326995            SUMMIT_000337426
SUMMIT_000317047             SUMMIT_000327005            SUMMIT_000337491
SUMMIT_000317088             SUMMIT_000327066            SUMMIT_000339978
SUMMIT_000317293             SUMMIT_000327070            SUMMIT_000339984
SUMMIT_000317303             SUMMIT_000327172            SUMMIT_000340007
SUMMIT_000318176             SUMMIT_000327189            SUMMIT_001008150
SUMMIT_000318179             SUMMIT_000327198            SUMMIT_001008205
SUMMIT_000318182             SUMMIT_000327211            SUMMIT_001009418
SUMMIT_000318300             SUMMIT_000327213            SUMMIT_001009721
SUMMIT_000318304             SUMMIT_000327215            SUMMIT_001010007
SUMMIT_000320227             SUMMIT_000327221            SUMMIT_001010085
SUMMIT_000320235             SUMMIT_000327225            SUMMIT_001010424
SUMMIT_000320839             SUMMIT_000327234            SUMMIT_001010493
SUMMIT_000320910             SUMMIT_000327253            SUMMIT_001010835
SUMMIT_000321024             SUMMIT_000328512            SUMMIT_001010879
SUMMIT_000321136             SUMMIT_000328579            SUMMIT_001016306
SUMMIT_000321324             SUMMIT_000328706            SUMMIT_001016472
SUMMIT_000321351             SUMMIT_000328772            SUMMIT_001016561
SUMMIT_000321644             SUMMIT_000328797            SUMMIT_001016619
SUMMIT_000321736             SUMMIT_000329307            SUMMIT_001017850
SUMMIT_000321750             SUMMIT_000329317            SUMMIT_001017866
SUMMIT_000321837             SUMMIT_000330208            SUMMIT_001017988
SUMMIT_000321908             SUMMIT_000330406            SUMMIT_001017989
SUMMIT_000322171             SUMMIT_000330412            SUMMIT_001018618

                                       40
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SUMMIT_001019292             SUMMIT_001029033            SUMMIT_001039784
SUMMIT_001019366             SUMMIT_001029615            SUMMIT_001039894
SUMMIT_001019582             SUMMIT_001029619            SUMMIT_001040490
SUMMIT_001020168             SUMMIT_001029743            SUMMIT_001040628
SUMMIT_001022329             SUMMIT_001029928            SUMMIT_001041248
SUMMIT_001022335             SUMMIT_001029945            SUMMIT_001042045
SUMMIT_001022336             SUMMIT_001030115            SUMMIT_001042594
SUMMIT_001022350             SUMMIT_001030118            SUMMIT_001042669
SUMMIT_001022360             SUMMIT_001030121            SUMMIT_001043038
SUMMIT_001022362             SUMMIT_001031412            SUMMIT_001043374
SUMMIT_001022371             SUMMIT_001031415            SUMMIT_001043375
SUMMIT_001022373             SUMMIT_001031463            SUMMIT_001043428
SUMMIT_001022376             SUMMIT_001031465            SUMMIT_001043440
SUMMIT_001022408             SUMMIT_001032005            SUMMIT_001043484
SUMMIT_001022445             SUMMIT_001032007            SUMMIT_001043594
SUMMIT_001022448             SUMMIT_001033424            SUMMIT_001043596
SUMMIT_001022526             SUMMIT_001033428            SUMMIT_001043606
SUMMIT_001022530             SUMMIT_001033446            SUMMIT_001043609
SUMMIT_001022539             SUMMIT_001033515            SUMMIT_001043801
SUMMIT_001022544             SUMMIT_001033743            SUMMIT_001043884
SUMMIT_001022906             SUMMIT_001034760            SUMMIT_001044161
SUMMIT_001022921             SUMMIT_001034871            SUMMIT_001045319
SUMMIT_001023129             SUMMIT_001034874            SUMMIT_001045328
SUMMIT_001023131             SUMMIT_001035179            SUMMIT_001045346
SUMMIT_001023132             SUMMIT_001035181            SUMMIT_001045431
SUMMIT_001023134             SUMMIT_001035589            SUMMIT_001046405
SUMMIT_001023147             SUMMIT_001035599            SUMMIT_001046420
SUMMIT_001023148             SUMMIT_001035608            SUMMIT_001047643
SUMMIT_001023199             SUMMIT_001035627            SUMMIT_001047665
SUMMIT_001024744             SUMMIT_001035638            SUMMIT_001048478
SUMMIT_001025020             SUMMIT_001035690            SUMMIT_001048651
SUMMIT_001025028             SUMMIT_001035710            SUMMIT_001049006
SUMMIT_001025265             SUMMIT_001035719            SUMMIT_001049047
SUMMIT_001025563             SUMMIT_001035731            SUMMIT_001049062
SUMMIT_001025574             SUMMIT_001035740            SUMMIT_001049126
SUMMIT_001025578             SUMMIT_001036913            SUMMIT_001049160
SUMMIT_001026148             SUMMIT_001037262            SUMMIT_001049387
SUMMIT_001026354             SUMMIT_001037265            SUMMIT_001049459
SUMMIT_001026549             SUMMIT_001037536            SUMMIT_001050028
SUMMIT_001027354             SUMMIT_001037538            SUMMIT_001050062
SUMMIT_001027490             SUMMIT_001037822            SUMMIT_001050592
SUMMIT_001027944             SUMMIT_001037844            SUMMIT_001050979
SUMMIT_001028170             SUMMIT_001037936            SUMMIT_001051252
SUMMIT_001028308             SUMMIT_001038199            SUMMIT_001051590
SUMMIT_001028395             SUMMIT_001038258            SUMMIT_001052036
SUMMIT_001028913             SUMMIT_001038261            SUMMIT_001052039
SUMMIT_001028916             SUMMIT_001038632            SUMMIT_001052047

                                       41
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SUMMIT_001052050             SUMMIT_001060379            SUMMIT_001078622
SUMMIT_001052068             SUMMIT_001060402            SUMMIT_001078966
SUMMIT_001052083             SUMMIT_001060467            SUMMIT_001079237
SUMMIT_001052475             SUMMIT_001061048            SUMMIT_001080038
SUMMIT_001052482             SUMMIT_001061669            SUMMIT_001080432
SUMMIT_001052593             SUMMIT_001061670            SUMMIT_001080489
SUMMIT_001052596             SUMMIT_001062100            SUMMIT_001080596
SUMMIT_001052926             SUMMIT_001062227            SUMMIT_001080949
SUMMIT_001052958             SUMMIT_001064889            SUMMIT_001081914
SUMMIT_001053063             SUMMIT_001064892            SUMMIT_001081916
SUMMIT_001053663             SUMMIT_001064956            SUMMIT_001081917
SUMMIT_001053838             SUMMIT_001065010            SUMMIT_001083977
SUMMIT_001053841             SUMMIT_001065035            SUMMIT_001085401
SUMMIT_001054087             SUMMIT_001066001            SUMMIT_001085409
SUMMIT_001054091             SUMMIT_001066004            SUMMIT_001085413
SUMMIT_001054097             SUMMIT_001066061            SUMMIT_001085689
SUMMIT_001054100             SUMMIT_001067128            SUMMIT_001086250
SUMMIT_001054332             SUMMIT_001067364            SUMMIT_001086922
SUMMIT_001054354             SUMMIT_001067803            SUMMIT_001088673
SUMMIT_001054358             SUMMIT_001067856            SUMMIT_001089975
SUMMIT_001054363             SUMMIT_001067977            SUMMIT_001089977
SUMMIT_001054367             SUMMIT_001067978            SUMMIT_001089993
SUMMIT_001054370             SUMMIT_001067981            SUMMIT_001090150
SUMMIT_001054373             SUMMIT_001067982            SUMMIT_001090885
SUMMIT_001054383             SUMMIT_001067983            SUMMIT_001090888
SUMMIT_001054386             SUMMIT_001067985            SUMMIT_001091118
SUMMIT_001054389             SUMMIT_001067987            SUMMIT_001091120
SUMMIT_001054392             SUMMIT_001067989            SUMMIT_001091124
SUMMIT_001054417             SUMMIT_001067991            SUMMIT_001091240
SUMMIT_001054426             SUMMIT_001067993            SUMMIT_001091325
SUMMIT_001054470             SUMMIT_001067994            SUMMIT_001091329
SUMMIT_001054477             SUMMIT_001068019            SUMMIT_001091331
SUMMIT_001054481             SUMMIT_001069415            SUMMIT_001091333
SUMMIT_001054509             SUMMIT_001069418            SUMMIT_001091414
SUMMIT_001054519             SUMMIT_001070089            SUMMIT_001091439
SUMMIT_001055492             SUMMIT_001070916            SUMMIT_001091873
SUMMIT_001057475             SUMMIT_001070951            SUMMIT_001092313
SUMMIT_001058383             SUMMIT_001070953            SUMMIT_001092489
SUMMIT_001058384             SUMMIT_001071072            SUMMIT_001092862
SUMMIT_001058721             SUMMIT_001071099            SUMMIT_001092866
SUMMIT_001058725             SUMMIT_001075657            SUMMIT_001093043
SUMMIT_001058945             SUMMIT_001075689            SUMMIT_001093047
SUMMIT_001059558             SUMMIT_001076858            SUMMIT_001093314
SUMMIT_001059562             SUMMIT_001077899            SUMMIT_001093320
SUMMIT_001059564             SUMMIT_001077972            SUMMIT_001094185
SUMMIT_001059566             SUMMIT_001077979            SUMMIT_001094511
SUMMIT_001059569             SUMMIT_001078109            SUMMIT_001094579

                                       42
Case: 1:17-md-02804-DAP Doc #: 1031-13 Filed: 10/10/18 45 of 103. PageID #: 26058



SUMMIT_001094584             SUMMIT_001103952            SUMMIT_001112250
SUMMIT_001094588             SUMMIT_001104973            SUMMIT_001112289
SUMMIT_001094594             SUMMIT_001104983            SUMMIT_001112329
SUMMIT_001094600             SUMMIT_001106011            SUMMIT_001112333
SUMMIT_001094770             SUMMIT_001106506            SUMMIT_001113094
SUMMIT_001094815             SUMMIT_001106512            SUMMIT_001113095
SUMMIT_001094974             SUMMIT_001107837            SUMMIT_001113409
SUMMIT_001095307             SUMMIT_001107980            SUMMIT_001113536
SUMMIT_001095324             SUMMIT_001107987            SUMMIT_001114454
SUMMIT_001095809             SUMMIT_001107995            SUMMIT_001114686
SUMMIT_001095812             SUMMIT_001108180            SUMMIT_001114726
SUMMIT_001095856             SUMMIT_001108184            SUMMIT_001114761
SUMMIT_001096161             SUMMIT_001108328            SUMMIT_001114821
SUMMIT_001096313             SUMMIT_001108331            SUMMIT_001114827
SUMMIT_001096341             SUMMIT_001108335            SUMMIT_001114833
SUMMIT_001096379             SUMMIT_001108508            SUMMIT_001114893
SUMMIT_001096505             SUMMIT_001108509            SUMMIT_001114900
SUMMIT_001096735             SUMMIT_001108525            SUMMIT_001114957
SUMMIT_001097351             SUMMIT_001108686            SUMMIT_001115047
SUMMIT_001097492             SUMMIT_001108937            SUMMIT_001115262
SUMMIT_001098398             SUMMIT_001109383            SUMMIT_001115931
SUMMIT_001098741             SUMMIT_001109467            SUMMIT_001115951
SUMMIT_001098812             SUMMIT_001109486            SUMMIT_001115954
SUMMIT_001098887             SUMMIT_001109521            SUMMIT_001115961
SUMMIT_001099066             SUMMIT_001109638            SUMMIT_001115992
SUMMIT_001099840             SUMMIT_001109918            SUMMIT_001116599
SUMMIT_001100346             SUMMIT_001110055            SUMMIT_001116602
SUMMIT_001100590             SUMMIT_001110443            SUMMIT_001116799
SUMMIT_001100834             SUMMIT_001110445            SUMMIT_001116819
SUMMIT_001101234             SUMMIT_001110446            SUMMIT_001117155
SUMMIT_001101237             SUMMIT_001110448            SUMMIT_001117643
SUMMIT_001101394             SUMMIT_001110449            SUMMIT_001118207
SUMMIT_001101439             SUMMIT_001110693            SUMMIT_001118208
SUMMIT_001101562             SUMMIT_001110701            SUMMIT_001118209
SUMMIT_001101591             SUMMIT_001110705            SUMMIT_001118217
SUMMIT_001101820             SUMMIT_001110721            SUMMIT_001119548
SUMMIT_001102322             SUMMIT_001110725            SUMMIT_001119549
SUMMIT_001102677             SUMMIT_001110760            SUMMIT_001119550
SUMMIT_001102887             SUMMIT_001111050            SUMMIT_001122280
SUMMIT_001103089             SUMMIT_001111087            SUMMIT_001122417
SUMMIT_001103092             SUMMIT_001111090            SUMMIT_001122698
SUMMIT_001103111             SUMMIT_001111182            SUMMIT_001122874
SUMMIT_001103307             SUMMIT_001111770            SUMMIT_001122889
SUMMIT_001103360             SUMMIT_001111777            SUMMIT_001122891
SUMMIT_001103367             SUMMIT_001112049            SUMMIT_001122895
SUMMIT_001103531             SUMMIT_001112051            SUMMIT_001123352
SUMMIT_001103785             SUMMIT_001112248            SUMMIT_001123353

                                       43
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SUMMIT_001123356                 SUMMIT_000983453                  SUMMIT_000341153
SUMMIT_001123725                 SUMMIT_000983856                  SUMMIT_000341159
SUMMIT_001123726                 SUMMIT_000985457                  SUMMIT_000341165
SUMMIT_001123761                 SUMMIT_000985475                  SUMMIT_000341176
SUMMIT_001123762                 SUMMIT_000993534                  SUMMIT_000341180
SUMMIT_001124364                 SUMMIT_000999500                  SUMMIT_000341182
SUMMIT_001124459                 SUMMIT_001011218                  SUMMIT_000341184
SUMMIT_001125232                 SUMMIT_001011219                  SUMMIT_000341209
SUMMIT_001125313                 SUMMIT_001012689                  SUMMIT_000341225
SUMMIT_001125338                 SUMMIT_001014261                  SUMMIT_000341228
SUMMIT_001125924                 SUMMIT_001014289                  SUMMIT_000341238
SUMMIT_001125943                 SUMMIT_001014299                  SUMMIT_000341244
SUMMIT_001125945                 SUMMIT_001014300                  SUMMIT_000341253
SUMMIT_001125954                 SUMMIT_001014326                  SUMMIT_000341264
SUMMIT_001126222                 SUMMIT_001014328                  SUMMIT_000341269
SUMMIT_001127810                 SUMMIT_001014365                  SUMMIT_000341355
AKRON_000320575                  SUMMIT_001014383                  SUMMIT_000341448
AKRON_000319989                  SUMMIT_001014428                  SUMMIT_000341489
AKRON_000319991                  SUMMIT_001014458                  SUMMIT_000341594
SUMMIT_000972172                 SUMMIT_001014530                  SUMMIT_000341647
SUMMIT_000972540                 SUMMIT_001014544                  SUMMIT_000341675
SUMMIT_000973553                 SUMMIT_001014902                  SUMMIT_000341720
SUMMIT_000973830                 SUMMIT_001014915                  SUMMIT_000341895
SUMMIT_000973890                 SUMMIT_001015082                  SUMMIT_000341993
SUMMIT_000975760                 SUMMIT_001015095                  SUMMIT_000342004
SUMMIT_000977576                 SUMMIT_001015306                  SUMMIT_000342016
SUMMIT_000977587                 SUMMIT_001015307                  SUMMIT_000342025
SUMMIT_000978390                 SUMMIT_001015435                  SUMMIT_000342039
SUMMIT_000978400                 SUMMIT_000341050                  SUMMIT_000342040
SUMMIT_000979171                 SUMMIT_000341056                  SUMMIT_000342119
SUMMIT_000979432                 SUMMIT_000341092                  SUMMIT_000342120
SUMMIT_000980298                 SUMMIT_000341100                  SUMMIT_000342126
SUMMIT_000980909                 SUMMIT_000341108                  SUMMIT_000342237
SUMMIT_000982135                 SUMMIT_000341117                  SUMMIT_001128137
SUMMIT_000982629                 SUMMIT_000341123                  SUMMIT_001128223
SUMMIT_000983305                 SUMMIT_000341128
SUMMIT_000983360                 SUMMIT_000341133

       Plaintiff reserves the right to supplement, amend, or modify this response as discovery

proceeds.

Interrogatory 6

       Identify each person employed by or associated with You, or whom You compensated,

who possessed an account with OARRS, otherwise had access to information on OARRS, during

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the Relevant Time Period. This includes, but is not limited to, all OARRS Supervisors and

OARRS Officers for each of Your agencies that had access to OARRS. For each such person,

state when access was first obtained and, if applicable, discontinued.

Response 6

        Plaintiff objects to this Interrogatory as to the vast over breadth of “each person employed

by or associated with You,” or “whom You compensated,” “who possessed an account with

OARRS,” “who otherwise had access to information on OARRS,” when obtained and when/if

discontinued. Plaintiff objects to this Interrogatory in that it places an undue burden on Plaintiff

not proportional to the needs of the case. Plaintiff further objects in that the requested information

is in the possession of a third party or third parties.

        Subject to and without waiving all objections, Plaintiff responds upon information and

belief that individuals who have access to OARRS within Summit County and the City of Akron

include, but are not limited to, Dr. Lisa Kohler, Dr. Doug Smith, Steve Perch, PhD, Todd Barr,

Lori Stella-Baker, George Sterbenz, Robert Velten, Matt Paolino and Patrick Leonard. Plaintiff

incorporates by reference its answer and objections to Interrogatory No. 5. Plaintiff reserves the

right to supplement, amend, or modify this response as discovery proceeds.

Interrogatory 7

        Identify all Suspicious Orders for Prescription Opioids shipped by any National Retail

Pharmacy Defendant in Your geographic area during the Relevant Time Period, including for each

the name and location of the pharmacy that placed the order, the distributor to whom it was placed,

the respective dates that it was placed and shipped, the manufacturer, name and amount of the

medication that was ordered and shipped, and the reason(s) why the order was suspicious.




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Response 7

       Plaintiff objects to the over breadth of this Interrogatory. Plaintiff objects that this

Interrogatory is vague as to “Suspicious Orders.” Plaintiff further objects to this request in that it

calls for information in the possession or control of the National Retail Pharmacy Defendants, the

Distributor Defendants and the Manufacturer Defendants and more readily and efficiently

available to Defendants from their own business records or third-party sources than available to

Plaintiff, and thus places an undue burden on Plaintiff.

       Subject to and without waiving all objections, Plaintiff responds that this Interrogatory is

contention discovery more appropriately answered once discovery is complete. See Fed. R. Civ.

P. 33(a)(2) In addition, discovery is ongoing and this information will be the subject of fully-

supported and detailed expert witness opinion(s) that will be disclosed in accordance with the

scheduling orders in this case and the Federal Rules of Civil Procedure.

       Subject to and without waiving all objections, Plaintiff further responds as follows: the

Controlled Substances Act (“CSA”) requires manufacturers and distributors of Schedule II

substances like opioids to: (a) limit sales within a quota set by the DEA for the overall production

of Schedule II substances like opioids; (b) register to manufacture or distribute opioids; (c)

maintain effective controls against diversion of the controlled substances that they manufacture or

distribute; and (d) design and operate a system to identify suspicious orders of controlled

substances, halt such unlawful sales, and report them to the DEA.

       Defendants have several responsibilities under state and federal law with respect to control

of the supply chain of opioids. The DEA provides a series of guidelines on Suspicious Orders

Reporting (“SOR”), contained in the Chemical Handlers Manual, that “are intended to assist

chemical manufacturers, distributors, wholesalers and retailers to be alert to suspicious orders

involving listed chemicals,” which include opioids. “The guidelines are intended to apply to all

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aspects of commercial chemical manufacturing and distribution.” Defendants must set up a system

to prevent diversion, including excessive volume and other suspicious orders. This includes

reviewing Defendants’ own data, relying on their observations of prescribers and pharmacies, and

following up on reports or concerns of potential diversion. All suspicious orders must be reported

by Defendants to relevant enforcement authorities. Further, distributors must also stop shipment

of any order which is flagged as suspicious and only ship orders which were flagged as potentially

suspicious if, after conducting due diligence, they can determine that the order is not likely to be

diverted into illegal channels.

       To ensure that even drugs produced within quota are not diverted, federal regulations

issued under the CSA mandate that all registrants, manufacturers, and distributors alike, “design

and operate a system to disclose to the registrant suspicious orders of controlled substances.” 21

C.F.R. § 1301.74(b). Registrants are not entitled to be passive (but profitable) observers, but rather

“shall inform the Field Division Office of the Administration in his area of suspicious orders when

discovered by the registrant.” Id. Suspicious orders include orders of unusual size, orders

deviating substantially from a normal pattern, and orders of unusual frequency. Id. Other red flags

may include, for example, “[o]rdering the same controlled substance from multiple distributors.”

Id.

       These criteria are disjunctive and are not all inclusive. For example, if an order deviates

substantially from a normal pattern, the size of the order does not matter and the order should be

reported as suspicious. Likewise, a distributor or manufacturer need not wait for a normal pattern

to develop over time before determining whether a particular order is suspicious. The size of an

order alone, regardless of whether it deviates from a normal pattern, is enough to trigger the

responsibility to report the order as suspicious. The determination of whether an order is

suspicious depends not only on the ordering patterns of the particular customer but also on the

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patterns of the entirety of the customer base and the patterns throughout the relevant segment of

the industry. For this reason, identification of suspicious orders serves also to identify excessive

volume of the controlled substance being shipped to a particular region.

       Despite Defendants’ obligations to monitor, report, and promote control of suspicious

orders, the ARCOS database identifies these pharmacies within Summit County, Ohio3:

         PHARMACY/BUYER NAME                     CITY/STATE
         Dr. A. J. GINGO                         AKRON, OH
         THE FRED W ALBRECHT
                                                 STOW, OH
         GROCERY CO
         RITZMAN PHARMACY #107                   AKRON, OH
         SUMMIT PAIN SPECIALISTS
                                                 STOW, OH
         PHARMACY
         RITZMAN PHARMACY #106                   NORTON, OH
         THE FRED W ALBRECHT
                                                 AKRON, OH
         GROCERY
         SKILLED CARE PHARMACY-
                                                 TWINSBURG, OH
         CLEV
         WALGREEN CO. #03572                     CUYAHOGA FALLS, OH
         RITZMAN PHARMACY #101                   AKRON, OH
         OHIO CVS STORES, L.L.C.                 AKRON, OH
         ACME PHARMACY #11                       TALLMADGE, OH
         WALGREEN CO.                            AKRON, OH
         MARC GLASSMAN INC                       AKRON, OH
         RITE AID OF OHIO, INC.                  BARBERTON, OH
         TARGET STORES A DIV. OF
                                                 AKRON, OH
         TARGET CORP.
         KLEIN’S PHARMACY                        CUYAHOGA FALLS, OH
         GIANT EAGLE PHARMACY
                                                 CUYAHOGA FALLS, OH
         #4036
         CHILDRENS HOSPITAL MED
                                                 AKRON, OH
         CTR
         FRED W ALBRECHT GROCERY
                                                 AKRON, OH
         CO
         CVS PHARMACY #04800                     AKRON, OH
         GLASSMAN INC                            SAGAMORE HILLS, OH

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 This does not account for the flood of opioids from surrounding counties and states; Plaintiff
expressly reserves its right to amend, modify, replace or supplement on this point and answer with
expert reports.

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        RITE AID OF OHIO, INC.          AKRON, OH
        RITE AID OF OHIO, INC.          TALLMADGE, OH
        SUMMA HEALTH SYSTEM             AKRON, OH
        GIANT EAGLE PHARMACY
                                        CUYAHOGA FALLS, OH
        #5878
        THE FRED W ALBRECHT
                                        AKRON, OH
        GROCERY
        AKRON PHARMACY                  AKRON, OH
        GIANT EAGLE PHARMACY
                                        NORTHFIELD, OH
        #6299
        KLEIN’S COMMUNITY
                                        AKRON, OH
        HEALTH
        MARCS CHAPEL HILL INC           CUYAHOGA FALLS, OH
        ACME PHARMACY #30               STOW, OH
        TARGET STORES A DIV.OF
                                        FAIRLAWN, OH
        TARGET CORP.
        KMART PHARMACY #7383            BARBERTON, OH
        THE FRED W ALBRECHT GROC
                                        NORTON, OH
        CO
        NEW CHOICE PHARMACY #2          CUYAHOGA FALLS, OH
        RITZMAN PHARMACY #105           AKRON, OH
        THE FRED W ALBRECHT
                                        HUDSON, OH
        GROCERY
        RITE AID OF OHIO, INC.          FAIRLAWN, OH
        THE FRED W ALBRECHT
                                        STOW, OH
        GROCERY
        RITE AID OF OHIO, INC.          AKRON, OH
        THE FRED W ALBRECHT
                                        CUYAHOGA FALLS, OH
        GROCERY
        GIANT EAGLE PHARMACY
                                        BARBERTON, OH
        #4031
        GIANT EAGLE PHARMACY
                                        TALLMADGE, OH
        #4030
        RITE AID OF OHIO, INC. #3151    AKRON, OH
        COLONIAL PHARMACY               BATH, OH
        MARC                            AKRON, OH
        NEW CHOICE PHARMACY #1          CUYAHOGA FALLS, OH
        VA OUTPATIENT CLINIC            AKRON, OH
        RITE AID OF OHIO, INC.          AKRON, OH
        GIANT EAGLE PHARMACY
                                        AKRON, OH
        #4124
        GIANT EAGLE PHARMACY
                                        AKRON, OH
        #4029


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       Further, Plaintiff identifies the following pharmacies as having the largest shipments of

opioids:

           PHARMACY NAME                                     ADDRESS
                                               KLEIN BARRY E
                                               2015 STATE RD
  KLEIN’S PHARMACY                             CUYAHOGA FALLS, OH 44223
  THE FRED W ALBRECHT GROCERY                  4302 ALLEN RD SUITE #110
  CO                                           STOW, OH 44224
                                               1900 23RD STREET
  NEW CHOICE PHARMACY                          CUYAHOGA FALLS, OH 44223
                                               325 EAST WATERLOO ROAD
  RITE AID OF OHIO, INC.                       AKRON, OH 44319
                                               1323 COPLEY RD
  RITZMAN PHARMACY #101                        AKRON, OH 44320
                                               590 EAST MARKET STREET
  OHIO CVS STORES, L.L.C.                      AKRON, OH 44304
  SUMMIT PAIN SPECIALISTS                      4302 ALLEN RD SUITE 300
  PHARMACY                                     STOW, OH 44224
                                               41 5TH STREET SE
  GIANT EAGLE PHARMACY #4031                   BARBERTON, OH 44203
                                               2645 STATE RD
  WALGREEN CO.                                 CUYAHOGA FALLS, OH 44223
                                               302 CANTON ROAD
  WALGREEN CO.                                 AKRON, OH 44312
                                               DBA ACME PHARMACY #18
                                               2147 EAST AVENUE
  THE FRED W ALBRECHT GROCERY                  AKRON, OH 44314
                                               1130 S. ARLINGTON ST
  WALGREEN CO.                                 AKRON, OH 44306
                                               3352 KENT ROAD
  OHIO CVS STORES, L.L.C.                      STOW, OH 44224
                                               900 WOOSTER RD NORTH
  WALGREEN CO.                                 BARBERTON, OH 44203
                                               1540 CANTON ROAD
  RITE AID OF OHIO, INC.                       AKRON, OH 44312
                                               786 W MARKET ST
  HIGHLAND SQUARE PHCY                         AKRON, OH 44303
                                               1225 CANTON RD
  OHIO CVS STORES, L.L.C.                      AKRON, OH 44312
                                               1303 COPLEY ROAD
  WALGREEN CO.                                 AKRON, OH 44320



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                                        157 WEST CEDAR STREET
  RITZMAN PHARMACY #107                 AKRON, OH 44307
                                        1900 23RD STREET
  NEW CHOICE PHARMACY                   CUYAHOGA FALLS, OH 44223
                                        1047 KENMORE BOULEVARD
  RITE AID OF OHIO, INC.                AKRON, OH 44314
                                        484 EAST WATERLOO RD
  GIANT EAGLE PHARMACY #4124            AKRON, OH 44319
                                        830 BRITTAIN RD
  WALGREEN CO.                          AKRON, OH 44305
                                        235 EAST CUYAHOGA FALLS AVE
  OHIO CVS STORES, L.L.C.               AKRON, OH 44310
                                        4195 S. CLEVELAND-MASSILLON ROAD
  OHIO CVS STORES, L.L.C.               NORTON, OH 44203
                                        834 W. MARKET STREET
  WALGREEN CO.                          AKRON, OH 44303
                                        3009 W. MARKET ST.
  WALGREEN CO.                          FAIRLAWN, OH 44333
                                        390 ROBINSON AVENUE, SUITE A
  RITZMAN PHARMACY #102                 BARBERTON, OH 44203
                                        DBA ACME PHARMACY #14
                                        3235 MANCHESTER RD
  FRED W ALBRECHT GROCERY CO            AKRON, OH 44319
                                        2091 EASTWOOD AVENUE
  OHIO CVS STORES, L.L.C.               AKRON, OH 44305
                                        780 BRITTAIN ROAD
  OHIO CVS STORES, L.L.C.               AKRON, OH 44305
                                        1711 STATE RD
  OHIO CVS STORES, L.L.C.               CUYAHOGA FALLS, OH 44223
                                        426 ROBINSON AVE.
  OHIO CVS STORES, L.L.C.               BARBERTON, OH 44203
                                        2975 WEST MARKET STREET
  RITE AID OF OHIO, INC.                FAIRLAWN, OH 44333
                                        1949 WEST MARKET STREET
  OHIO CVS STORES, L.L.C.               AKRON, OH 44313
                                        1760 GOODYEAR BLVD
  RALEY DRUG STORE, INC                 AKRON, OH 44305
                                        1925 W. MARKET ST.
  WALGREEN CO.                          AKRON, OH 44313
                                        10380 NORTHFIELD ROAD
  OHIO CVS STORES, L.L.C.               NORTHFIELD, OH 44067
                                        655 PORTAGE TRAIL
  DISCOUNT DRUG MART #33                CUYAHOGA FALLS, OH 44221

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                                                2801 EAST WATERLOO ROAD
  GIANT EAGLE PHARMACY #4029                    AKRON, OH 44312
                                                205 WEST AVE
  GIANT EAGLE PHARMACY #4030                    TALLMADGE, OH 44278
                                                9043 DARROW RD
  WALGREEN CO.                                  TWINSBURG, OH 44087
                                                4053 SOUTH MAIN STREET
  RITE AID OF OHIO, INC.                        AKRON, OH 44319
                                                1403 WOOSTER ROAD WEST
  RITE AID OF OHIO, INC.                        BARBERTON, OH 44203
                                                941 WEST NIMISILA RD
  COPE PHARMACY INC                             AKRON, OH 44319
                                                2086 GRAHAM RD.
  WALGREEN CO.                                  STOW, OH 44224
                                                DBA ACME PHARMACY #2
                                                2420 WEDGEWOOD DRIVE
  THE FRED W ALBRECHT GROCERY                   AKRON, OH 44312
                                                45 EAST AVENUE
  RITE AID OF OHIO, INC.                        TALLMADGE, OH 44278
                                                DBA: ACME PHARMACY 6
                                                3200 GREENWICH ROAD
  THE FRED W ALBRECHT GROC CO                   NORTON, OH 44203
                                                1260 INDEPENDENCE AVE
  HEALTHSPAN INTEGRATED CARE                    AKRON, OH 44310

       Subject to and without waiving all objections, Plaintiff identifies the following documents

that may contain information responsive to this Interrogatory pursuant to Federal Rule of Civil

Procedure 33(d):

SUMMIT_000030960                  PLTF_2804_000000789                 SUMMIT_000230473
SUMMIT_000030965                  SUMMIT_000043110                    SUMMIT_000243935
SUMMIT_000017088                  SUMMIT_000082706                    SUMMIT_000265802
SUMMIT_000017089                  SUMMIT_000083246                    SUMMIT_000289577
SUMMIT_000017090                  SUMMIT_000083959                    SUMMIT_000289799
SUMMIT_000017107                  SUMMIT_000083975                    SUMMIT_000311454
SUMMIT_000017130                  SUMMIT_000085139                    SUMMIT_000327201
SUMMIT_000017131                  SUMMIT_000085344                    SUMMIT_000328822
PLTF_2804_000001983               SUMMIT_000105180                    SUMMIT_000330261
PLTF_2804_000002477               SUMMIT_000105464                    AKRON_000206791
PLTF_2804_000002688               SUMMIT_000105908                    SUMMIT_000820659
PLTF_2804_000000689               SUMMIT_000127035                    SUMMIT_000820664
PLTF_2804_000000732               SUMMIT_000127649                    SUMMIT_000820693
PLTF_2804_000000775               SUMMIT_000148446                    SUMMIT_000820936

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SUMMIT_000822287                   SUMMIT_000929881                   SUMMIT_001192679
SUMMIT_000822377                   SUMMIT_000930965                   SUMMIT_001212421
SUMMIT_000823054                   SUMMIT_000930970                   SUMMIT_001218406
SUMMIT_000823598                   SUMMIT_000931870                   SUMMIT_001219346
SUMMIT_000823619                   SUMMIT_000932352                   SUMMIT_001219657
SUMMIT_000824191                   SUMMIT_000932492                   SUMMIT_001228020
SUMMIT_000824376                   SUMMIT_000936411                   AKRON_000323962
SUMMIT_000824386                   SUMMIT_000937747                   SUMMIT_001260146
SUMMIT_000824482                   SUMMIT_000937749                   SUMMIT_001266117
SUMMIT_000824517                   SUMMIT_000937751                   SUMMIT_001283213
SUMMIT_000824550                   SUMMIT_000937768                   SUMMIT_001284658
SUMMIT_000824553                   SUMMIT_000937923                   SUMMIT_001285496
SUMMIT_000824669                   SUMMIT_000938139                   SUMMIT_001289922
SUMMIT_000824670                   SUMMIT_000938141                   SUMMIT_001343340
SUMMIT_000825363                   SUMMIT_000938147                   SUMMIT_001343578
SUMMIT_000825365                   SUMMIT_000945127                   SUMMIT_001346116
SUMMIT_000826292                   AKRON_000271486                    SUMMIT_001354423
SUMMIT_000826389                   AKRON_000244968                    SUMMIT_001354694
SUMMIT_000826390                   SUMMIT_001001784                   SUMMIT_001355035
SUMMIT_000826728                   SUMMIT_001021669                   SUMMIT_001355749
SUMMIT_000827156                   SUMMIT_001052962                   SUMMIT_001361120
SUMMIT_000827476                   SUMMIT_001106127                   SUMMIT_001361122
SUMMIT_000827719                   SUMMIT_001109516                   SUMMIT_001409620
SUMMIT_000827736                   SUMMIT_001109521                   SUMMIT_001410732
SUMMIT_000837505                   SUMMIT_001116786                   SUMMIT_001414985
SUMMIT_000838107                   SUMMIT_001118217                   AKRON_000361950
SUMMIT_000838945                   AKRON_000319739                    SUMMIT_000356152
SUMMIT_000841324                   SUMMIT_001160929                   AKRON_000368517
SUMMIT_000841462                   SUMMIT_001161138                   AKRON_000368534
SUMMIT_000842195                   SUMMIT_001161168                   AKRON_000369130
SUMMIT_000842236                   SUMMIT_001190918                   AKRON_000369165
SUMMIT_000843927                   SUMMIT_001191264                   AKRON_000369340
SUMMIT_000844121                   SUMMIT_001191320                   AKRON_000369860
SUMMIT_000854171                   SUMMIT_001191352                   AKRON_000370214
SUMMIT_000880281                   SUMMIT_001191415                   AKRON_000370388
SUMMIT_000919544                   SUMMIT_001191436                   SUMMIT_001451127
SUMMIT_000923037                   SUMMIT_001192033                   SUMMIT_001460442
SUMMIT_000929754                   SUMMIT_001192341
SUMMIT_000929799                   SUMMIT_001192418

       As noted, discovery is ongoing and information responsive to this Interrogatory will be the

subject of fully-supported and detailed expert witness opinion(s) that will be disclosed in

accordance with the scheduling orders in this case and the Federal Rules of Civil Procedure.

Plaintiff reserves the right to supplement, amend, or modify this response as discovery proceeds.

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Interrogatory 8

       Identify the “national comparative benchmarks and indefensible outliers” related to the

Track One cases referred to in Paul Farrell’s June 13, 2018 email to Mark Lynch.

Response 8

       Plaintiff objects to this Interrogatory as vague and ambiguous in seeking a definition of

what legal counsel meant. Plaintiff further objects on the basis of relevance and its attempt to

place a burden of response on Plaintiff not proportional to the needs of the case. Plaintiff also

objects to this Interrogatory in that it calls for speculation into counsel’s thoughts, mental

impressions, and/or work product. Plaintiff objects in that the information requested is not in its

possession, custody, or control.

       Subject to and without waving all objections, Plaintiff responds that it does not have Mr.

Farrell’s email, which speaks for itself.

Interrogatory 9

       Identify all physicians and any other health care providers who prescribed Prescription

Opioids during the Relevant Time Period and who, at the time, were employed by You or practiced

at facilities owned, operated, supported, or affiliated with You, including any public health care

systems or facilities. For each individual, identify her or his place(s) of work and title(s) during

the Relevant Time Period.

Response 9

       Plaintiff objects to this Interrogatory as overly broad and unduly burdensome in seeking

identifies of “all physicians and any other health care providers who prescribed Prescription

Opioids” who were “employed by” or “practicing at facilities owned, operated, supported or

affiliated” with Summit County or the City of Akron, “including any public health care system or

facilities” along with “his or her place of work.” Specifically, this Interrogatory is overbroad as

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to “affiliated” or “supported” as vague and ambiguous terms subject to varying interpretation.

Plaintiff objects to this request in that it calls for information in the National Retail Pharmacy

Defendants’ possession, custody, or control. The requested information is more readily available

to Defendants from their own business dealings or third-party sources.

       Subject to and without waving all objections, Plaintiff responds that they are public entities

and not in the business of owning or operating health care systems or prescribing drugs. Plaintiff

reserves the right to supplement, amend, or modify this response as discovery proceeds.

Interrogatory 10

       Identify all pharmacies that, during the Relevant Time Period, were owned, operated,

supported, or affiliated with You, including through any public health care systems or facilities,

and all pharmacists and pharmacy technicians who were employed by, compensated by, or

otherwise worked in those pharmacies during the Relevant Time Period. For each individual,

identify her or his place(s) of work and title(s) during the Relevant Time Period.

Response 10

       Plaintiff objects to this Interrogatory as vague, ambiguous, overly broad, and unduly

burdensome. Plaintiff objects to this Interrogatory as to the use of the phrase “all pharmacies and

pharmacy technicians who were employed by, compensated by, or otherwise worked in those

pharmacies,” including their title(s) and place(s) of work. Plaintiffs objects to this request in that

it calls for information in the National Retail Pharmacy Defendants’ own possession or control.

The requested information is more readily available to Defendants from their own business

dealings or third-party sources than to the City of Akron or County of Summit.

       Subject to and without waving all objections, Plaintiff responds they are not in the

pharmacy business; they are public entities. In addition, discovery is ongoing and this information

will be the subject of fully-supported and detailed expert witness opinion(s) that will be disclosed

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in accordance with the scheduling orders in this case and the Federal Rules of Civil Procedure.

Plaintiff incorporates its answer and objections to Interrogatory No. 9 here.

Interrogatory 11

       Identify each instance in which a person identified in response to Interrogatory Nos. 9 and

10 was involved in the diversion of Prescription Opioids during the Relevant Time Period—

including without limitation the improper prescribing or filling of Prescription Opioids or the

submission to a distributor of a Suspicious Order. For each instance, identify the person, the nature

of her or his involvement in the diversion, and the date of the diversion.

Response 11

       Plaintiff objects to this Interrogatory as vague and ambiguous to the extent the term

“involved in” is undefined and for the reasons and objections stated in Interrogatories Nos. 9 and

10, incorporated herein by reference. Plaintiff’s investigation of its damages caused by the

Defendants is ongoing and this information will be the subject of fully-supported and detailed

expert witness opinion(s) that will be disclosed in accordance with the scheduling orders in this

case and the Federal Rules of Civil Procedure. Plaintiff reserves the right to supplement, amend,

or modify this response as discovery proceeds.

Interrogatory 12

       Identify all communications during the Relevant Time Period between any of the

individuals identified in response to Interrogatory Nos 9 and 10 and any National Retail Pharmacy

Defendant, or anyone who You maintain was acting on behalf of or in concert with any National

Retail Pharmacy Defendant, including the date of the communication, the substance of the

communication, and the parties to the communication.




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Response 12

        Plaintiff objects to this Interrogatory as overly broad and unduly burdensome. Plaintiff

also objects to this Interrogatory as vague and ambiguous as to the phrase “acting on behalf or in

concert with” as subject to differing interpretations. Plaintiff further objects to this request in that

it calls for information uniquely in the National Retail Pharmacy Defendants’ possession or

control. Plaintiff also objects to this request in that it calls for information uniquely in the

Distributor Defendants’ possession or control. The requested information is therefore more readily

available to Defendants, from their own business dealings or from third-party sources.

        Subject to and without waiving all objections, Plaintiff responds that this Interrogatory is

contention discovery more appropriately answered once discovery is complete. See Fed. R. Civ.

P. 33(a)(2) In addition, discovery is ongoing and this information will be the subject of fully-

supported and detailed expert witness opinion(s) that will be disclosed in accordance with the

scheduling orders in this case and the Federal Rules of Civil Procedure.

        Subject to and without waiving all objections, Plaintiff responds that discovery is ongoing

and Plaintiff is producing or has produced responsive documents if any such files exist. Plaintiff

reserves the right to supplement, modify, or amend this response as discovery proceeds.

Interrogatory 13

        Identify any fees, reimbursements, honoraria, gifts or other items of value received in the

Relevant Time Period by any individual identified in response to Interrogatory Nos 9 and 10 from

any Defendant named in Your Second Amended Complaint or from anyone who You maintain

was acting on behalf of or in concert with any Defendant named in Your Second Amended

Complaint.




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Response 13

       Plaintiff objects to this Interrogatory as overly broad in seeking “any fees, reimbursements,

honoraria, gifts or other items of value received.” Plaintiff also objects to this Interrogatory as

unduly burdensome and overly broad in that it calls for Plaintiff to identify the specific conduct of

each Defendant. Plaintiffs further objects to this request in that it calls for information in the

National Retail Pharmacy Defendants’ possession or control, and the requested information is

therefore more readily available to Defendants from their own business dealings or third-party

sources.

       Subject to and without waiving any objections, Plaintiff responds that this Interrogatory is

contention discovery more appropriately answered once discovery is complete. See Fed. R. Civ.

P. 33(a)(2). In addition, discovery is ongoing and this information will be the subject of fully-

supported and detailed expert witness opinion(s) that will be disclosed in accordance with the

scheduling orders in this case and the Federal Rules of Civil Procedure. As discovery continues,

Plaintiff will produce a trial witness list and expert reports pursuant to the scheduling orders in this

case. Plaintiff reserves the right to supplement, modify, or amend this response as discovery

proceeds.

Interrogatory 14

       Identify the individuals referenced anonymously in Your Second Amended Complaint as

sources of information, including the name, address, and profession of each source.

Response 14

       Plaintiff objects to the term “individuals referenced anonymously” and “sources of

information” as vague and ambiguous and subject to varying interpretations. Plaintiff further

objects to the extent it cannot determine which portions of the Second Amended Complaint are



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being referred. Plaintiff also objects to the extent this Interrogatory is seeking attorney-client or

work product privileged information.

       Subject to and without waving all objections, Plaintiff refers Defendants to paragraph 658

of the Second Amended Complaint: “On information and belief, because of (among other sources

of information) regulatory and other actions taken against the National Retail Pharmacies directly,

actions taken against others pertaining to prescription opioids obtained from their retail stores,

complaints and information from employees and other agents, and the massive volume of opioid

prescription drug sale data that they developed and monitored, the National Retail Pharmacies

were well aware that their distribution and dispensing activities fell far short of legal

requirements.” (See “Corrected Second Amended Complaint and Jury Demand” filed on May 25,

2018 in the U.S. District Court for the Northern District of Ohio, Eastern Division). In addition,

discovery is ongoing and this information will be the subject of fully-supported and detailed expert

witness opinion(s) that will be disclosed in accordance with the scheduling orders in this case and

the Federal Rules of Civil Procedure.

       Subject to and without waiving all objections, Plaintiff identifies Joseph T. Rannazzisis,

Deputy Assistant Administrator, Office of Diversion Control, Drug Enforcement Agency, U.S.

Department of Justice. Plaintiff reserves the right to supplement, modify, or amend this response

as discovery proceeds.

Interrogatory 15

       Identify each instance during the Relevant Time Period in which You or anyone acting on

Your behalf, including but not limited to Your health care and law enforcement agencies,

communicated with any pharmacy in Your geographic area about Prescription Opioids. This

includes without limitation each instance You or anyone acting on Your behalf notified any

pharmacy in Your geographic area that You suspected or believed Prescription Opioids were being

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diverted from it. For each such communication, identify the pharmacy with which You had the

communication, the substance of the communication, the date of the communication, and the

persons who were party to it.

Response 15

       Plaintiff objects to this Interrogatory as vague, ambiguous, overly broad, and unduly

burdensome as to “identify each instance,” “including but not limited to,” “health care and law

enforcement agencies,” “anyone,” “communicated with any pharmacy” regarding prescription

opioids. Plaintiff further objects to this Interrogatory as to the vast over breadth of “including but

not limited to,” “communicated with any pharmacy,” and “without limitation.” Plaintiff also

objects to this Interrogatory as overly broad and burdensome as propounded, and in that it calls for

Plaintiff to identify the specific conduct of each Defendant.       Such a request creates a burden

beyond what is appropriate and proportional to the needs of the case.

        Subject to and without waiving all objections, Plaintiff responds that it believes responsive

materials, if they exist, are included in the documents Plaintiff has already produced, or will

produce, in this litigation. Plaintiff further responds that this Interrogatory is contention discovery

more appropriately answered once discovery is complete. See Fed. R. Civ. P. 33(a)(2). In addition,

discovery is ongoing and this information will be the subject of fully-supported and detailed expert

witness opinion(s) that will be disclosed in accordance with the scheduling orders in this case and

the Federal Rules of Civil Procedure. As discovery continues, Plaintiff will produce a trial witness

list and expert reports pursuant to the scheduling orders in this case. Plaintiff reserves the right to

supplement, modify, or amend this response as discovery proceeds.

Interrogatory 16

       Identify each instance during the Relevant Time Period in which You or anyone acting on

Your behalf, including but not limited to Your health care and the law enforcement agencies,

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communicated with any distributor of Prescription Opioids about Prescription Opioids. This

includes without limitation each instance You or anyone acting on Your behalf notified any such

distributor that You suspected or believed that Prescription Opioids shipped by the distributor were

being diverted in Your geographic area. For each such communication, identify the distributor

with which You had the communication, the substance of the communication, the date of the

communication, and the persons who were party to it.

Response 16

        Plaintiff objects to this Interrogatory as vague and ambiguous as to “health care and law

enforcement agencies.” Plaintiff further objects to this Interrogatory as overbroad by asking

Plaintiff to identify “each instance” anyone notified the distributor, “communicated with any

distributor,” “including but not limited to,” and “without limitation.” Plaintiff objects to this

Interrogatory as overly broad as propounded, and in that it calls for Plaintiff to identify the specific

conduct of each Defendant. Plaintiff further objects to this request in that it calls for information

in the possession or control of Defendants. The requested information is therefore more readily

available to Defendants from their own business dealings or third-party sources than available to

Plaintiff; and demanding Plaintiff somehow divines this defies the requirements of Fed. R. Civ. P.

26. Plaintiff objects that the language “the persons who were party to” each communication is

overly broad.

        Subject to and without waiving all objections, Plaintiff responds that it believes responsive

materials, if they exist, are included in the documents Plaintiff has already produced, or will

produce, in this litigation. See Federal Rule of Civil Procedure 33(d). Plaintiff responds that this

Interrogatory is contention discovery more appropriately answered once discovery is complete.

See Fed. R. Civ. P. 33(a)(2). In addition, discovery is ongoing and this information will be the

subject of fully-supported and detailed expert witness opinion(s) that will be disclosed in

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accordance with the scheduling orders in this case and the Federal Rules of Civil Procedure.

Plaintiff reserves the right to supplement, modify, or amend this response as discovery proceeds.

Interrogatory 17

       Identify all persons (other than Your attorneys in this action) from whom You have

obtained information about alleged diversion in Your geographic area by a National Retail

Pharmacy Defendant during the Relevant Time Period. Describe the information that each person

possesses and identify the National Retail Pharmacy Defendant to which it pertains.

Response 17

       Plaintiff objects to this Interrogatory as overly broad, vague, and ambiguous as to the term

“obtained information.”      Plaintiff further objects to this Interrogatory as overly broad as

propounded, and in that it calls for Plaintiff to identify the specific conduct of each Defendant

(“identify the National Retail Pharmacy Defendant to which it pertains”). Plaintiff objects to the

extent this Interrogatory seeks attorney-client or work product privileged information. Plaintiff

also objects to the extent that the information requested is not in its possession, custody, or control.

       Subject to and without waiving all objections, Plaintiff responds that it has received

ARCOS information from the DEA, and that responsive documents, if they exist, are included in

the documents Plaintiff has already produced, or will produce, in this litigation. Plaintiff responds

that this Interrogatory is contention discovery more appropriately answered once discovery is

complete. See Fed. R. Civ. P. 33(a)(2). In addition, discovery is ongoing and this information will

be the subject of fully-supported and detailed expert witness opinion(s) that will be disclosed in

accordance with the scheduling orders in this case and the Federal Rules of Civil Procedure.

       Subject to and without waiving all objections, Plaintiff identifies Joseph T. Rannazzisis,

Deputy Assistant Administrator, Office of Diversion Control, Drug Enforcement Agency, U.S.



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Department of Justice. Plaintiff also identifies the following documents containing information

responsive to this Interrogatory pursuant to Federal Rule of Civil Procedure 33(d):

SUMMIT_000017088                   SUMMIT_000824482                   SUMMIT_000938139
SUMMIT_000017089                   SUMMIT_000824517                   SUMMIT_000938141
SUMMIT_000017090                   SUMMIT_000824550                   SUMMIT_000938147
SUMMIT_000017107                   SUMMIT_000824553                   SUMMIT_000945127
SUMMIT_000017130                   SUMMIT_000824669                   SUMMIT_001001784
SUMMIT_000017131                   SUMMIT_000824670                   SUMMIT_001021669
SUMMIT_000030960                   SUMMIT_000825363                   SUMMIT_001052962
SUMMIT_000030965                   SUMMIT_000825365                   SUMMIT_001106127
SUMMIT_000043110                   SUMMIT_000826292                   SUMMIT_001109516
SUMMIT_000082706                   SUMMIT_000826389                   SUMMIT_001109521
SUMMIT_000083246                   SUMMIT_000826390                   SUMMIT_001116786
SUMMIT_000083959                   SUMMIT_000826728                   SUMMIT_001118217
SUMMIT_000083975                   SUMMIT_000827156                   SUMMIT_001160929
SUMMIT_000085139                   SUMMIT_000827476                   SUMMIT_001161138
SUMMIT_000085344                   SUMMIT_000827719                   SUMMIT_001161168
SUMMIT_000105180                   SUMMIT_000827736                   SUMMIT_001190918
SUMMIT_000105464                   SUMMIT_000837505                   SUMMIT_001191264
SUMMIT_000105908                   SUMMIT_000838107                   SUMMIT_001191320
SUMMIT_000127035                   SUMMIT_000838945                   SUMMIT_001191352
SUMMIT_000127649                   SUMMIT_000841324                   SUMMIT_001191415
SUMMIT_000148446                   SUMMIT_000841462                   SUMMIT_001191436
SUMMIT_000230473                   SUMMIT_000842195                   SUMMIT_001192033
SUMMIT_000243935                   SUMMIT_000842236                   SUMMIT_001192341
SUMMIT_000265802                   SUMMIT_000843927                   SUMMIT_001192418
SUMMIT_000289577                   SUMMIT_000844121                   SUMMIT_001192679
SUMMIT_000289799                   SUMMIT_000854171                   SUMMIT_001212421
SUMMIT_000311454                   SUMMIT_000880281                   SUMMIT_001218406
SUMMIT_000327201                   SUMMIT_000919544                   SUMMIT_001219346
SUMMIT_000328822                   SUMMIT_000923037                   SUMMIT_001219657
SUMMIT_000330261                   SUMMIT_000929754                   SUMMIT_001228020
SUMMIT_000356152                   SUMMIT_000929799                   SUMMIT_001260146
SUMMIT_000820659                   SUMMIT_000929881                   SUMMIT_001266117
SUMMIT_000820664                   SUMMIT_000930965                   SUMMIT_001283213
SUMMIT_000820693                   SUMMIT_000930970                   SUMMIT_001284658
SUMMIT_000820936                   SUMMIT_000931870                   SUMMIT_001285496
SUMMIT_000822287                   SUMMIT_000932352                   SUMMIT_001289922
SUMMIT_000822377                   SUMMIT_000932492                   SUMMIT_001343340
SUMMIT_000823054                   SUMMIT_000936411                   SUMMIT_001343578
SUMMIT_000823598                   SUMMIT_000937747                   SUMMIT_001346116
SUMMIT_000823619                   SUMMIT_000937749                   SUMMIT_001354423
SUMMIT_000824191                   SUMMIT_000937751                   SUMMIT_001354694
SUMMIT_000824376                   SUMMIT_000937768                   SUMMIT_001355035
SUMMIT_000824386                   SUMMIT_000937923                   SUMMIT_001355749

                                               63
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SUMMIT_001361120                    AKRON_000206791                      AKRON_000368534
SUMMIT_001361122                    AKRON_000244968                      AKRON_000369130
SUMMIT_001409620                    AKRON_000271486                      AKRON_000369165
SUMMIT_001410732                    AKRON_000319739                      AKRON_000369340
SUMMIT_001414985                    AKRON_000323962                      AKRON_000369860
SUMMIT_001451127                    AKRON_000361950                      AKRON_000370214
SUMMIT_001460442                    AKRON_000368517                      AKRON_000370388

       Plaintiff reserves the right to supplement, modify, or amend this response as discovery

proceeds.

Interrogatory 18

       Identify each employee, contractor or other person to whom You provided compensation

during the Relevant Time Period (other than Your attorneys in this action) who worked on

addressing, or who provided information to You about, the problems You experienced or expenses

You incurred from the diversion of Prescription Opioids.

Response 18

       Plaintiff objects to the vast over breadth of this Interrogatory. Plaintiff further objects to

this Interrogatory as overly broad, vague, and ambiguous as to “each employee, contractor or other

person,” who “provided compensation,” or “worked on addressing,” “the problems.” These terms

are subject to such widely varying interpretations that they make this Interrogatory so broad it is

largely incomprehensible as drafted. Plaintiff objects to this request in that it calls for information

in the public record and or in the National Retail Pharmacy Defendants’ possession, custody, or

control. The requested information is therefore as easily available to Defendants from their own

business dealings or third-party sources on the impact of their business.

       Subject to and without waving all objections, Plaintiff responds that organizational charts

have been produced by Plaintiff in this litigation and persons with knowledge have been identified.

Plaintiff identifies the following individuals responsive to this Interrogatory: Lori Stella-Baker,

Patrick Leonard and certain members of the Opiate Task Force.

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       Plaintiff identifies the following documents containing information responsive to this

Interrogatory pursuant to Federal Rule of Civil Procedure 33(d):

SUMMIT_000000207                  SUMMIT_000026692                 SUMMIT_000019580
SUMMIT_000001329                  SUMMIT_000027075                 SUMMIT_000019668
SUMMIT_000001461                  SUMMIT_000031180                 SUMMIT_000013416
SUMMIT_000001728                  AKRON_000003688                  SUMMIT_000014151
SUMMIT_000002310                  SUMMIT_000023268                 SUMMIT_000014772
SUMMIT_000002922                  SUMMIT_000023439                 SUMMIT_000015385
AKRON_000000003                   SUMMIT_000023910                 SUMMIT_000015990
AKRON_000000576                   SUMMIT_000023927                 SCGHD_000000900
AKRON_000001104                   SUMMIT_000023928                 SCGHD_000001063
AKRON_000001620                   SUMMIT_000024153                 SCGHD_000001068
AKRON_000002119                   SUMMIT_000024194                 SCGHD_000001077
AKRON_000002874                   SUMMIT_000024200                 PLTF_2804_000001472
AKRON_000003228                   SUMMIT_000024207                 PLTF_2804_000001707
AKRON_000003559                   SUMMIT_000024208                 PLTF_2804_000002019
SUMMIT_000003958                  SUMMIT_000024214                 PLTF_2804_000002594
SUMMIT_000004014                  SUMMIT_000024523                 PLTF_2804_000002688
SUMMIT_000004070                  SUMMIT_000024580                 PLTF_2804_000000093
SUMMIT_000004182                  SUMMIT_000024604                 PLTF_2804_000000228
SUMMIT_000004234                  SUMMIT_000024608                 PLTF_2804_000000604
SUMMIT_000004286                  SUMMIT_000024709                 SUMMIT_000036553
SUMMIT_000004345                  SUMMIT_000024711                 SUMMIT_000037079
SUMMIT_000004346                  SUMMIT_000024712                 SUMMIT_000038167
SUMMIT_000004347                  SUMMIT_000024713                 SUMMIT_000038170
SUMMIT_000004348                  SUMMIT_000024738                 SUMMIT_000038171
SUMMIT_000004349                  SUMMIT_000024741                 SUMMIT_000038290
SUMMIT_000004350                  SUMMIT_000024742                 SUMMIT_000039786
SUMMIT_000004351                  SUMMIT_000024792                 SUMMIT_000042884
SUMMIT_000004352                  SUMMIT_000024874                 SUMMIT_000045830
SUMMIT_000004353                  SUMMIT_000024888                 SUMMIT_000046309
SUMMIT_000004576                  SUMMIT_000024918                 SUMMIT_000046407
SUMMIT_000005545                  SUMMIT_000024926                 SUMMIT_000046427
SUMMIT_000005697                  SUMMIT_000024937                 SUMMIT_000046536
SUMMIT_000006502                  SUMMIT_000024938                 SUMMIT_000047435
SUMMIT_000006663                  SUMMIT_000024939                 SUMMIT_000064691
SUMMIT_000007551                  SUMMIT_000024978                 SUMMIT_000066757
SUMMIT_000008414                  SUMMIT_000017479                 SUMMIT_000066885
SUMMIT_000009343                  SUMMIT_000017510                 SUMMIT_000070607
SUMMIT_000009487                  SUMMIT_000017817                 SUMMIT_000071434
SUMMIT_000009742                  SUMMIT_000018772                 SUMMIT_000071983
SUMMIT_000010324                  SUMMIT_000018935                 SUMMIT_000072615
SUMMIT_000010936                  SUMMIT_000018940                 SUMMIT_000072619
SUMMIT_000011824                  SUMMIT_000018949                 SUMMIT_000072683
SUMMIT_000026545                  SUMMIT_000019490                 SUMMIT_000075055

                                               65
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SUMMIT_000075299             SUMMIT_000102692            SUMMIT_000123285
SUMMIT_000078467             SUMMIT_000102814            SUMMIT_000123294
SUMMIT_000078553             SUMMIT_000102817            SUMMIT_000123443
SUMMIT_000078616             SUMMIT_000102818            SUMMIT_000124404
SUMMIT_000078669             SUMMIT_000105113            SUMMIT_000124994
SUMMIT_000078828             SUMMIT_000105180            SUMMIT_000125410
SUMMIT_000078946             SUMMIT_000105908            SUMMIT_000125523
SUMMIT_000078962             SUMMIT_000107718            SUMMIT_000125711
SUMMIT_000079020             SUMMIT_000107723            SUMMIT_000125994
SUMMIT_000079068             SUMMIT_000107728            SUMMIT_000126398
SUMMIT_000080044             SUMMIT_000107738            SUMMIT_000127066
SUMMIT_000080224             SUMMIT_000107773            SUMMIT_000127078
SUMMIT_000080444             SUMMIT_000107779            SUMMIT_000127130
SUMMIT_000081235             SUMMIT_000107780            SUMMIT_000127649
SUMMIT_000081498             SUMMIT_000107789            SUMMIT_000127706
SUMMIT_000082079             SUMMIT_000107861            SUMMIT_000127730
SUMMIT_000082468             SUMMIT_000107911            SUMMIT_000128101
SUMMIT_000082472             SUMMIT_000108042            SUMMIT_000129588
SUMMIT_000082525             SUMMIT_000108190            SUMMIT_000130007
SUMMIT_000082612             SUMMIT_000108415            SUMMIT_000130200
SUMMIT_000082794             SUMMIT_000108494            SUMMIT_000130250
SUMMIT_000082864             SUMMIT_000108498            SUMMIT_000130633
SUMMIT_000082867             SUMMIT_000108502            SUMMIT_000131233
SUMMIT_000082876             SUMMIT_000108541            SUMMIT_000131729
SUMMIT_000082884             SUMMIT_000108630            SUMMIT_000131746
SUMMIT_000082893             SUMMIT_000108822            SUMMIT_000132138
SUMMIT_000082926             SUMMIT_000108869            SUMMIT_000132264
SUMMIT_000083498             SUMMIT_000108948            SUMMIT_000133134
SUMMIT_000083745             SUMMIT_000109078            SUMMIT_000133172
SUMMIT_000083749             SUMMIT_000109149            SUMMIT_000133341
SUMMIT_000083810             SUMMIT_000109167            SUMMIT_000133379
SUMMIT_000083924             SUMMIT_000109168            SUMMIT_000133548
SUMMIT_000083938             SUMMIT_000109172            SUMMIT_000133586
SUMMIT_000088323             SUMMIT_000109173            SUMMIT_000133822
SUMMIT_000089238             SUMMIT_000109225            SUMMIT_000133901
SUMMIT_000091114             SUMMIT_000109400            SUMMIT_000134114
SUMMIT_000091280             SUMMIT_000109522            SUMMIT_000134125
SUMMIT_000093053             SUMMIT_000109525            SUMMIT_000134144
SUMMIT_000093731             SUMMIT_000111297            SUMMIT_000135380
SUMMIT_000094110             SUMMIT_000111332            SUMMIT_000136797
SUMMIT_000097484             SUMMIT_000111417            SUMMIT_000137422
SUMMIT_000098346             SUMMIT_000111475            SUMMIT_000137497
SUMMIT_000098788             SUMMIT_000121402            SUMMIT_000138188
SUMMIT_000099179             SUMMIT_000121523            SUMMIT_000138300
SUMMIT_000101744             SUMMIT_000121629            SUMMIT_000139588
SUMMIT_000102626             SUMMIT_000123172            SUMMIT_000140208
SUMMIT_000102684             SUMMIT_000123280            SUMMIT_000140216

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SUMMIT_000141482             SUMMIT_000179677            SUMMIT_000227535
SUMMIT_000141671             SUMMIT_000179751            SUMMIT_000227550
SUMMIT_000141788             SUMMIT_000180374            SUMMIT_000227630
SUMMIT_000141816             SUMMIT_000182192            SUMMIT_000227644
SUMMIT_000142359             SUMMIT_000182523            SUMMIT_000227779
SUMMIT_000142678             SUMMIT_000182564            SUMMIT_000227788
SUMMIT_000145362             SUMMIT_000182566            SUMMIT_000227955
SUMMIT_000145988             SUMMIT_000189606            SUMMIT_000227967
SUMMIT_000146222             SUMMIT_000191985            SUMMIT_000228035
SUMMIT_000146280             SUMMIT_000198066            SUMMIT_000228047
SUMMIT_000146522             SUMMIT_000199769            SUMMIT_000228397
SUMMIT_000147628             SUMMIT_000199950            SUMMIT_000228407
SUMMIT_000148289             SUMMIT_000199954            SUMMIT_000228781
SUMMIT_000148831             SUMMIT_000200554            SUMMIT_000228788
SUMMIT_000149322             SUMMIT_000200994            SUMMIT_000228795
SUMMIT_000149468             SUMMIT_000210357            SUMMIT_000228802
SUMMIT_000150756             SUMMIT_000112433            SUMMIT_000228809
SUMMIT_000153241             SUMMIT_000114282            SUMMIT_000228816
SUMMIT_000153645             SUMMIT_000114284            SUMMIT_000228860
SUMMIT_000153693             SUMMIT_000114288            SUMMIT_000228867
SUMMIT_000154088             SUMMIT_000114432            SUMMIT_000228874
SUMMIT_000154873             SUMMIT_000114692            SUMMIT_000228885
SUMMIT_000155007             SUMMIT_000116446            SUMMIT_000228892
SUMMIT_000155678             SUMMIT_000116511            SUMMIT_000228909
SUMMIT_000155882             SUMMIT_000120752            SUMMIT_000228916
SUMMIT_000155968             SUMMIT_000224592            SUMMIT_000229043
SUMMIT_000156068             SUMMIT_000224904            SUMMIT_000229050
SUMMIT_000156244             SUMMIT_000224927            SUMMIT_000229057
SUMMIT_000160771             SUMMIT_000225023            SUMMIT_000229085
SUMMIT_000165293             SUMMIT_000225312            SUMMIT_000229092
SUMMIT_000165317             SUMMIT_000225490            SUMMIT_000229215
SUMMIT_000165456             SUMMIT_000225619            SUMMIT_000229222
SUMMIT_000165548             SUMMIT_000225909            SUMMIT_000229446
SUMMIT_000165839             SUMMIT_000226224            SUMMIT_000229603
SUMMIT_000170880             SUMMIT_000226325            SUMMIT_000229671
SUMMIT_000170888             SUMMIT_000226414            SUMMIT_000229681
SUMMIT_000171036             SUMMIT_000226623            SUMMIT_000229725
SUMMIT_000174075             SUMMIT_000226738            SUMMIT_000229964
SUMMIT_000174687             SUMMIT_000226827            SUMMIT_000229975
SUMMIT_000175635             SUMMIT_000226879            SUMMIT_000229994
SUMMIT_000175735             SUMMIT_000226930            SUMMIT_000230004
SUMMIT_000177600             SUMMIT_000226941            SUMMIT_000230127
SUMMIT_000177660             SUMMIT_000227071            SUMMIT_000230301
SUMMIT_000177879             SUMMIT_000227083            SUMMIT_000230492
SUMMIT_000178847             SUMMIT_000227117            SUMMIT_000230558
SUMMIT_000179351             SUMMIT_000227129            SUMMIT_000230802
SUMMIT_000179660             SUMMIT_000227347            SUMMIT_000231181

                                       67
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SUMMIT_000231831             SUMMIT_000239252            SUMMIT_000247847
SUMMIT_000232594             SUMMIT_000239273            SUMMIT_000247859
SUMMIT_000232672             SUMMIT_000239304            SUMMIT_000247871
SUMMIT_000232878             SUMMIT_000239540            SUMMIT_000248130
SUMMIT_000232936             SUMMIT_000239552            SUMMIT_000248141
SUMMIT_000233076             SUMMIT_000239753            SUMMIT_000248153
SUMMIT_000233410             SUMMIT_000240497            SUMMIT_000248234
SUMMIT_000233455             SUMMIT_000240836            SUMMIT_000248244
SUMMIT_000233980             SUMMIT_000241193            SUMMIT_000248281
SUMMIT_000234238             SUMMIT_000241431            SUMMIT_000249051
SUMMIT_000234693             SUMMIT_000241978            SUMMIT_000249750
SUMMIT_000234807             SUMMIT_000242096            SUMMIT_000249776
SUMMIT_000235024             SUMMIT_000242175            SUMMIT_000249805
SUMMIT_000235084             SUMMIT_000242383            SUMMIT_000250130
SUMMIT_000235371             SUMMIT_000242408            SUMMIT_000250207
SUMMIT_000235429             SUMMIT_000242624            SUMMIT_000250278
SUMMIT_000235488             SUMMIT_000243299            SUMMIT_000250339
SUMMIT_000235559             SUMMIT_000243639            SUMMIT_000250607
SUMMIT_000235629             SUMMIT_000244663            SUMMIT_000250617
SUMMIT_000235716             SUMMIT_000244823            SUMMIT_000250685
SUMMIT_000235745             SUMMIT_000245028            SUMMIT_000250728
SUMMIT_000235856             SUMMIT_000245149            SUMMIT_000250807
SUMMIT_000236371             SUMMIT_000245304            SUMMIT_000250927
SUMMIT_000236380             SUMMIT_000245416            SUMMIT_000251021
SUMMIT_000236429             SUMMIT_000245449            SUMMIT_000251036
SUMMIT_000236439             SUMMIT_000245470            SUMMIT_000251290
SUMMIT_000236605             SUMMIT_000245505            SUMMIT_000251322
SUMMIT_000236628             SUMMIT_000245517            SUMMIT_000251669
SUMMIT_000236729             SUMMIT_000245848            SUMMIT_000251679
SUMMIT_000236740             SUMMIT_000245987            SUMMIT_000251693
SUMMIT_000236827             SUMMIT_000246257            SUMMIT_000251740
SUMMIT_000236835             SUMMIT_000246331            SUMMIT_000251810
SUMMIT_000236843             SUMMIT_000246813            SUMMIT_000251820
SUMMIT_000236852             SUMMIT_000246836            SUMMIT_000251888
SUMMIT_000236922             SUMMIT_000246890            SUMMIT_000251897
SUMMIT_000236929             SUMMIT_000246925            SUMMIT_000252021
SUMMIT_000236936             SUMMIT_000247451            SUMMIT_000252030
SUMMIT_000237382             SUMMIT_000247483            SUMMIT_000252049
SUMMIT_000237708             SUMMIT_000247494            SUMMIT_000252101
SUMMIT_000237921             SUMMIT_000247511            SUMMIT_000252566
SUMMIT_000238400             SUMMIT_000247522            SUMMIT_000252569
SUMMIT_000238490             SUMMIT_000247550            SUMMIT_000252959
SUMMIT_000238753             SUMMIT_000247613            SUMMIT_000253067
SUMMIT_000238793             SUMMIT_000247624            SUMMIT_000253077
SUMMIT_000238815             SUMMIT_000247729            SUMMIT_000253112
SUMMIT_000238854             SUMMIT_000247746            SUMMIT_000253139
SUMMIT_000239241             SUMMIT_000247793            SUMMIT_000253149

                                       68
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SUMMIT_000253165             SUMMIT_000267546            SUMMIT_000284373
SUMMIT_000253176             SUMMIT_000268619            SUMMIT_000284381
SUMMIT_000253228             SUMMIT_000270582            SUMMIT_000284776
SUMMIT_000253237             SUMMIT_000273380            SUMMIT_000285129
SUMMIT_000253264             SUMMIT_000273516            SUMMIT_000285775
SUMMIT_000253274             SUMMIT_000273524            SUMMIT_000285783
SUMMIT_000253446             SUMMIT_000274446            SUMMIT_000289300
SUMMIT_000253706             SUMMIT_000274454            SUMMIT_000289320
SUMMIT_000254063             SUMMIT_000274602            SUMMIT_000289330
SUMMIT_000254243             SUMMIT_000275184            SUMMIT_000289577
SUMMIT_000254264             SUMMIT_000275192            SUMMIT_000290153
SUMMIT_000254455             SUMMIT_000275340            SUMMIT_000290594
SUMMIT_000254579             SUMMIT_000275428            SUMMIT_000290595
SUMMIT_000254597             SUMMIT_000275436            SUMMIT_000291006
SUMMIT_000254721             SUMMIT_000275584            SUMMIT_000291012
SUMMIT_000255560             SUMMIT_000275917            SUMMIT_000291013
SUMMIT_000255667             SUMMIT_000276162            SUMMIT_000291536
SUMMIT_000255771             SUMMIT_000278634            SUMMIT_000291840
SUMMIT_000256283             SUMMIT_000278647            SUMMIT_000294611
SUMMIT_000257855             SUMMIT_000278659            SUMMIT_000295155
SUMMIT_000257909             SUMMIT_000278672            SUMMIT_000295290
SUMMIT_000258259             SUMMIT_000279107            SUMMIT_000296417
SUMMIT_000259199             SUMMIT_000279432            SUMMIT_000297181
SUMMIT_000259282             SUMMIT_000280217            SUMMIT_000297329
SUMMIT_000260262             SUMMIT_000280307            SUMMIT_000298168
SUMMIT_000260283             SUMMIT_000280381            SUMMIT_000299225
SUMMIT_000260379             SUMMIT_000280468            SUMMIT_000299576
SUMMIT_000260654             SUMMIT_000280567            SUMMIT_000300064
SUMMIT_000260810             SUMMIT_000281045            SUMMIT_000300361
SUMMIT_000262310             SUMMIT_000281607            SUMMIT_000300451
SUMMIT_000263175             SUMMIT_000282124            SUMMIT_000300460
SUMMIT_000263828             SUMMIT_000282290            SUMMIT_000300465
SUMMIT_000264282             SUMMIT_000282444            SUMMIT_000300478
SUMMIT_000264884             SUMMIT_000282804            SUMMIT_000300488
SUMMIT_000264917             SUMMIT_000283139            SUMMIT_000300519
SUMMIT_000264954             SUMMIT_000283590            SUMMIT_000300534
SUMMIT_000264961             SUMMIT_000283602            SUMMIT_000300575
SUMMIT_000265175             SUMMIT_000283624            SUMMIT_000300661
SUMMIT_000265565             SUMMIT_000283796            SUMMIT_000300777
SUMMIT_000265567             SUMMIT_000283805            SUMMIT_000300924
SUMMIT_000265802             SUMMIT_000283815            SUMMIT_000301010
SUMMIT_000266592             SUMMIT_000283835            SUMMIT_000301121
SUMMIT_000266598             SUMMIT_000283847            SUMMIT_000301416
SUMMIT_000266605             SUMMIT_000283966            SUMMIT_000301902
SUMMIT_000266619             SUMMIT_000283977            SUMMIT_000302140
SUMMIT_000267229             SUMMIT_000284232            SUMMIT_000302223
SUMMIT_000267240             SUMMIT_000284240            SUMMIT_000302894

                                       69
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SUMMIT_000302999             SUMMIT_000335262            SUMMIT_000350624
SUMMIT_000304251             SUMMIT_000335354            SUMMIT_000350728
SUMMIT_000304280             SUMMIT_000336177            SUMMIT_000399524
SUMMIT_000304467             SUMMIT_000337285            SUMMIT_000425653
SUMMIT_000304494             SUMMIT_000337601            SUMMIT_000439999
SUMMIT_000305091             SUMMIT_000337695            SUMMIT_000449717
SUMMIT_000309406             SUMMIT_000338057            SUMMIT_000474126
SUMMIT_000310232             SUMMIT_000338083            SUMMIT_000495892
SUMMIT_000310464             SUMMIT_000338455            SUMMIT_000549260
SUMMIT_000310572             SUMMIT_000339594            SUMMIT_000601670
SUMMIT_000310977             SUMMIT_000339655            SUMMIT_000624058
SUMMIT_000311150             SUMMIT_000339716            SUMMIT_000644462
SUMMIT_000311562             SUMMIT_000340860            SUMMIT_000646755
SUMMIT_000312981             SUMMIT_000341277            SUMMIT_000655400
SUMMIT_000313009             SUMMIT_000341489            SUMMIT_000658765
SUMMIT_000313191             SUMMIT_000342004            SUMMIT_000669161
SUMMIT_000315154             SUMMIT_000342250            SUMMIT_000681374
SUMMIT_000315292             SUMMIT_000342318            AKRON_000206994
SUMMIT_000315564             SUMMIT_000342376            SUMMIT_000821033
SUMMIT_000315834             SUMMIT_000343702            SUMMIT_000821099
SUMMIT_000316630             SUMMIT_000343806            SUMMIT_000822997
SUMMIT_000316881             SUMMIT_000344930            SUMMIT_000823024
SUMMIT_000317894             SUMMIT_000345430            SUMMIT_000823030
SUMMIT_000318308             SUMMIT_000345740            SUMMIT_000823890
SUMMIT_000318433             SUMMIT_000346682            SUMMIT_000824452
SUMMIT_000321042             SUMMIT_000346735            SUMMIT_000824977
SUMMIT_000321165             SUMMIT_000346818            SUMMIT_000825409
SUMMIT_000323396             SUMMIT_000346874            SUMMIT_000825800
SUMMIT_000323600             SUMMIT_000346965            SUMMIT_000826728
SUMMIT_000324041             SUMMIT_000347053            SUMMIT_000827185
SUMMIT_000326861             SUMMIT_000347078            SUMMIT_000827736
SUMMIT_000327356             SUMMIT_000347169            SUMMIT_000827847
SUMMIT_000327937             SUMMIT_000347279            SUMMIT_000829819
SUMMIT_000328512             SUMMIT_000347310            SUMMIT_000830451
SUMMIT_000329040             SUMMIT_000348182            SUMMIT_000830520
SUMMIT_000329152             SUMMIT_000348212            SUMMIT_000830740
SUMMIT_000330705             SUMMIT_000348734            SUMMIT_000830798
SUMMIT_000331226             SUMMIT_000348984            SUMMIT_000833594
SUMMIT_000331315             SUMMIT_000349138            SUMMIT_000834328
SUMMIT_000331547             SUMMIT_000349144            SUMMIT_000834858
SUMMIT_000332147             SUMMIT_000349159            SUMMIT_000834859
SUMMIT_000332628             SUMMIT_000349687            SUMMIT_000835337
SUMMIT_000332783             SUMMIT_000349762            SUMMIT_000835338
SUMMIT_000332987             SUMMIT_000350034            SUMMIT_000836784
SUMMIT_000333231             SUMMIT_000350061            SUMMIT_000839429
SUMMIT_000333693             SUMMIT_000350089            SUMMIT_000846049
SUMMIT_000334527             SUMMIT_000350132            SUMMIT_000846498

                                       70
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SUMMIT_000945464             SUMMIT_000962038            SUMMIT_000882742
SUMMIT_000945472             SUMMIT_000862734            SUMMIT_000882769
SUMMIT_000945570             SUMMIT_000964140            SUMMIT_000882774
SUMMIT_000945651             SUMMIT_000964607            SUMMIT_000882801
SUMMIT_000945659             SUMMIT_000964620            SUMMIT_000882806
SUMMIT_000847021             SUMMIT_000964645            SUMMIT_000882833
SUMMIT_000847821             SUMMIT_000964658            SUMMIT_000882838
SUMMIT_000847997             SUMMIT_000965081            SUMMIT_000882865
SUMMIT_000848298             SUMMIT_000965091            SUMMIT_000883081
SUMMIT_000948130             SUMMIT_000965701            SUMMIT_000883108
SUMMIT_000948504             SUMMIT_000965711            SUMMIT_000883769
SUMMIT_000949441             SUMMIT_000965719            SUMMIT_000885511
SUMMIT_000949488             SUMMIT_000965865            SUMMIT_000885742
SUMMIT_000949496             SUMMIT_000967087            SUMMIT_000887060
SUMMIT_000849868             SUMMIT_000967425            SUMMIT_000888736
SUMMIT_000849960             SUMMIT_000967748            SUMMIT_000888738
SUMMIT_000851354             SUMMIT_000967763            SUMMIT_000888740
SUMMIT_000851716             SUMMIT_000967778            SUMMIT_000888742
SUMMIT_000852105             SUMMIT_000875082            SUMMIT_000888746
SUMMIT_000852159             SUMMIT_000877333            SUMMIT_000888748
SUMMIT_000852325             SUMMIT_000877334            SUMMIT_000890004
SUMMIT_000852648             SUMMIT_000877335            SUMMIT_000891322
SUMMIT_000853144             SUMMIT_000877336            SUMMIT_000894652
SUMMIT_000853240             SUMMIT_000877337            SUMMIT_000897737
SUMMIT_000952287             SUMMIT_000877338            SUMMIT_000899442
SUMMIT_000854576             SUMMIT_000877339            SUMMIT_000899605
SUMMIT_000854725             SUMMIT_000877340            SUMMIT_000900153
SUMMIT_000854779             SUMMIT_000877342            SUMMIT_000900475
SUMMIT_000955453             SUMMIT_000877546            SUMMIT_000900764
SUMMIT_000955597             SUMMIT_000877930            SUMMIT_000904397
SUMMIT_000955785             SUMMIT_000879665            SUMMIT_000904475
SUMMIT_000955864             SUMMIT_000879926            SUMMIT_000906590
SUMMIT_000955968             SUMMIT_000879963            SUMMIT_000906610
SUMMIT_000855617             SUMMIT_000880008            SUMMIT_000909653
SUMMIT_000855800             SUMMIT_000880045            SUMMIT_000909790
SUMMIT_000855943             SUMMIT_000880326            SUMMIT_000911266
SUMMIT_000856312             SUMMIT_000880363            SUMMIT_000912621
SUMMIT_000857752             SUMMIT_000880574            SUMMIT_000913071
SUMMIT_000858357             SUMMIT_000881179            SUMMIT_000913552
SUMMIT_000858454             SUMMIT_000882615            SUMMIT_000913624
SUMMIT_000858541             SUMMIT_000882642            SUMMIT_000913747
SUMMIT_000959169             SUMMIT_000882649            SUMMIT_000914126
SUMMIT_000959177             SUMMIT_000882676            SUMMIT_000916174
SUMMIT_000959620             SUMMIT_000882680            SUMMIT_000921011
SUMMIT_000960343             SUMMIT_000882707            SUMMIT_000921094
SUMMIT_000960369             SUMMIT_000882711            SUMMIT_000923187
SUMMIT_000960681             SUMMIT_000882738            SUMMIT_000923490

                                       71
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SUMMIT_000923630             AKRON_000233879             AKRON_000262917
SUMMIT_000923662             AKRON_000236184             AKRON_000263255
SUMMIT_000923672             AKRON_000237660             AKRON_000263561
SUMMIT_000925412             AKRON_000237696             AKRON_000263867
SUMMIT_000925540             AKRON_000240045             AKRON_000264173
SUMMIT_000925987             AKRON_000240606             AKRON_000264447
SUMMIT_000927442             AKRON_000241021             AKRON_000265270
SUMMIT_000927605             AKRON_000241516             AKRON_000265568
SUMMIT_000927873             AKRON_000242252             AKRON_000265696
SUMMIT_000929153             AKRON_000242271             AKRON_000265828
SUMMIT_000930207             AKRON_000242272             AKRON_000265965
SUMMIT_000932885             AKRON_000242283             AKRON_000266239
SUMMIT_000933818             AKRON_000244879             AKRON_000266546
SUMMIT_000935074             AKRON_000246631             AKRON_000267043
SUMMIT_000937072             AKRON_000246716             AKRON_000267325
SUMMIT_000937869             AKRON_000247144             AKRON_000267607
SUMMIT_000938054             AKRON_000247886             AKRON_000267889
SUMMIT_000938959             AKRON_000248560             AKRON_000268171
SUMMIT_000939317             AKRON_000248597             AKRON_000268453
SUMMIT_000939443             AKRON_000251206             AKRON_000268735
SUMMIT_000939450             AKRON_000251266             AKRON_000269017
SUMMIT_000939461             AKRON_000252265             AKRON_000269299
SUMMIT_000940459             AKRON_000252479             AKRON_000269581
SUMMIT_000940502             AKRON_000255138             AKRON_000269863
SUMMIT_000941621             AKRON_000255412             AKRON_000270145
SUMMIT_000942137             AKRON_000255686             AKRON_000270427
SUMMIT_000943050             AKRON_000255960             AKRON_000270709
SUMMIT_000943581             AKRON_000256234             AKRON_000270991
SUMMIT_000943587             AKRON_000256540             SUMMIT_000976157
SUMMIT_000943854             AKRON_000256846             SUMMIT_000979204
SUMMIT_000944065             AKRON_000257152             SUMMIT_000981413
AKRON_000271486              AKRON_000257458             SUMMIT_000982122
AKRON_000274524              AKRON_000257796             SUMMIT_000982385
AKRON_000275558              AKRON_000258070             SUMMIT_000982575
AKRON_000275797              AKRON_000258376             SUMMIT_000983785
AKRON_000276209              AKRON_000258682             SUMMIT_000984405
AKRON_000276294              AKRON_000258988             SUMMIT_000984420
AKRON_000276540              AKRON_000259294             SUMMIT_000984421
AKRON_000277152              AKRON_000260131             SUMMIT_000985438
AKRON_000279408              AKRON_000260469             SUMMIT_000985835
AKRON_000279483              AKRON_000260807             SUMMIT_000986350
AKRON_000279515              AKRON_000261081             SUMMIT_000986482
AKRON_000231098              AKRON_000261451             SUMMIT_000986670
AKRON_000232013              AKRON_000261725             SUMMIT_000987673
AKRON_000233255              AKRON_000262031             SUMMIT_000987680
AKRON_000233822              AKRON_000262305             SUMMIT_000987687
AKRON_000233865              AKRON_000262643             SUMMIT_000988351

                                       72
Case: 1:17-md-02804-DAP Doc #: 1031-13 Filed: 10/10/18 75 of 103. PageID #: 26088



SUMMIT_000989041             SUMMIT_001012441            SUMMIT_001027354
SUMMIT_000989159             SUMMIT_001012458            SUMMIT_001027485
SUMMIT_000989398             SUMMIT_001128137            SUMMIT_001027944
SUMMIT_000990064             SUMMIT_001128225            SUMMIT_001028170
SUMMIT_000990192             SUMMIT_001128432            SUMMIT_001028308
SUMMIT_000990377             SUMMIT_001128987            SUMMIT_001028395
SUMMIT_000990380             SUMMIT_001012727            SUMMIT_001028526
SUMMIT_000991121             SUMMIT_001013087            SUMMIT_001029033
SUMMIT_000991773             SUMMIT_001013126            SUMMIT_001029172
SUMMIT_000992441             SUMMIT_001013152            SUMMIT_001029637
SUMMIT_000992444             SUMMIT_001013217            SUMMIT_001029753
SUMMIT_000993296             SUMMIT_001013457            SUMMIT_001031087
SUMMIT_000993534             SUMMIT_001013771            SUMMIT_001031112
SUMMIT_000993622             SUMMIT_001014319            SUMMIT_001031857
SUMMIT_000993623             SUMMIT_001014383            SUMMIT_001033070
SUMMIT_000993628             SUMMIT_001015122            SUMMIT_001033322
SUMMIT_000993633             SUMMIT_001015129            SUMMIT_001033333
SUMMIT_000994244             SUMMIT_001015137            SUMMIT_001033515
SUMMIT_000994419             SUMMIT_001016148            SUMMIT_001033774
SUMMIT_000995032             SUMMIT_001017049            SUMMIT_001033785
SUMMIT_000995615             SUMMIT_001017216            SUMMIT_001033890
SUMMIT_000996193             SUMMIT_001017536            SUMMIT_001033919
SUMMIT_000996801             SUMMIT_001017586            SUMMIT_001034689
SUMMIT_000996861             SUMMIT_001018250            SUMMIT_001034972
SUMMIT_000997960             SUMMIT_001018379            SUMMIT_001034981
SUMMIT_000998724             SUMMIT_001018739            SUMMIT_001035038
SUMMIT_000999500             SUMMIT_001018942            SUMMIT_001036786
SUMMIT_001000102             SUMMIT_001019008            SUMMIT_001037410
SUMMIT_001001339             SUMMIT_001019641            SUMMIT_001037430
SUMMIT_001001343             SUMMIT_001019681            SUMMIT_001038054
SUMMIT_001001347             SUMMIT_001019715            SUMMIT_001038152
SUMMIT_001001352             SUMMIT_001019777            SUMMIT_001038457
SUMMIT_001001679             SUMMIT_001019925            SUMMIT_001038474
SUMMIT_001002218             SUMMIT_001020452            SUMMIT_001038632
SUMMIT_001002408             SUMMIT_001020694            SUMMIT_001039507
SUMMIT_001003563             SUMMIT_001022663            SUMMIT_001040009
SUMMIT_001004365             SUMMIT_001023093            SUMMIT_001040040
SUMMIT_001004401             SUMMIT_001023981            SUMMIT_001040490
SUMMIT_001005485             SUMMIT_001024254            SUMMIT_001040634
SUMMIT_001006260             SUMMIT_001025155            SUMMIT_001041248
SUMMIT_001006267             SUMMIT_001025558            SUMMIT_001044161
SUMMIT_001009501             SUMMIT_001026339            SUMMIT_001044366
SUMMIT_001010609             SUMMIT_001026354            SUMMIT_001044647
SUMMIT_001011902             SUMMIT_001026549            SUMMIT_001044693
SUMMIT_001012231             SUMMIT_001026896            SUMMIT_001045365
SUMMIT_001012245             SUMMIT_001027097            SUMMIT_001045896
SUMMIT_001012424             SUMMIT_001027180            SUMMIT_001046510

                                       73
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SUMMIT_001046653             SUMMIT_001062059            SUMMIT_001081033
SUMMIT_001046924             SUMMIT_001062230            SUMMIT_001081046
SUMMIT_001047169             SUMMIT_001062295            SUMMIT_001081090
SUMMIT_001048118             SUMMIT_001062813            SUMMIT_001081771
SUMMIT_001048676             SUMMIT_001062894            SUMMIT_001082348
SUMMIT_001048720             SUMMIT_001063260            SUMMIT_001083718
SUMMIT_001048860             SUMMIT_001063495            SUMMIT_001084827
SUMMIT_001049192             SUMMIT_001063786            SUMMIT_001085282
SUMMIT_001049273             SUMMIT_001064053            SUMMIT_001085635
SUMMIT_001049597             SUMMIT_001064098            SUMMIT_001085936
SUMMIT_001050704             SUMMIT_001064125            SUMMIT_001085972
SUMMIT_001050987             SUMMIT_001064920            SUMMIT_001086036
SUMMIT_001051166             SUMMIT_001065442            SUMMIT_001086094
SUMMIT_001051356             SUMMIT_001066011            SUMMIT_001086176
SUMMIT_001051384             SUMMIT_001066061            SUMMIT_001086314
SUMMIT_001051609             SUMMIT_001066735            SUMMIT_001086329
SUMMIT_001051910             SUMMIT_001066948            SUMMIT_001086341
SUMMIT_001052387             SUMMIT_001068210            SUMMIT_001086364
SUMMIT_001052983             SUMMIT_001068351            SUMMIT_001086382
SUMMIT_001053268             SUMMIT_001068365            SUMMIT_001086401
SUMMIT_001053412             SUMMIT_001068674            SUMMIT_001086438
SUMMIT_001053668             SUMMIT_001069469            SUMMIT_001086447
SUMMIT_001053897             SUMMIT_001069738            SUMMIT_001086463
SUMMIT_001054131             SUMMIT_001069977            SUMMIT_001086478
SUMMIT_001054420             SUMMIT_001070009            SUMMIT_001086516
SUMMIT_001055339             SUMMIT_001070121            SUMMIT_001086531
SUMMIT_001055366             SUMMIT_001070167            SUMMIT_001086543
SUMMIT_001055893             SUMMIT_001070307            SUMMIT_001086565
SUMMIT_001056309             SUMMIT_001070376            SUMMIT_001086577
SUMMIT_001056717             SUMMIT_001070444            SUMMIT_001086590
SUMMIT_001056727             SUMMIT_001070461            SUMMIT_001087858
SUMMIT_001057072             SUMMIT_001070564            SUMMIT_001087878
SUMMIT_001057082             SUMMIT_001070661            SUMMIT_001087938
SUMMIT_001057980             SUMMIT_001070750            SUMMIT_001088325
SUMMIT_001058025             SUMMIT_001071115            SUMMIT_001088860
SUMMIT_001058213             SUMMIT_001075750            SUMMIT_001089012
SUMMIT_001058785             SUMMIT_001077030            SUMMIT_001089093
SUMMIT_001058991             SUMMIT_001077278            SUMMIT_001089340
SUMMIT_001059028             SUMMIT_001077825            SUMMIT_001089471
SUMMIT_001059097             SUMMIT_001078027            SUMMIT_001089656
SUMMIT_001059288             SUMMIT_001078115            SUMMIT_001090022
SUMMIT_001060573             SUMMIT_001078188            SUMMIT_001090179
SUMMIT_001060642             SUMMIT_001078244            SUMMIT_001091005
SUMMIT_001060713             SUMMIT_001078311            SUMMIT_001091093
SUMMIT_001060820             SUMMIT_001079468            SUMMIT_001091240
SUMMIT_001060847             SUMMIT_001079604            SUMMIT_001093489
SUMMIT_001062034             SUMMIT_001080904            SUMMIT_001093513

                                       74
Case: 1:17-md-02804-DAP Doc #: 1031-13 Filed: 10/10/18 77 of 103. PageID #: 26090



SUMMIT_001094210             SUMMIT_001112829            AKRON_000314762
SUMMIT_001094225             SUMMIT_001112844            AKRON_000314950
SUMMIT_001094432             SUMMIT_001113173            AKRON_000315004
SUMMIT_001094782             SUMMIT_001113186            AKRON_000317468
SUMMIT_001095016             SUMMIT_001113209            AKRON_000318258
SUMMIT_001095678             SUMMIT_001113299            AKRON_000318548
SUMMIT_001096316             SUMMIT_001113436            AKRON_000318937
SUMMIT_001096385             SUMMIT_001114033            AKRON_000319364
SUMMIT_001096388             SUMMIT_001114119            AKRON_000319369
SUMMIT_001096442             SUMMIT_001114616            AKRON_000319372
SUMMIT_001096899             SUMMIT_001115047            SUMMIT_001130208
SUMMIT_001096909             SUMMIT_001115216            SUMMIT_001130753
SUMMIT_001097012             SUMMIT_001115581            SUMMIT_001130887
SUMMIT_001099909             SUMMIT_001116331            SUMMIT_001144409
SUMMIT_001102050             SUMMIT_001116850            SUMMIT_001146109
SUMMIT_001102868             SUMMIT_001116880            SUMMIT_001146711
SUMMIT_001103406             SUMMIT_001117305            SUMMIT_001147066
SUMMIT_001103964             SUMMIT_001117431            SUMMIT_001147126
SUMMIT_001104408             SUMMIT_001117785            SUMMIT_001147219
SUMMIT_001105048             SUMMIT_001118139            SUMMIT_001147387
SUMMIT_001105507             SUMMIT_001119005            SUMMIT_001147531
SUMMIT_001105645             SUMMIT_001119026            SUMMIT_001147558
SUMMIT_001106026             SUMMIT_001119980            SUMMIT_001147639
SUMMIT_001106105             SUMMIT_001120365            SUMMIT_001147720
SUMMIT_001106244             SUMMIT_001120735            SUMMIT_001147759
SUMMIT_001106338             SUMMIT_001121277            SUMMIT_001147785
SUMMIT_001106424             SUMMIT_001121330            SUMMIT_001147819
SUMMIT_001106821             SUMMIT_001121781            SUMMIT_001147849
SUMMIT_001107033             SUMMIT_001121787            SUMMIT_001147894
SUMMIT_001107066             SUMMIT_001122012            SUMMIT_001148035
SUMMIT_001107089             SUMMIT_001122132            SUMMIT_001148077
SUMMIT_001107347             SUMMIT_001122140            SUMMIT_001148111
SUMMIT_001107370             SUMMIT_001122287            SUMMIT_001148215
SUMMIT_001107664             SUMMIT_001124364            SUMMIT_001148324
SUMMIT_001107804             SUMMIT_001124459            SUMMIT_001148417
SUMMIT_001108075             SUMMIT_001125088            SUMMIT_001148486
SUMMIT_001108084             SUMMIT_001126903            SUMMIT_001148514
SUMMIT_001108093             SUMMIT_001126930            SUMMIT_001148567
SUMMIT_001108101             SUMMIT_001127296            SUMMIT_001148659
SUMMIT_001108111             SUMMIT_001127497            SUMMIT_001148783
SUMMIT_001109876             SUMMIT_001127676            SUMMIT_001148891
SUMMIT_001109883             AKRON_000309585             SUMMIT_001148929
SUMMIT_001111278             AKRON_000309622             SUMMIT_001149019
SUMMIT_001111350             AKRON_000310831             SUMMIT_001149124
SUMMIT_001111547             AKRON_000311301             SUMMIT_001149224
SUMMIT_001111859             AKRON_000314213             SUMMIT_001149254
SUMMIT_001112158             AKRON_000314712             SUMMIT_001149368

                                       75
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SUMMIT_001149403             SUMMIT_001160492            SUMMIT_001183324
SUMMIT_001149430             SUMMIT_001160495            SUMMIT_001183380
SUMMIT_001149486             SUMMIT_001161467            SUMMIT_001183428
SUMMIT_001149594             SUMMIT_001162116            SUMMIT_001183967
SUMMIT_001149666             SUMMIT_001162120            SUMMIT_001184354
SUMMIT_001149740             SUMMIT_001162421            SUMMIT_001184359
SUMMIT_001149799             SUMMIT_001163705            SUMMIT_001184360
SUMMIT_001149827             SUMMIT_001163737            SUMMIT_001184361
SUMMIT_001149924             SUMMIT_001163763            SUMMIT_001184362
SUMMIT_001150069             SUMMIT_001165169            SUMMIT_001184368
SUMMIT_001150188             SUMMIT_001165805            SUMMIT_001184459
SUMMIT_001150313             SUMMIT_001167027            SUMMIT_001185204
SUMMIT_001150403             SUMMIT_001167913            SUMMIT_001185288
SUMMIT_001150532             SUMMIT_001168134            SUMMIT_001185509
SUMMIT_001150580             SUMMIT_001168555            SUMMIT_001185607
SUMMIT_001156888             SUMMIT_001168854            SUMMIT_001185705
SUMMIT_001156942             SUMMIT_001169016            SUMMIT_001185812
SUMMIT_001156990             SUMMIT_001169082            SUMMIT_001185938
SUMMIT_001157015             SUMMIT_001169142            SUMMIT_001186159
SUMMIT_001157083             SUMMIT_001169617            SUMMIT_001186394
SUMMIT_001157107             SUMMIT_001169846            SUMMIT_001186447
SUMMIT_001157176             SUMMIT_001170054            SUMMIT_001186642
SUMMIT_001157214             SUMMIT_001170613            SUMMIT_001187459
SUMMIT_001157280             SUMMIT_001175541            SUMMIT_001187560
SUMMIT_001157346             SUMMIT_001176822            SUMMIT_001187667
SUMMIT_001157372             SUMMIT_001176848            SUMMIT_001187958
SUMMIT_001157453             SUMMIT_001176954            SUMMIT_001188014
SUMMIT_001157528             SUMMIT_001176986            SUMMIT_001188590
SUMMIT_001157560             SUMMIT_001177012            SUMMIT_001189219
SUMMIT_001157633             SUMMIT_001178984            SUMMIT_001189264
SUMMIT_001157716             SUMMIT_001179097            SUMMIT_001190150
SUMMIT_001158680             SUMMIT_001179580            SUMMIT_001190232
SUMMIT_001159119             SUMMIT_001179665            SUMMIT_001190337
SUMMIT_001159274             SUMMIT_001179959            SUMMIT_001190645
SUMMIT_001159275             SUMMIT_001179998            SUMMIT_001191962
SUMMIT_001159378             SUMMIT_001180276            SUMMIT_001194136
SUMMIT_001159856             SUMMIT_001180486            SUMMIT_001194225
SUMMIT_001159923             SUMMIT_001180493            SUMMIT_001194509
SUMMIT_001159968             SUMMIT_001180515            SUMMIT_001194844
SUMMIT_001160027             SUMMIT_001180588            SUMMIT_001195181
SUMMIT_001160042             SUMMIT_001181423            SUMMIT_001195328
SUMMIT_001160091             SUMMIT_001181580            SUMMIT_001195371
SUMMIT_001160173             SUMMIT_001181626            SUMMIT_001195486
SUMMIT_001160175             SUMMIT_001181639            SUMMIT_001195509
SUMMIT_001160326             SUMMIT_001182435            SUMMIT_001195739
SUMMIT_001160471             SUMMIT_001182647            SUMMIT_001199068
SUMMIT_001160472             SUMMIT_001182667            SUMMIT_001203679

                                       76
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SUMMIT_001204572             SUMMIT_001221518            SUMMIT_001242777
SUMMIT_001204787             SUMMIT_001221642            SUMMIT_001243067
SUMMIT_001206173             SUMMIT_001221726            SUMMIT_001243450
SUMMIT_001206181             SUMMIT_001221922            SUMMIT_001243745
SUMMIT_001207161             SUMMIT_001221948            SUMMIT_001243790
SUMMIT_001207593             SUMMIT_001222969            SUMMIT_001244669
SUMMIT_001207884             SUMMIT_001223012            SUMMIT_001245141
SUMMIT_001208103             SUMMIT_001223834            SUMMIT_001245209
SUMMIT_001208366             SUMMIT_001223897            SUMMIT_001245246
SUMMIT_001209715             SUMMIT_001224158            SUMMIT_001245375
SUMMIT_001210335             SUMMIT_001224256            SUMMIT_001245679
SUMMIT_001210885             SUMMIT_001225289            SUMMIT_001245780
SUMMIT_001211560             SUMMIT_001226349            SUMMIT_001245826
SUMMIT_001211760             SUMMIT_001227083            SUMMIT_001245859
SUMMIT_001211900             SUMMIT_001227236            SUMMIT_001245943
SUMMIT_001212495             SUMMIT_001227661            SUMMIT_001246058
SUMMIT_001214017             SUMMIT_001227669            SUMMIT_001246444
SUMMIT_001214614             SUMMIT_001227745            SUMMIT_001246850
SUMMIT_001214890             SUMMIT_001227961            SUMMIT_001247156
SUMMIT_001215142             SUMMIT_001227972            SUMMIT_001247242
SUMMIT_001215295             SUMMIT_001227991            SUMMIT_001247454
SUMMIT_001215838             SUMMIT_001228573            SUMMIT_001247481
SUMMIT_001215966             SUMMIT_001229068            SUMMIT_001247502
SUMMIT_001216140             SUMMIT_001229898            SUMMIT_001247639
SUMMIT_001216180             SUMMIT_001229958            SUMMIT_001247661
SUMMIT_001217143             SUMMIT_001230044            SUMMIT_001247873
SUMMIT_001217954             SUMMIT_001230105            SUMMIT_001248049
SUMMIT_001218371             SUMMIT_001233235            SUMMIT_001248245
SUMMIT_001218379             SUMMIT_001233701            SUMMIT_001248444
SUMMIT_001218387             SUMMIT_001234581            SUMMIT_001248874
SUMMIT_001218395             SUMMIT_001234834            SUMMIT_001249111
SUMMIT_001218406             SUMMIT_001235110            SUMMIT_001249395
SUMMIT_001218880             SUMMIT_001235909            SUMMIT_001249710
SUMMIT_001218886             SUMMIT_001236377            SUMMIT_001249737
SUMMIT_001219823             SUMMIT_001238038            SUMMIT_001249818
SUMMIT_001220191             SUMMIT_001238253            SUMMIT_001250119
SUMMIT_001220353             SUMMIT_001239740            SUMMIT_001250271
SUMMIT_001220544             SUMMIT_001240389            SUMMIT_001250364
SUMMIT_001220569             SUMMIT_001240444            SUMMIT_001251647
SUMMIT_001220805             SUMMIT_001240855            SUMMIT_001251710
SUMMIT_001220895             SUMMIT_001240889            SUMMIT_001251785
SUMMIT_001220942             SUMMIT_001241646            SUMMIT_001251893
SUMMIT_001220948             SUMMIT_001241669            SUMMIT_001251981
SUMMIT_001220954             SUMMIT_001241681            SUMMIT_001252032
SUMMIT_001221018             SUMMIT_001241952            SUMMIT_001252072
SUMMIT_001221206             SUMMIT_001242055            SUMMIT_001252081
SUMMIT_001221240             SUMMIT_001242753            SUMMIT_001252385

                                       77
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SUMMIT_001252576             SUMMIT_001270020            SUMMIT_001293282
SUMMIT_001252895             SUMMIT_001270106            SUMMIT_001293527
SUMMIT_001252933             SUMMIT_001270196            SUMMIT_001293694
SUMMIT_001253125             SUMMIT_001272238            SUMMIT_001294468
SUMMIT_001253908             SUMMIT_001272589            SUMMIT_001294956
SUMMIT_001254033             SUMMIT_001272626            SUMMIT_001296521
SUMMIT_001254122             SUMMIT_001272882            SUMMIT_001296788
SUMMIT_001254637             SUMMIT_001272890            SUMMIT_001297382
SUMMIT_001254704             SUMMIT_001273054            SUMMIT_001302023
SUMMIT_001254797             SUMMIT_001273519            SUMMIT_001302332
SUMMIT_001254904             SUMMIT_001273593            SUMMIT_001304839
SUMMIT_001255032             SUMMIT_001273999            SUMMIT_001305050
SUMMIT_001255065             SUMMIT_001274060            SUMMIT_001305260
SUMMIT_001255080             SUMMIT_001274097            SUMMIT_001305302
SUMMIT_001255604             SUMMIT_001274273            SUMMIT_001305354
SUMMIT_001255910             SUMMIT_001274485            SUMMIT_001306428
SUMMIT_001255962             SUMMIT_001275334            SUMMIT_001307236
SUMMIT_001256258             SUMMIT_001277241            SUMMIT_001307355
SUMMIT_001256325             SUMMIT_001277795            SUMMIT_001307581
SUMMIT_001256382             SUMMIT_001278605            SUMMIT_001308651
SUMMIT_001257230             AKRON_000344294             SUMMIT_001308769
SUMMIT_001257246             AKRON_000348278             SUMMIT_001308898
SUMMIT_001257372             AKRON_000349633             SUMMIT_001309234
SUMMIT_001257701             AKRON_000349882             SUMMIT_001309456
SUMMIT_001258275             AKRON_000350592             SUMMIT_001309562
SUMMIT_001258934             AKRON_000350639             SUMMIT_001309588
SUMMIT_001259187             SUMMIT_001280207            SUMMIT_001309978
SUMMIT_001259225             SUMMIT_001280276            SUMMIT_001310891
SUMMIT_001259464             SUMMIT_001281101            SUMMIT_001311248
SUMMIT_001259673             SUMMIT_001281214            SUMMIT_001311272
SUMMIT_001259975             SUMMIT_001281280            SUMMIT_001311462
SUMMIT_001261960             SUMMIT_001281282            SUMMIT_001311470
SUMMIT_001263020             SUMMIT_001281293            SUMMIT_001313259
SUMMIT_001263408             SUMMIT_001281311            SUMMIT_001313324
SUMMIT_001263612             SUMMIT_001281367            SUMMIT_001313448
SUMMIT_001264123             SUMMIT_001281437            SUMMIT_001313456
SUMMIT_001264452             SUMMIT_001281439            SUMMIT_001313477
SUMMIT_001267880             SUMMIT_001281522            SUMMIT_001313492
SUMMIT_001267884             SUMMIT_001281971            SUMMIT_001313507
SUMMIT_001267890             SUMMIT_001282233            SUMMIT_001314069
SUMMIT_001267896             SUMMIT_001282875            SUMMIT_001314182
SUMMIT_001267901             SUMMIT_001283000            SUMMIT_001314245
SUMMIT_001268578             SUMMIT_001285489            SUMMIT_001314914
SUMMIT_001268686             SUMMIT_001287291            SUMMIT_001315156
SUMMIT_001268692             SUMMIT_001291998            SUMMIT_001316689
SUMMIT_001268740             SUMMIT_001292264            SUMMIT_001317289
SUMMIT_001268995             SUMMIT_001293078            SUMMIT_001318233

                                       78
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SUMMIT_001318752             SUMMIT_001334243            SUMMIT_001362434
SUMMIT_001319820             SUMMIT_001334290            SUMMIT_001362675
SUMMIT_001320114             SUMMIT_001334608            SUMMIT_001363075
SUMMIT_001320394             SUMMIT_001334628            SUMMIT_001363287
SUMMIT_001321121             SUMMIT_001336894            SUMMIT_001364341
SUMMIT_001321557             SUMMIT_001337346            SUMMIT_001364428
SUMMIT_001321949             SUMMIT_001337366            SUMMIT_001365626
SUMMIT_001322638             SUMMIT_001337375            SUMMIT_001366174
SUMMIT_001323377             SUMMIT_001337404            SUMMIT_001366247
SUMMIT_001323880             SUMMIT_001338062            SUMMIT_001366439
SUMMIT_001324005             SUMMIT_001338186            SUMMIT_001366510
SUMMIT_001324242             SUMMIT_001338559            SUMMIT_001366656
SUMMIT_001324403             SUMMIT_001338697            SUMMIT_001366723
SUMMIT_001324461             SUMMIT_001342682            SUMMIT_001367149
SUMMIT_001324637             SUMMIT_001343981            SUMMIT_001368911
SUMMIT_001324821             SUMMIT_001344276            SUMMIT_001369644
SUMMIT_001324847             SUMMIT_001345408            SUMMIT_001369857
SUMMIT_001324890             SUMMIT_001346350            SUMMIT_001370509
SUMMIT_001325039             SUMMIT_001347747            SUMMIT_001370788
SUMMIT_001325180             SUMMIT_001350128            SUMMIT_001371129
SUMMIT_001325350             SUMMIT_001350129            SUMMIT_001372418
SUMMIT_001325569             SUMMIT_001350284            SUMMIT_001372873
SUMMIT_001325788             SUMMIT_001350369            SUMMIT_001373503
SUMMIT_001326414             SUMMIT_001351096            SUMMIT_001373673
SUMMIT_001326830             SUMMIT_001351580            SUMMIT_001373883
SUMMIT_001328088             SUMMIT_001351594            SUMMIT_001373927
SUMMIT_001330395             SUMMIT_001351654            SUMMIT_001374323
SUMMIT_001330752             SUMMIT_001352681            SUMMIT_001374730
SUMMIT_001330757             SUMMIT_001352795            SUMMIT_001375166
SUMMIT_001331312             SUMMIT_001353084            SUMMIT_001375221
SUMMIT_001331475             SUMMIT_001353181            SUMMIT_001375959
SUMMIT_001331487             SUMMIT_001353807            SUMMIT_001376377
SUMMIT_001331562             SUMMIT_001354066            SUMMIT_001376443
SUMMIT_001331602             SUMMIT_001354183            SUMMIT_001376520
SUMMIT_001331627             SUMMIT_001354371            SUMMIT_001376604
SUMMIT_001331825             SUMMIT_001354960            SUMMIT_001376913
SUMMIT_001331836             SUMMIT_001355035            SUMMIT_001377089
SUMMIT_001331852             SUMMIT_001355593            SUMMIT_001377199
SUMMIT_001331898             SUMMIT_001355749            SUMMIT_001377230
SUMMIT_001332015             SUMMIT_001356519            SUMMIT_001377325
SUMMIT_001332037             SUMMIT_001357268            SUMMIT_001377363
SUMMIT_001332049             SUMMIT_001357748            SUMMIT_001377464
SUMMIT_001332064             SUMMIT_001359142            SUMMIT_001377521
SUMMIT_001332078             SUMMIT_001359293            SUMMIT_001377618
SUMMIT_001332091             SUMMIT_001359504            SUMMIT_001377686
SUMMIT_001333637             SUMMIT_001359713            SUMMIT_001377714
SUMMIT_001334208             SUMMIT_001360030            SUMMIT_001377786

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SUMMIT_001377804             SUMMIT_001390252            SUMMIT_001409036
SUMMIT_001379095             SUMMIT_001390307            SUMMIT_001411691
SUMMIT_001379988             SUMMIT_001390604            SUMMIT_001411709
SUMMIT_001379998             SUMMIT_001390854            SUMMIT_001412153
SUMMIT_001380111             SUMMIT_001390902            SUMMIT_001412302
SUMMIT_001380246             SUMMIT_001390941            SUMMIT_001412970
SUMMIT_001380247             SUMMIT_001391006            SUMMIT_001413000
SUMMIT_001380248             SUMMIT_001391015            SUMMIT_001413678
SUMMIT_001380249             SUMMIT_001391021            SUMMIT_001413719
SUMMIT_001380250             SUMMIT_001391843            SUMMIT_001413760
SUMMIT_001380251             SUMMIT_001392177            SUMMIT_001413947
SUMMIT_001380252             SUMMIT_001392556            SUMMIT_001414097
SUMMIT_001380253             SUMMIT_001392973            SUMMIT_001414223
SUMMIT_001380255             SUMMIT_001396003            SUMMIT_001414274
SUMMIT_001381191             SUMMIT_001396019            SUMMIT_001414305
SUMMIT_001382018             SUMMIT_001396028            SUMMIT_001414362
SUMMIT_001382080             SUMMIT_001396045            SUMMIT_001416210
SUMMIT_001382134             SUMMIT_001396062            SUMMIT_001416799
SUMMIT_001382435             SUMMIT_001396071            SUMMIT_001417827
SUMMIT_001382555             SUMMIT_001396081            SUMMIT_001417881
SUMMIT_001382630             SUMMIT_001396121            SUMMIT_001418916
SUMMIT_001383149             SUMMIT_001396265            SUMMIT_001420105
SUMMIT_001383167             SUMMIT_001396312            SUMMIT_001420279
SUMMIT_001383358             SUMMIT_001396327            SUMMIT_001420500
SUMMIT_001383611             SUMMIT_001397134            SUMMIT_001420532
SUMMIT_001383691             SUMMIT_001398405            SUMMIT_001421870
SUMMIT_001383799             SUMMIT_001398624            AKRON_000352397
SUMMIT_001384085             SUMMIT_001398705            SUMMIT_001422812
SUMMIT_001384150             SUMMIT_001399030            SUMMIT_001423443
SUMMIT_001384652             SUMMIT_001399213            SUMMIT_001423752
SUMMIT_001384756             SUMMIT_001399219            SUMMIT_001423802
SUMMIT_001385229             SUMMIT_001399477            SUMMIT_001424678
SUMMIT_001385873             SUMMIT_001399499            SUMMIT_001424729
SUMMIT_001387059             SUMMIT_001399993            SUMMIT_001426187
SUMMIT_001387097             SUMMIT_001400428            SUMMIT_001428489
SUMMIT_001387169             SUMMIT_001402082            SUMMIT_001430696
SUMMIT_001387186             SUMMIT_001402789            SUMMIT_001430837
SUMMIT_001387210             SUMMIT_001402808            SUMMIT_001431075
SUMMIT_001387262             SUMMIT_001403150            SUMMIT_001432084
SUMMIT_001387372             SUMMIT_001403390            SUMMIT_001445488
SUMMIT_001387697             SUMMIT_001403484            SUMMIT_001446329
SUMMIT_001388500             SUMMIT_001404421            SUMMIT_001446376
SUMMIT_001388826             SUMMIT_001404503            SUMMIT_001446618
SUMMIT_001389166             SUMMIT_001404695            SUMMIT_001447361
SUMMIT_001389371             SUMMIT_001405307            SUMMIT_001447373
SUMMIT_001389524             SUMMIT_001407120            SUMMIT_001447377
SUMMIT_001390205             SUMMIT_001407466            SUMMIT_001447382

                                       80
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SUMMIT_001447691             SUMMIT_000356152            AKRON_000389259
SUMMIT_001448353             SUMMIT_000357372            AKRON_000389589
SUMMIT_001448736             SUMMIT_000357379            AKRON_000389881
SUMMIT_001448872             SUMMIT_000360249            AKRON_000390363
SUMMIT_001449491             SUMMIT_000360334            AKRON_000390518
SUMMIT_001450081             SUMMIT_000361931            AKRON_000391044
SUMMIT_001450197             SUMMIT_000362031            AKRON_000391546
AKRON_000355076              SUMMIT_000363018            AKRON_000391603
AKRON_000355227              SUMMIT_000363364            AKRON_000391918
AKRON_000355426              SUMMIT_000363593            AKRON_000392420
AKRON_000355478              SUMMIT_000364025            AKRON_000392922
AKRON_000355704              SUMMIT_000366178            AKRON_000393294
AKRON_000356022              AKRON_000366785             AKRON_000393440
AKRON_000356119              AKRON_000369340             AKRON_000393472
AKRON_000356393              AKRON_000370908             AKRON_000394387
AKRON_000356431              AKRON_000372458             AKRON_000394889
AKRON_000356542              AKRON_000373002             AKRON_000395391
AKRON_000358202              AKRON_000373605             AKRON_000395602
AKRON_000358882              AKRON_000374172             AKRON_000395990
AKRON_000361064              AKRON_000374176             AKRON_000396436
AKRON_000361454              SUMMIT_001450921            AKRON_000396782
AKRON_000361799              SUMMIT_001451059            AKRON_000397286
AKRON_000362188              SUMMIT_001451487            AKRON_000397328
AKRON_000362462              SUMMIT_001451581            AKRON_000398181
AKRON_000362736              SUMMIT_001451643            AKRON_000398213
AKRON_000363687              SUMMIT_001451649            AKRON_000398927
AKRON_000363706              AKRON_000380500             AKRON_000399633
AKRON_000363860              AKRON_000384283             AKRON_000400137
AKRON_000363886              AKRON_000384531             AKRON_000400641
AKRON_000364697              AKRON_000384581             AKRON_000401313
AKRON_000364714              AKRON_000384991             AKRON_000401848
AKRON_000364731              AKRON_000385292             AKRON_000402383
AKRON_000365879              AKRON_000385379             AKRON_000402447
AKRON_000365896              AKRON_000385809             AKRON_000403291
AKRON_000365901              AKRON_000385837             AKRON_000403678
AKRON_000366207              AKRON_000386257             AKRON_000404213
AKRON_000366209              AKRON_000386705             AKRON_000404748
SUMMIT_000351285             AKRON_000387125             AKRON_000405283
SUMMIT_000351333             AKRON_000387153             AKRON_000405637
SUMMIT_000351419             AKRON_000387360             AKRON_000405831
SUMMIT_000352477             AKRON_000387785             AKRON_000406262
SUMMIT_000352749             AKRON_000388023             AKRON_000406806
SUMMIT_000352849             AKRON_000388328             AKRON_000406906
SUMMIT_000353496             AKRON_000388389             AKRON_000407196
SUMMIT_000353647             AKRON_000388419             AKRON_000407212
SUMMIT_000353713             AKRON_000388680             AKRON_000408628
SUMMIT_000354415             AKRON_000389047             AKRON_000409182

                                       81
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AKRON_000409222              AKRON_000435634             AKRON_000475411
AKRON_000409935              AKRON_000435664             AKRON_000475470
AKRON_000410322              AKRON_000436142             AKRON_000475806
AKRON_000410354              AKRON_000436620             AKRON_000476035
AKRON_000411436              AKRON_000437098             AKRON_000476525
AKRON_000411954              AKRON_000437576             AKRON_000476666
AKRON_000412470              AKRON_000438054             AKRON_000476681
AKRON_000412896              AKRON_000438547             AKRON_000476713
AKRON_000412928              AKRON_000438579             AKRON_000476918
AKRON_000413432              AKRON_000440947             AKRON_000476943
AKRON_000413787              AKRON_000441504             AKRON_000477215
AKRON_000414030              AKRON_000442436             AKRON_000477459
AKRON_000414543              AKRON_000443069             AKRON_000477929
AKRON_000415047              AKRON_000444097             AKRON_000478576
AKRON_000415551              AKRON_000444804             AKRON_000479046
AKRON_000416055              AKRON_000445353             AKRON_000479516
AKRON_000416087              AKRON_000448959             AKRON_000479986
AKRON_000416591              AKRON_000450152             AKRON_000480459
AKRON_000416621              AKRON_000451170             AKRON_000480604
AKRON_000416678              AKRON_000452281             AKRON_000480809
AKRON_000417078              AKRON_000453730             AKRON_000480859
AKRON_000417284              AKRON_000454276             AKRON_000481555
AKRON_000417849              AKRON_000454916             AKRON_000481655
AKRON_000418690              AKRON_000456031             AKRON_000481878
AKRON_000419493              AKRON_000456549             AKRON_000482438
AKRON_000420096              AKRON_000457321             AKRON_000482958
AKRON_000420661              AKRON_000457826             AKRON_000483163
AKRON_000421906              AKRON_000458237             AKRON_000483846
AKRON_000422515              AKRON_000458265             AKRON_000484758
AKRON_000423246              AKRON_000458293             AKRON_000485574
AKRON_000424984              AKRON_000458798             AKRON_000486414
AKRON_000425490              AKRON_000459330             AKRON_000486909
AKRON_000426437              AKRON_000459358             AKRON_000487435
AKRON_000429170              AKRON_000459863             AKRON_000488386
AKRON_000429414              AKRON_000460478             AKRON_000488970
AKRON_000429669              AKRON_000461318             AKRON_000489612
AKRON_000430562              AKRON_000461833             AKRON_000490645
AKRON_000431592              AKRON_000462195             AKRON_000491261
AKRON_000432497              AKRON_000462980             AKRON_000491820
AKRON_000433007              AKRON_000463392             AKRON_000492585
AKRON_000433481              AKRON_000464075             AKRON_000494191
AKRON_000434129              AKRON_000464940             AKRON_000496323
AKRON_000434603              AKRON_000470486             AKRON_000498227
AKRON_000434628              AKRON_000474215             AKRON_000498569
AKRON_000434653              AKRON_000474245             AKRON_000500016
AKRON_000435529              AKRON_000474782             AKRON_000503630
AKRON_000435554              AKRON_000474825             AKRON_000504443

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AKRON_000504523              AKRON_000525327             AKRON_000556807
AKRON_000504733              AKRON_000525374             AKRON_000557312
AKRON_000505199              AKRON_000525671             AKRON_000557792
AKRON_000505265              AKRON_000526284             AKRON_000557818
AKRON_000505672              AKRON_000526650             AKRON_000558298
AKRON_000505732              AKRON_000527170             AKRON_000560161
AKRON_000506198              AKRON_000527850             AKRON_000560191
AKRON_000506994              AKRON_000529460             AKRON_000560261
AKRON_000507300              AKRON_000530562             AKRON_000560658
AKRON_000507766              AKRON_000531116             AKRON_000560688
AKRON_000508185              AKRON_000532538             AKRON_000561248
AKRON_000512301              AKRON_000533101             AKRON_000561572
AKRON_000512800              AKRON_000533674             AKRON_000561621
AKRON_000513299              AKRON_000535028             AKRON_000562121
AKRON_000513327              AKRON_000536049             AKRON_000562577
AKRON_000513855              AKRON_000538346             AKRON_000562859
AKRON_000514354              AKRON_000538985             AKRON_000563866
AKRON_000514860              AKRON_000539451             AKRON_000564646
AKRON_000514890              AKRON_000539760             AKRON_000565102
AKRON_000515427              AKRON_000540333             AKRON_000565638
AKRON_000515964              AKRON_000540335             AKRON_000566210
AKRON_000516533              AKRON_000540361             AKRON_000567585
AKRON_000517114              AKRON_000540387             AKRON_000568606
AKRON_000517721              AKRON_000541030             AKRON_000571180
AKRON_000518194              AKRON_000542067             AKRON_000571787
AKRON_000518667              AKRON_000542565             AKRON_000572690
AKRON_000518720              AKRON_000543431             AKRON_000573281
AKRON_000519193              AKRON_000543658             AKRON_000573837
AKRON_000519666              AKRON_000544000             AKRON_000575550
AKRON_000519693              AKRON_000544028             AKRON_000577217
AKRON_000520166              AKRON_000544056             AKRON_000577858
AKRON_000520206              AKRON_000544557             AKRON_000578648
AKRON_000520260              AKRON_000545233             AKRON_000579317
AKRON_000520288              AKRON_000545736             AKRON_000580141
AKRON_000520794              AKRON_000545896             AKRON_000581602
AKRON_000521143              AKRON_000545950             AKRON_000581733
AKRON_000521640              AKRON_000546397             AKRON_000582899
AKRON_000522373              AKRON_000546878             AKRON_000585090
AKRON_000522870              AKRON_000547325             AKRON_000585779
AKRON_000523212              AKRON_000547772             AKRON_000586386
AKRON_000523450              AKRON_000548391             AKRON_000586829
AKRON_000523512              AKRON_000549769             AKRON_000586890
AKRON_000524009              AKRON_000551240             AKRON_000586923
AKRON_000524624              AKRON_000553317             AKRON_000587366
AKRON_000524651              AKRON_000553713             AKRON_000587564
AKRON_000525134              AKRON_000555847             AKRON_000588032
AKRON_000525266              AKRON_000556327             AKRON_000588056

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AKRON_000588499              AKRON_000625286             AKRON_000670037
AKRON_000588942              AKRON_000627372             AKRON_000671238
AKRON_000590918              AKRON_000628473             AKRON_000672035
AKRON_000595347              AKRON_000629001             AKRON_000674166
AKRON_000595824              AKRON_000630595             AKRON_000675096
AKRON_000596030              AKRON_000631192             AKRON_000675959
AKRON_000597909              AKRON_000631681             AKRON_000676719
AKRON_000598351              AKRON_000634290             AKRON_000677148
AKRON_000599285              AKRON_000636203             AKRON_000678005
AKRON_000600630              AKRON_000637391             AKRON_000678087
AKRON_000602254              AKRON_000637988             AKRON_000681573
AKRON_000602883              AKRON_000638709             AKRON_000686878
AKRON_000602917              AKRON_000639180             AKRON_000688613
AKRON_000602951              AKRON_000640895             AKRON_000689291
AKRON_000603428              AKRON_000641480             AKRON_000690079
AKRON_000603935              AKRON_000644800             AKRON_000691413
AKRON_000604412              AKRON_000644832             AKRON_000692405
AKRON_000604889              AKRON_000644857             AKRON_000693637
AKRON_000604949              AKRON_000644899             AKRON_000695329
AKRON_000605559              AKRON_000644939             AKRON_000696318
AKRON_000606054              AKRON_000645651             AKRON_000696722
AKRON_000606616              AKRON_000646963             AKRON_000697164
AKRON_000608697              AKRON_000648003             AKRON_000697517
AKRON_000609337              AKRON_000650333             AKRON_000700024
AKRON_000610273              AKRON_000651624             AKRON_000700882
AKRON_000610779              AKRON_000654043             AKRON_000702085
AKRON_000611352              AKRON_000654511             AKRON_000707266
AKRON_000612189              AKRON_000654979             AKRON_000708948
AKRON_000612290              AKRON_000655447             AKRON_000709934
AKRON_000613163              AKRON_000655498             AKRON_000710831
AKRON_000613218              AKRON_000655966             AKRON_000711155
AKRON_000613711              AKRON_000655991             AKRON_000711739
AKRON_000613746              AKRON_000656459             AKRON_000712674
AKRON_000613774              AKRON_000656933             AKRON_000713516
AKRON_000614267              AKRON_000657404             AKRON_000714481
AKRON_000614794              AKRON_000657955             AKRON_000715698
AKRON_000615287              AKRON_000658538             AKRON_000715987
AKRON_000615780              AKRON_000659652             AKRON_000716705
AKRON_000616273              AKRON_000661180             AKRON_000717468
AKRON_000617128              AKRON_000663568             AKRON_000718325
AKRON_000617695              AKRON_000664517             AKRON_000718614
AKRON_000618389              AKRON_000665514             AKRON_000719544
AKRON_000618391              AKRON_000665605             AKRON_000720176
AKRON_000619283              AKRON_000666901             AKRON_000721385
AKRON_000620155              AKRON_000667530             AKRON_000724835
AKRON_000621250              AKRON_000668040             AKRON_000726662
AKRON_000623988              AKRON_000668547             AKRON_000727295

                                       84
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AKRON_000727932              AKRON_000778466             AKRON_000823906
AKRON_000729452              AKRON_000779179             AKRON_000825542
AKRON_000730601              AKRON_000780129             AKRON_000825989
AKRON_000730728              AKRON_000780585             AKRON_000827513
AKRON_000731400              AKRON_000781994             AKRON_000827939
AKRON_000731725              AKRON_000782002             AKRON_000828907
AKRON_000732898              AKRON_000783734             AKRON_000830437
AKRON_000733739              AKRON_000785104             AKRON_000831438
AKRON_000734070              AKRON_000785835             AKRON_000832429
AKRON_000735136              AKRON_000787567             AKRON_000833471
AKRON_000735769              AKRON_000788085             AKRON_000834557
AKRON_000736950              AKRON_000788786             AKRON_000834944
AKRON_000737417              AKRON_000789875             AKRON_000837368
AKRON_000738076              AKRON_000791606             AKRON_000838364
AKRON_000739974              AKRON_000792653             AKRON_000838782
AKRON_000741454              AKRON_000793179             AKRON_000840466
AKRON_000743020              AKRON_000793922             AKRON_000840868
AKRON_000743549              AKRON_000795642             AKRON_000841865
AKRON_000744258              AKRON_000795970             AKRON_000842867
AKRON_000744798              AKRON_000797207             AKRON_000843997
AKRON_000745317              AKRON_000797898             AKRON_000844127
AKRON_000746292              AKRON_000798355             AKRON_000845103
AKRON_000748289              AKRON_000798916             AKRON_000846321
AKRON_000749676              AKRON_000799538             AKRON_000848010
AKRON_000750144              AKRON_000799794             AKRON_000848326
AKRON_000752370              AKRON_000801189             AKRON_000849577
AKRON_000753467              AKRON_000801248             AKRON_000849913
AKRON_000757546              AKRON_000801504             AKRON_000850775
AKRON_000758493              AKRON_000801751             AKRON_000853969
AKRON_000758958              AKRON_000802089             AKRON_000854864
AKRON_000759494              AKRON_000802102             AKRON_000855972
AKRON_000760300              AKRON_000802457             AKRON_000857211
AKRON_000760997              AKRON_000802506             AKRON_000861505
AKRON_000761918              AKRON_000802744             AKRON_000861540
AKRON_000762818              AKRON_000804291             AKRON_000861558
AKRON_000764541              AKRON_000804714             AKRON_000861585
AKRON_000767203              AKRON_000805113             AKRON_000861842
AKRON_000767762              AKRON_000807365             AKRON_000862414
AKRON_000769286              AKRON_000807823             AKRON_000862955
AKRON_000770463              AKRON_000811646             AKRON_000865014
AKRON_000771216              AKRON_000813296             AKRON_000865611
AKRON_000771804              AKRON_000814940             AKRON_000866193
AKRON_000773579              AKRON_000817508             AKRON_000866803
AKRON_000774737              AKRON_000818899             AKRON_000867292
AKRON_000775677              AKRON_000820373             AKRON_000867790
AKRON_000777473              AKRON_000822244             AKRON_000868219
AKRON_000777957              AKRON_000823359             AKRON_000869045

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AKRON_000869629                     AKRON_000875696                     AKRON_000878305
AKRON_000870540                     AKRON_000875698                     AKRON_000878850
AKRON_000871465                     AKRON_000876625                     AKRON_000879248
AKRON_000872798                     AKRON_000876627                     AKRON_000879631
AKRON_000873648                     AKRON_000876639                     AKRON_000880077
AKRON_000874310                     AKRON_000876961                     AKRON_000880641
AKRON_000874354                     AKRON_000877061                     AKRON_000880923
AKRON_000874385                     AKRON_000877264                     SUMMIT_001460592
AKRON_000875073                     AKRON_000877770                     SUMMIT_001460598

Interrogatory 19

       Identify each state or federal official or agency (including but not limited to the United

States Drug Enforcement Administration, the United States Department of Justice, a United States

Attorney’s Office, the Ohio Department of Medicaid and its constituent providers, the Ohio

Department of Public Safety, the Ohio Attorney General’s Office, the State of Ohio Board of

Pharmacy, and the State Medical Board of Ohio), insurer, or third party benefit manager who

provided information to You about diversion of Prescription Opioids during the Relevant Time

Period, including but not limited to information about Suspicious Orders, improper prescriptions,

or individuals responsible for diversion of Prescription Opioids. Include in Your response a

description of the information and date it was provided.

Response 19

       Plaintiff objects that this Interrogatory is overly broad and unduly burdensome. Plaintiff

also objects to it seeking information beyond Plaintiff’s possession, custody, and control. Plaintiff

further objects to this Interrogatory in that it places an undue burden on Plaintiff not proportional

to the needs of the case. Further objecting, this Interrogatory contains reference to the undefined

phrase “improper prescription” which is subject to varying interpretation. Plaintiff objects to the

extent this calls for a legal conclusion by asking for “individuals responsible.” Plaintiff also

objects to this Interrogatory because certain responsive information may be subject to the law



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enforcement privilege and/or other rights and privileges. Plaintiff objects to this Interrogatory in

that it calls for information in the National Retail Pharmacy Defendants’ possession or control.

        Subject to and without waiving all objections, Plaintiff answers as follows: Plaintiff has

and will produce documents that its experts will rely upon. In addition, discovery is ongoing and

this information will be the subject of fully-supported and detailed expert witness opinion(s) that

will be disclosed in accordance with the scheduling orders in this case and the Federal Rules of

Civil Procedure. Plaintiff reserves the right to supplement, modify, amend or substitute this answer

with non-privileged information responsive to this Interrogatory once the information is available

to Plaintiff.

Interrogatory 20

        Provide a computation of each category of damages, monetary sums, and injunctive relief

that You seek from each National Retail Pharmacy Defendant.

Response 20

        Plaintiff objects to this Interrogatory to the extent it calls for Plaintiff to identify the

specific conduct or liability of each Defendant. Subject to and without waiving objections, for

the identification of the Defendant or Defendants from which relief is sought, Plaintiff refers

Defendants to Plaintiff’s Second Amended Complaint.

        Subject to and without waiving all objections, Plaintiff responds as follows: Plaintiff is

conducting a reasonable and diligent search for and has produced or will produce all non-privileged

documents that identify, describe, and quantify the monetary and other relief Plaintiff seeks in this

case. In addition, discovery is ongoing and this information will be the subject of fully-supported

and detailed expert witness opinion(s) that will be disclosed in accordance with case management

and pretrial orders and the Federal Rules of Civil Procedure.



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       Subject to and without waiving all objections, Plaintiff answers: Plaintiff’s categories of

damages in this matter are expected to include, but are not limited to, the following:

       •   Losses caused by the decrease in funding available for Plaintiff’s public services for
           which funding was lost because it was diverted to other public services designed to
           address the opioid epidemic;
       •   Costs for providing healthcare and medical care for patients suffering from opioid-
           related addiction or disease, including overdoses and deaths;
       •   Costs of training emergency and/or first responders in the proper treatment of
           drug overdoses;
       •   Costs associated with providing police officers, firefighters, and emergency and/or
           first responders with naloxone – an opioid antagonist used to block the deadly effects
           of opioids in the context of overdose;
       •   Costs associated with emergency responses by police officers, firefighters, and
           emergency and/or first responders to opioid overdoses;
       •   Costs for providing mental-health services, treatment, counseling, rehabilitation
           services, and social services to victims of the opioid epidemic and their families;
       •   Costs associated with law enforcement and public safety relating to the opioid
           epidemic, including but not limited to attempts to stop the flow of opioids into local
           communities, to arrest and prosecute street-level dealers, to prevent the current
           opioid epidemic from spreading and worsening, and to deal with the increased levels
           of crimes that have directly resulted from the increased homeless and drug-addicted
           population;
       •   Costs associated with various public safety and health initiatives related to the
           opioid epidemic;
       •   Costs associated with increased burden on Plaintiff’s drug courts;
       •   Costs associated with clean-up of public parks, spaces, and facilities of needles and
           other debris and waste of opioid addiction;
       •   Loss of tax revenue due to the decreased efficiency and size of the working population
           in Plaintiff’s communities and due to other impacts on property values and other
           tax generators for Plaintiff;
       •   Losses caused by decreased business investment and tax revenue;
       •   Plaintiff’s contributions to the Alcohol, Drug Addiction, and Mental Health
           Services (ADM) board;
       •   Increased public safety services, including but not limited to, training,
           investigations, staffing, jail expenses, dispatch services, and task forces as a result of
           the opioid epidemic;




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       •   Plaintiff’s Health Department costs related to the opioid epidemic, which provide
           services targeted to patients with substance abuse problems including opioid related
           matters;
       •   Costs associated with impact of opioid epidemic on Plaintiff’s vehicle fleets;
       •   Costs for Plaintiff to properly and adequately abate the nuisance created by the
           opioid epidemic; and
       •   Costs for child services and foster care for opioid-dependent babies and foster children.

       Further subject to and without waiving all objections, Plaintiff answers as follows: In

2014, the County of Summit Alcohol, Drug Addiction and Mental Health Board convened the

Summit County Opiate Task Force, a group of individuals and organizations committed to

reducing the tragic consequences of opiate addiction in response to the rising public health crisis

affecting residents of Summit County. There are over 100 Summit County citizens who are

active Task Force members. The Task Force holds quarterly meetings to update the public

members and the community on the developments and initiatives to fight the opiate epidemic.

The Task Force is comprised of Subcommittees: Advocacy, Criminal Justice, Family Support,

Healthcare, Public Awareness and Youth and Youth and Young Adults. Each subcommittee has

a Chair or Co-chair. The Task Force addresses the opioid epidemic on multiple fronts including

Prevention, Education, Community Outreach, Treatment and Recovery Support. Much of this

information regarding this Task Force, its extensive programs and persons involved are available

at https://www.admboard.org/opiate-task-force.aspx; www.summitcountyopiatetaskforce.org and

www.summitcountyaddictionhelp.org.

       The Police and Fire Departments in the County have been in the forefront in addressing

the opioid public health crisis. Departments have been increasingly challenged to maintain their

duties with current personal and have increased law enforcement, fire, and emergency services to

respond to drug overdoses. In the City of Akron, the Police Department responded to 2,114

overdoses in 2016 and the first six months of 2017.

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       Summit County has experienced an increase in drug-related crimes, and has had to

increase its spending on drug-related treatment and prevention. The Summit County jail

provides services related to opioid detoxification, including preventing suicides believed to be

related to opioid withdrawal and now provides Narcan to inmates upon discharge to help prevent

future overdoses. Law enforcement, fire, and emergency services personnel spend time with

School administrators to educate and address students about the opioid crisis.

       The increasing number of cases takes both a physical and mental toll on investigators and

first responders. The Summit County Medical Examiner’s Office has struggled to retain and

recruit qualified death investigators. The Medical Examiner’s Office has had to hire four Locum

Tenens doctors to assist in the case load. In addition to burn-out, the Summit County Medical

Examiner’s Office has faced increased costs of overtime, laboratory, toxicology and other costs.

The increased case load and decreased staffing cost the Summit County Medical Examiner’s

Office its National Association of Medical Examiners Accreditation due to lengthy turnaround

times and heavy caseloads for pathologists.

       The surge of fatal drug overdoses have outpaced the capacity of some local morgues.

Coroners and medical examiners in Summit County have had to request the use of refrigerated

trailers known as “mobile morgue units.” Summit County has had to make use of the mobile

morgues at least five separate occasions. These refrigerated trailers double the number of bodies

that the County Medical Examiner’s Office could otherwise hold at one time.

       Resources are diverted from other important uses and agencies will likely have to

increase operating levies to fund their services, shifting an additional burden to Summit County

residents. These costs do not even contemplate the resources necessary to fully address or abate

the epidemic.



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       Plaintiff has provided various treatment programs and centers. They include an ADM

(Alcohol Drug and Mental Health Services Board) Addiction Helpline, Quick Response Team,

Police and EMS Naloxone reversals, Residential and Detox Access, Medication Assisted

Treatments (MAT) and Interim Crisis Services. Detox beds have been added to the Detox unit

and Summit County will host the largest detox center in Ohio. Data contained within amfAR’s

Opioid & Health Indicators show that in 2014, Summit County had a rate of drug dependence of

2.56% and a rate of non-medical use of pain relievers of 4.82%, and that 87.5% of people who

need addiction treatment in the County do not receive it.

       In October 2017, Summit County, with a population of over 540,000 citizens, declared a

State of Emergency in the county due to the opioid epidemic. Summit County is listed as a High

Intensity Drug Trafficking Area with the fourth highest drug overdose death rate and the second

highest in fentanyl deaths in the state of Ohio for 2016. Summit County and the City of Akron

are intertwined in many of their efforts to address the opioid epidemic. The Summit County

Drug Unit is co-located with the Akron Police Department Narcotics Unit. It is a multi-

jurisdictional task force that investigates major organized groups involved in the illegal

distribution of drugs as well as any alleged violations by persons involved in the use or sale of

illegal drugs. The Summit County Drug Unit also has the responsibility to identify and destroy

illegal channels of drugs into Summit County, arrest violators and seize their illicit financial

assets. The Drug Unit consists of the following agencies: Summit County Sheriff’s Office,

Summit County Prosecutor’s Office, Akron Police Department, The University of Akron Police

Department, Barberton Police Department, Cuyahoga Falls Police Department, Stow Police

Department, Copley Police Department, Bureau of Criminal Identification & Investigation, FBI,

DEA, ATF and the IRS.



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        In 2016, the Drug Unit created an Opiate Task Force to handle overdose investigations.

The Summit County Drug Unit also teamed with the Akron Police Department Task Force to

form the Akron/Summit County HIDTA (High Intensity Drug Trafficking Area) Initiative, the

largest such initiative in the state of Ohio.

        In 2014, the Summit County Prosecutor’s Office created an Opiate Unit for low and

moderate risk opioid offenders that consists of four distinct phases that provide intensive

supervision services upfront and linkage/coordination to community treatment providers. The

Opiate Unit has grown to consist of four probation officers with specialized training due to the

growing opiate epidemic. The Adult Probation Department was awarded the SMART Grant

through the Ohio Department of Rehabilitation and Correction to combat the growing percentage

of opiate addicted individuals that come through the program. During 2016, there were 429

cases placed in this specialty unit; of which 295 cases were closed and 95 of those cases

consisting of successful completions. Two drug court judges do community outreach regarding

opioids and other drugs.

        The Drug Court also has a program called Turning Point which is a special court given

the responsibility to handle cases involving drug-using/abusing, non-violent offenders, through

immediate comprehensive supervision, drug testing, and treatment services, as well as immediate

sanctions and incentives. The Faith in Recovery Program provides a spiritual mentor from a

local church as an added option for participants. The Valor Court is provided for the specialized

needs of those who have served our country, providing access to programs, treatment and

interaction with mentors.

        The Summit County ADM Board “exists for citizens of Summit County a healthy

community in which a continuum of case supports mental wellness and freedom from addiction,

with outcomes optimizing use of available resources” – including minimizing opiate related

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dependency, deaths and overdoses. The ADM Board was instrumental in establishing the Opiate

Task Force in early 2014, which has grown to over 400 members consisting of physicians,

pharmacists, faith leaders, judges, prosecutors, police chiefs, school superintendents and multiple

agency leaders, public health officials, elected representatives, ADM Board staff and concerned

citizens. In 2017, the ADM Board budgeted an additional $3.2 million to expand detoxification,

Quick Response Teams and recovery coaching services.

       The ADM Addiction Hotline is run by Akron Summit Community Action and provides a

single phone number to enable those seeking addiction services to identify a qualified provider

agency for quick access to an assessment and ongoing treatment. The Gloves Up Campaign was

launched in 2017 to help promote the ADM Addiction Helpline and other initiatives.

       The Summit County Opiate Task Force focuses on awareness, education, treatment and

recovery. The Task Force provides pharmacist training on Narcan, expanded use of Vivitrol,

addiction education, referral services and public education through partnerships with local

pharmacies. The Task Force is encouraging school districts to become involved in prevention

and awareness programs. Summit County is adding ten beds to its detox unit, making it the

largest detox center in Ohio. The Task Force has quarterly, public meetings to encourage

community involvement.

       The Akron Municipal Drug Court was initiated in 1995 as a collaborative effort between

Summit County Courts, the Akron Police Department, the Akron Prosecutor’s Office, the Public

Defender’s Office, the Akron Municipal Probation Department, the Summit County ADM Board

and Oriana House, Inc.

       The Akron Quick Response Teams (“QRT”) are a collaborative effort between Summit

County Public Health, Akron Fire Department and Akron Police Department. This team focuses



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on connecting with individuals who have been struggling with addiction to opioids and have

recently overdosed. The QRT is also responsible for distribution of naloxone kits.

       Summit County treatment and recovery services offered are:

 Program                                         Description
 The Akron General Edwin Shaw                    An intensive outpatient program for chemical
 Rehabilitation Institute                        dependency; monitors Suboxone intake
                                                 during transition from a detox center.
 Akron Medical Center                            Inpatient treatment program for opioid
                                                 addiction.
 Akron Urban Minority Alcoholism Drug            Established in 1980 via legislative action to
 Abuse Outreach Program (UMADAOP)                provide substance abuse education,
                                                 prevention and treatment for African and
                                                 Hispanic Americans throughout the State of
                                                 Ohio.
 Asian Services in Action, Inc.                  A treatment resource with an ambulatory
                                                 detoxification/treatment center.
 Community Health Center                         Provides Summit County with a
                                                 comprehensive treatment plan for the
                                                 rehabilitation and prevention of addiction;
                                                 provides medically-assisted treatment for
                                                 opioid addicted adults; goal is to provide
                                                 complete methadone maintenance and
                                                 rehabilitation counseling services to eliminate
                                                 opioid and other drug use and the spread of
                                                 infectious diseases.
 Cover 2 Resources                               A nonprofit organization to spread awareness
                                                 and educate those touched by the opioid
                                                 epidemic.
 Interval Brotherhood Home (IBH)                 An addiction recovery center in operation
                                                 since 1970 providing an abstinence-based
                                                 residential treatment program with
                                                 educational classes for family members.
 Mature Services Avenues to Recovery             A drug addiction treatment service.
 Oriana House                                    Summit County’s Alternative Corrections
                                                 Provider offering treatment and recovery for
                                                 alcoholism and chemical dependency.
 Restore Addiction Recovery                      A treatment and recovery campus that assists
                                                 those struggling with addiction through a
                                                 faith-based program.
 Rigel Recovery Services                         Provides medication assisted treatment with
                                                 prescription Vivitrol and an intensive
                                                 outpatient treatment program specific to the
                                                 use of opioids.
 Summa Akron City Hospital                       Inpatient detox for opioid addiction.

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 Summit County Public Health                     Member of the Opiate Task Force and
                                                 provides quarterly reports on drug overdoses.
                                                 Oversees Project DAWN which is a
                                                 community-based drug overdose prevention
                                                 and education project where participants
                                                 receive training on recognizing the signs and
                                                 symptoms of overdose and administering
                                                 intranasal Naloxone/Narcan.
 Summa Health System                             The Summa Health Behavioral Health
                                                 Institute provides inpatient and outpatient
                                                 services to combat a variety of addiction
                                                 disorders; operates a Vivitrol Clinic in Akron;
                                                 the Summa Community Leadership Institute
                                                 endeavors to involve the community in
                                                 fighting the opioid epidemic.
 Summit Safe Needle Exchange Program             A free, anonymous syringe exchange program
                                                 which includes overdose prevention training
                                                 and risk reduction counseling.
 Summit Psychological Associates                 An outpatient medically assisted treatment
                                                 (Vivitrol) program for Oriana House.
 Summit County Community Partnership             A consortium of community resources
                                                 committed to preventing substance abuse
                                                 using evidence based prevention techniques,
                                                 information and activities.
 Jake’s Reach                                    An Akron-based opiate addiction resource
                                                 group.
 Hope United                                     A foundation founded to fight drug addiction.

       The following table describes other examples of the efforts made to address public health

and safety hazards of the opioid epidemic caused by the wrongful conduct of Distributor

Defendants.

Jurisdiction         Efforts to Address Opioid Epidemic
Summit County         • Summit County Alcohol, Drug Addiction and Mental Health
                         Board: Quick Response Teams, DAWN, Addiction Helpline; Opiate
                         Task Force and the planning, maintaining and executing responses to
                         the opioid epidemic; purchase of Narcan; manages waitlists for
                         residential treatment facilities; additional training, education and
                         treatment;
                      •   Summit County Medical Examiner: increased number of deaths
                          caused by the opioid epidemic for the Summit County Medical
                          Examiner’s office to process and investigate; additional staffing and
                          resources, additional costs for contractors/vendors;


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Jurisdiction      Efforts to Address Opioid Epidemic
                   • Summit County Prosecutors: increased caseload and prosecutions
                      relating to the opioid epidemic;
                   •   Summit County Court of Common Pleas (including probation and
                       specialty courts, like drug court): increased caseload and probation
                       services relating to the opioid epidemic; Opioid Unit in adult
                       probation department; two drug court judges do community outreach
                       re opioids and other drugs; Indigent Defense – increased County
                       expenditures to fund this Court program for indigent defendants;
                   •   Summit County Juvenile Court (including probation and specialty
                       courts): increase in number of parents participating in Family
                       Reunification Through Recovery Court due to opioid use; increase in
                       staff trainings related to opioid use;
                   •   Summit County Children Family Services: host Northeast Ohio
                       Regional Training Center which provides trainings related to opioids,
                       25% of the staff trainings they do relate to opioids; social workers
                       who exclusively deal with families and substance abuse issues;
                       collaborate with juvenile court program, Family Reunifications
                       through Recovery; Oriana House; provides licensure hours for Close
                       Up which addresses opioids increased costs due to increased
                       placement of children abused and neglected due to opioid addictions;
                   •   Summit County Sheriff: services, including but not limited to,
                       training, investigations, staffing, jail expenses, dispatch services, task
                       force as a result of the opioid epidemic; members of Quick Response
                       Team; DARE education; drug task force members meet with
                       community organizations to discuss opioids; drug take back days;
                       implement House Bill 277 aka Good Samaritan Law; receive Narcan
                       training;
                   •   Summit County General Health District: purchase of Narcan; Quick
                       Response Team; Syringe Harm Reduction Program; educational
                       campaigns, expanded medically assisted treatment programs; and
                   •   Summit County Executive: Incident Management Assistance Team
                       (IMAT) coordinates activities of the Opiate Task Force and the
                       Addiction Counsel.


City of Akron      •   Opioid-focused Quick Response Team (QRT);
                   •   Purchases of Narcan, drug testing kits, and Immunity Hearing
                       Requirement forms;
                   •   Increased Police/Fire/EMS service calls for overdoses;
                   •   Increased Police Division services for opioid investigations,
                       including training, detailing of staff to task forces;

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Jurisdiction           Efforts to Address Opioid Epidemic
                        • Safety Communications handling of increased dispatches and related
                            Police/Fire/EMS support;
                         •   Law Department Criminal Division’s increased prosecutions relating
                             to the opioid epidemic;
                         •   Municipal Court’s increased caseload and probation load relating to
                             the opioid epidemic;
                         •   Planning and executing a response to the opioid epidemic, including
                             community educational awareness by Police, the Mayor’s office, and
                             other city departments; and
                         •   Funding of third party entities that provide various support services
                             related to the opioid epidemic, including Oriana House, Interval
                             Brotherhood Home, etc.



         Subject to and without waiving all objections, Plaintiff identifies the following documents

containing information responsive to this Interrogatory pursuant to Federal Rule of Civil Procedure

33(d):

Jurisdiction       Supporting Documents
Summit County      Title               Bates Number
                   County of Summit    SUMMIT_000014151 (2006)
                   Operating Budget    SUMMIT_000014772 (2007)
                                       SUMMIT_000015385 (2008)
                                       SUMMIT_000015990 (2009)
                                       SUMMIT_000001728 (2010)
                                       SUMMIT_000002310 (2011)
                                       SUMMIT_000002922 (2012)
                                       SUMMIT_000000207 (2013)
                                       SUMMIT_000004576 (2014)
                                       SUMMIT_000005697 (2015)
                                       SUMMIT_000006663 (2016)
                                       SUMMIT_000007551 (2017)
                                       SUMMIT_000008414 (2018)
                    County of Summit     SUMMIT_000013699 (2007)
                    Annual Informational SUMMIT_000013877 (2008)
                    Statement            SUMMIT_000001199 (2010)
                                         SUMMIT_000001605 (2011)
                                         SUMMIT_000001329 (2012)
                                         SUMMIT_000001461 (2013)
                                         SUMMIT_000004353 (2014)
                                         SUMMIT_000005545 (2015)
                                         SUMMIT_000006502 (2016)


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 Jurisdiction   Supporting Documents

                Summit County Court SUMMIT_000111332 (2006)
                of Common Pleas       SUMMIT_000111364 (2007)
                Annual Report         SUMMIT_000111417 (2008)
                                      SUMMIT_000111475 (2009)
                                      SUMMIT_000003958 (2010)
                                      SUMMIT_000004014 (2011)
                                      SUMMIT_000004070 (2012)
                                      SUMMIT_000004126 (2013)
                                      SUMMIT_000004182 (2014)
                                      SUMMIT_000004234 (2015)
                                      SUMMIT_000004286 (2016)
                Purchase Orders:      SUMMIT_000012888
                Oriana House          SUMMIT_000012894
                                      SUMMIT_000012901
                                      SUMMIT_000012907
                                      SUMMIT_000012912
                                      SUMMIT_000012941
                                      SUMMIT_000012943
                                      SUMMIT_000012948
                                      SUMMIT_000012954
                                      SUMMIT_000012978
                                      SUMMIT_000013002
                                      SUMMIT_000013022
                                      SUMMIT_000013026
                                      SUMMIT_000013055
                                      SUMMIT_000013061
                                      SUMMIT_000013075
                                      SUMMIT_000013081
                                      SUMMIT_000013123
                                      SUMMIT_000013128
                                      SUMMIT_000013135
                                      SUMMIT_000013142
                                      SUMMIT_000013440
                                      SUMMIT_000013551
                                      SUMMIT_000013575
                                      SUMMIT_000013087
                                      SUMMIT_000013095
                                      SUMMIT_000013115
                Summit County Public SUMMIT_000018676 (2011)
                Health Annual Report SUMMIT_000017896 (2013)
                                      SUMMIT_000018430 (2014)
                                      SUMMIT_000018440 (2015)
                County of Summit      SUMMIT_000018966 (2007)
                Alcohol, Drug         SUMMIT_000019112 (2008)
                Addiction & Mental    SUMMIT_000019258 (2009)
                Health Services Board SUMMIT_000019388 (2010)
                – Annual Budget       SUMMIT_000042884 (2014)
                Review                SUMMIT_000019490 (2015)
                                      SUMMIT_000019580 (2016)

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 Jurisdiction    Supporting Documents
                                     SUMMIT_000019668 (2017)




                 County of Summit      SUMMIT_000182167 (2016)
                 Alcohol, Drug
                 Addiction & Mental
                 Health Services Board
                 – Budget
                 ADM – Historical      SUMMIT_000290130
                 Revenues and
                 Expenditures


                 Summit County Court SUMMIT_000087479 (2016)
                 of Common Pleas –
                 Juvenile Division –
                 Annual Report

                 Summit County       SUMMIT_000070610 (2014)
                 Sheriff’s Office
                 Annual Report


                 Summit County         SUMMIT_000111080 (2012)
                 Children Services     SUMMIT_000111088 (2013)
                 Annual Report         SUMMIT_000003930 (2014)
                                       SUMMIT_000003942 (2015)
                                       SUMMIT_000003954 (2016)
 City of Akron   Title                 Bates Number
                 City of Akron         AKRON_000000003 (2010)
                 Operating Budget      AKRON_000000576 (2011)
                                       AKRON_000001104 (2012)
                                       AKRON_000001620 (2013)
                                       AKRON_000002119 (2014)
                                       AKRON_000002874 (2016)
                                       AKRON_000003228 (2017)
                 City of Akron Ad Hoc AKRON_000004034
                 Transaction Report –
                 By Vendor
                 Community Health      AKRON_000004134 (2004)
                 Center Annual Report AKRON_000004241 (2010)
                 Agreement to Provide AKRON_000209219 (2006)
                 Community             AKRON_000209273 (2007)
                 Correctional Services AKRON_000209180 (2008)
                 w/ Oriana House       AKRON_000209190 (2009)
                                       AKRON_000209313 (2010)
                                       AKRON_000209348 (2011)
                                       AKRON_000209246 (2012)

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 Jurisdiction       Supporting Documents
                                        AKRON_000209382 (2013)
                                        AKRON_000209435 (2014)
                                        AKRON_000209328 (2015)
                                        AKRON_000209282 (2016)
                                        AKRON_000004370 (2018)

                    Extension Agreement AKRON_000209304 (2008)
                    w/ Oriana House     AKRON_000209297 (2018)

        Subject to and without waiving all objections, Plaintiff responds that this Interrogatory is

 contention discovery more appropriately answered once discovery is complete. See Fed. R. Civ.

 P. 33(a)(2). In addition, discovery is ongoing and this information will be the subject of fully-

 supported and detailed expert witness opinion(s) that will be disclosed in accordance with the

 scheduling orders in this case and the Federal Rules of Civil Procedure. As discovery continues,

 Plaintiff will produce a trial witness list and expert reports pursuant to the scheduling orders in this

 case. Plaintiff reserves the right to supplement, modify, or amend this response as discovery

 proceeds.

 Dated: September 26, 2018                                    /s/ Linda Singer
                                                         Linda Singer

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                                 CERTIFICATE OF SERVICE

        I, Colleen Hemelgarn, certify that on September 26, 2018, I caused the foregoing to be

 served via electronic mail on Defendant’s Liaison Counsel pursuant to the Case Management

 Order in this case (Dkt. No. 232).

                                                     /s/ Colleen Hemelgarn/




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